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Exhibit 6
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                  CONFIDENTIAL SUBJECT TO MDL PROTECTIVE ORDER




                     Expert Report of Dr. Michael Siegel


                           Michael Siegel, MD, MPH
              Professor, Department of Community Health Sciences
                   Boston University School of Public Health




                             EXPERT REPORT IN


   City of Huntington v. AmerisourceBergen Drug Corp. et al., No. 3:17-cv-1362
  (S.D.W. Va.); Cabell County Commission v. AmerisourceBergen Drug Corp. et
                        al., No. 3:17-cv-1665 (S.D.W. Va.)


                                 Prepared for:
                        Plaintiffs’ Executive Committee
            In Re: National Prescription Opiate Litigation MDL 2804




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I.    Background and Qualifications

      I, Michael Siegel, MD, MPH, am a physician and a professor of public

health in the Department of Community Health Sciences at the Boston University

School of Public Health. After graduating from the Yale University School of

Medicine with a medical degree, I completed a residency in preventive medicine at

the University of California, Berkeley, where I obtained a Master’s in Public

Health degree with a concentration in epidemiology. I then completed a two-year

epidemiology training program at the Centers for Disease Control and Prevention

(CDC), where I conducted tobacco research at the Office on Smoking and Health,

the nation’s lead agency on the issue of smoking and health. For the past 25 years,

I have been on the faculty at the Boston University School of Public Health, where

I am now a Full Professor in the Department of Community Health Sciences.

      Public health is the broad study of the conditions necessary to protect the

health of the entire population and the actions necessary to create those conditions.

It differs from medical sciences in that while the primary focus of medicine is to

treat an individual patient, public health aims to promote health and prevent

disease among the entire population. Within public health and epidemiology, there

are generally two sub-areas. Infectious disease epidemiology is the study of the

impact of infections on the public’s health. The epidemiologists who are studying

transmission of the COVID-19 virus and the public health experts who are


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designing strategies to limit its spread are examples of the infectious disease side

of epidemiology and public health. Often overlooked, but equally important, is the

other sub-area of public health: chronic disease epidemiology, or the study of non-

infectious harms. This represents an incredibly broad spectrum of non-infectious

causes of death, including drug use and addiction to substances like alcohol,

tobacco, and opioids, injuries from gun violence, and chronic disease related to

obesity or to environmental exposure to certain chemicals. My research, teaching,

and experience throughout my career has focused on a range of public health

issues, primarily in the area of chronic diseases. I bring a specialized perspective,

one that looks at a wide range of societal problems from the lens of public health.

      The main area of my research has been in the area of substance abuse and

addiction, particularly smoking, tobacco use, and alcohol. I have published more

than 170 articles in the peer-reviewed literature and many in prestigious journals

such as the New England Journal of Medicine, JAMA, Annals of Internal Medicine,

the American Journal of Epidemiology, and the American Journal of Public

Health. I have also published in specialty journals in the area of substance use and

addiction, including the American Journal of Alcohol and Drug Abuse, Alcohol &

Alcoholism, Addiction, Tobacco Control, Nicotine and Tobacco Research,

Addiction Science and Clinical Practice, Substance Use and Misuse, Substance

Abuse, and Alcoholism: Clinical and Experimental Research. I have also published


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a book that discusses strategies for promoting public health to the population. The

book, entitled “Marketing Public Health: Strategies to Promote Social Change,” is

now in its third edition and has been featured as a resource for public health

practitioners at the annual conference of the American Public Health Association.

        I have testified as an expert witness for plaintiffs in eight different lawsuits

against the tobacco industry, including the Engle 1 case, in which I was recognized

by the court as an expert in the area of addiction. I have also been recognized as an

expert in public health, epidemiology, and corporate public health responsibility.

        I have experience as a physician in the treatment of addiction in general and

in the treatment of opioid addiction specifically. My opioid addiction treatment

experience as a practicing physician occurred primarily during the period 1991-

1993, when I served as a part-time physician in the methadone program of the

Santa Clara County Health Department. I treated several hundred patients for

opioid addiction and followed their progress for as long as two years. In my

experience, all of the patients (100%) in the methadone program were addicted to

opioids and none would have been able to voluntarily stop using opioids cold

turkey. It would also have been dangerous for them to do so, since withdrawal

from long-term opioid use can result in severe health effects, including death.



1
 Howard Engle v Philip Morris et al. Circuit Court of the 11th Judicial Circuit, Dade County FL, General
Jurisdiction Division (Case No. 94-08273 CA).

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Opioids are unique in that they are one of the few drugs that after chronic use

cannot be stopped cold turkey without severe withdrawal and potentially serious

adverse health effects. 2

          As an expert in substance use and abuse, the opioid epidemic, the public

health duties of pharmaceutical companies and distributors, the role of these

companies in the opioid epidemic, and approaches to preventing opioid misuse are

all areas that I have covered in my teaching at the Boston University School of

Public Health. The opioid epidemic is such a critical public health problem that I

have covered it in virtually every semester in the courses that I teach. The School

of Public Health has a pharmaceutical program that focuses on the role of

pharmaceutical companies in public health. I teach many students in that program,

which is another reason I always cover the opioid epidemic in my classes. I have

also collaborated with numerous health agencies and organizations that focus on

fighting the opioid epidemic, both through my teaching and as a substance abuse

expert consultant.

          The opinions in this report are based on my overall evaluation of the totality

of the evidence regarding the issues upon which I opine. This evidence includes,

but is not limited to Defendant documents, published studies, governmental and

non-governmental reports and my knowledge of basic principles of public health,


2
    Alcohol and benzodiazepines are also in this category.

                                                      7
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biology, chemistry, toxicology and risk analysis. Additionally, I was provided by

plaintiff’s counsel with an extensive number of documents related to the case,

including depositions. A list of these materials I reviewed and/or considered is

attached as Appendix A.

      I have included citations to some of the key documents upon which my

opinions are based, but these documents are not exhaustive of those supporting my

opinions. Rather, my opinions are based on the totality of evidence I have

reviewed, which includes many more documents than those cited in the body of

this report. After reviewing the provided materials for this case, I have formed the

following expert opinions, which I hold to a reasonable degree of medical and

scientific certainty, and which are based on my training and experience as a

physician, epidemiologist, and public health expert using the same type of analyses

used in my practice of epidemiology and public health and in composing my

published work. These same methodologies have been accepted by numerous other

courts in my past expert testimony. I reserve the right to supplement my opinions

as new information becomes available. My curriculum vitae detailing my

qualifications including a list of my publications, is attached as Appendix B.

      Cases in which I have testified are listed on my curriculum vitae. My

compensation for this case is $500 per hour of preparation time and deposition

time. I am not charging for the actual testimony at trial.


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 II.   Summary of Opinions

       Information was available to AmerisourceBergen, Cardinal Health, and

 McKesson to make them aware that the volume of opioids they were distributing

 into small communities was inconsistent with public health.

       Information was available that oversupply of opioids inconsistent with

 public health was likely to result in serious, long lasting public health harm.

       AmerisourceBergen, Cardinal Health, and McKesson oversupplied these

 communities, often despite access to information demonstrating that this

 oversupply was already occurring and was resulting in public health harm.

       All three companies continued to oversupply even in the presence of signs of

 potential misuse and abuse of opioids inconsistent with public health, such as

 prescriptions from geographically remote doctors.

       Information was available to all three companies that abuse of prescription

 opioids was a burgeoning public health problem and that there was a dramatic

 increase in the number of opioid overdose deaths.

       All three companies continued to oversupply pharmacies in and near Cabell

 County with opioids, despite available information that oversupply was creating an

 opioid public health crisis.




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           Oversupply of opioids in and around Cabell County contributed to and

 created a public health hazard, with severe, long-lasting adverse public health

 consequences.

           Through their oversupply of opioids, each of these companies substantially

 contributed to the opioid epidemic in Cabell County, West Virginia and the

 resulting harms to public health.

 III.      An Opioid Public Health Epidemic Has Existed and Increased in Cabell
           County, West Virginia Over the Past Two Decades

           There is an opioid epidemic in Cabell County, West Virginia, characterized

 by massive opioid use, addiction, overdose, and opioid-related deaths. In 2016, the

 rate of opioid overdose death in Cabell County was 124.0 per 100,000, compared

 to a rate of 40.6 per 100,000 in the state of West Virginia, and Cabell County had

 the highest opioid overdose death rate of any county in the state. 3 In fact, in 2016.

 Cabell County had the second highest opioid overdose death rate of any county in

 the nation. 4 The rate of opioid prescriptions in Cabell County in 2016 was 1,225

 per 1,000. 5 Also in 2016, 12.0% of patients with opioid prescriptions were

 receiving an average daily dose of more than 90 morphine milligram equivalents

 3
  West Virginia Board of Pharmacy. Prescription Opioid Problematic Prescribing Indicators County
 Report: Cabell County. Charleston, WV: West Virginia Department of Health and Human Resources,
 Bureau for Public Health; October, 2017. Available at
 https://helpandhopewv.org/docs/PFS County Reports/Cabell PfS%20County%20Reports Final.pdf.
 4
     CDC. CDC WONDER. Multiple Cause of Death Data. Available at https://wonder.cdc.gov/mcd.html.
 5
     Id.

                                                  10
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 (MMEs). 6 In the same year, nearly 26% of Cabell County residents had an opioid

 prescription. 7 The opioid prescription rate in Cabell County in 2016 was 344th out

 of 2,962 counties in the nation for which the CDC collected data. 8

            The fact that the opioid overdose death rate in Cabell County was three

 times higher than in the state of West Virginia is particularly notable because in

 2014, West Virginia had the highest opioid overdose death rate of any state in the

 nation (35.5 per 100,000). 9 West Virginia also had the highest opioid overdose

 death rate of any state in the nation in 2013. 10 In fact, West Virginia led the nation

 in opioid overdose death rate throughout the period 2010-2018. 11 The age-adjusted

 drug overdose death rate in West Virginia in 2018 was a striking 51.5 per 100,000,

 still the highest of any state in the nation. 12 Thus, the opioid epidemic in Cabell




 6
     Id.
 7
     Id.
 8
  CDC. U.S. County Prescribing Rates, 2016. Available at
 https://www.cdc.gov/drugoverdose/maps/rxcounty2016.html.
 9
  Rudd RA, Aleshire N, Zibbell JE, Gladden RM. Increases in drug and opioid overdose deaths—United
 States, 2000-2014. MMWR 2016; 64(50):1378-1382.
 10
      Id.
 11
   Rudd RA, Seth P, David F. Scholl L. Increase in drug and opioid-involved overdose deaths—United
 States, 2010-2015. MMWR 2016; 65(50-51):1445-1452; CDC. 2018 Overdose deaths.
 https://www.cdc.gov/drugoverdose/data/statedeaths/drug-overdose-death-2018.html.
 12
   CDC. 2018 Overdose deaths. https://www.cdc.gov/drugoverdose/data/statedeaths/drug-overdose-death-
 2018.html.

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 County is occurring in the county with the highest overdose death rate in the state

 that itself has the highest overdose death rate.

            The opioid public health epidemic continues in Cabell County and by some

 measures is getting worse. For example, in 2018, Cabell County had the highest

 opiate overdose death rate of any county in the nation at 127.1 per 100,000. 13 The

 opiate overdose death rate in Cabell County increased steadily from 22.9 per

 100,000 in 2006, peaking in 2017 at 155.7 per 100,000. 14

            The opioid crisis in the city of Huntington, the largest city within Cabell

 County, is so severe that on one day in 2016, there were 14 reported opioid

 overdoses within a five-hour period, prompting a public safety investigation by the

 CDC. 15




 13
      CDC. CDC WONDER. Multiple Cause of Death Data. Available at https://wonder.cdc.gov/mcd.html.
 14
      Id.
 15
  Massey J, Kilkenny M, Batdorf S, et al. Opioid overdose outbreak—West Virginia, August 2016.
 MMWR Morbid Mortal Wkly Rep 2017;66(37):975-980.

                                                  12
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                 Figure 1. Opioid Overdose Death Rate, Cabell County
                                    (per 100,000)
  160

  140

  120

  100

   80

   60

   40

   20

    0
     2001 2002 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012 2013 2014 2015 2016 2017 2018




 Figure 1 shows the opioid overdose death rate in Cabell County from 2001

 through 2018, using data obtained from the CDC WONDER, Multiple Cause of

 Death database. There is a steady increase in the death rate throughout this period,

 with a dramatic acceleration in the rate of increase starting in 2012. The rate

 skyrocketed from 2012 to 2017, before peaking in 2017 and then falling off just

 slightly in 2018. Despite that small decline, note that the death rate in 2018 was

 still the second highest recorded in this 18-year period.




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 IV.     The Oversupply of Prescription Opioid Drugs is a Significant Reason
         for the Current Opioid Epidemic

         It is generally accepted that a significant driver behind the opioid epidemic

 is the dramatic increase in the volume of opioid drugs being supplied to

 pharmacies in response to an increase in the writing of opioid prescriptions. A

 rigorous econometric analysis by Ruhm concluded that increases in opioid supply

 account for approximately 85% of the observed increase in opioid overdose death

 rates from 2000-2015. 16 The Centers for Disease Control and Prevention (CDC)

 reported that the sale of opiate painkillers and the opiate pain reliever overdose

 death rate rose in parallel from 1999-2008, with the rate of sales quadrupling from

 1999-2010 and the opiate pain reliever death rate tripling during roughly the same

 period. 17 Paulozzi and Ryan showed that there was a significant correlation

 between states with the highest drug poisoning mortality rates and those with the

 highest levels of prescription opiate sales in 2002.18 Modarai et al. demonstrated

 that there was a correlation between annual opioid sales between 1997 and 2010

 and both emergency department overdose visits and unintentional drug deaths in



 16
   Ruhm CJ. Deaths of despair or drug problems? NBER Working Paper series. Working paper 24188.
 Cambridge, MA: National Bureau of Economic Research; January, 2018. Available at
 https://www.nber.org/papers/w24188.pdf.
 17
   Centers for Disease Control and Prevention. Vital signs: overdoses of prescription opioid pain
 relievers—United States, 1999-2008. MMWR Morb Mortal Wkly Rep 2011;60(43):1487-1492.

 18
   Paulozzi LJ, Ryan GW. Opioid analgesics and rates of fatal drug poisoning in the United States. Am J
 Prev Med 2006;31(6):506–511.

                                                    15
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 North Carolina during the same period. 19 Similarly, Piercefield et al. documented a

 correlation between increases in the rate of opiate prescription and the observed

 rise in unintentional opiate overdose deaths in Oklahoma during the period 1994-

 2006.20 Paulozzi and Stier reported that opioid-related death rates were higher in

 Pennsylvania than New York in 2006-2007, a period during which the overall

 distribution of opioid analgesics was approximately two-thirds higher in

 Pennsylvania. 21 Sims et al. documented that from 1997 to 2004, national

 prescription rates for methadone increased by 727%, while methadone overdose

 death rates rose by 1770% during the same period. 22 Grigoras et al. found that the

 rate of opiate prescriptions based on Medicare Part D data was significantly related

 to the overall death rate from opiates among 2,710 US counties in a cross-sectional

 study using combined data from 2013 and 2014. 23

         In an article published in Pain Medicine in 2014, Turk—who had received

 grant support of consulting fees from pharmaceutical companies including


  Modarai F, Mack K, Hicks P, et al. Relationship of opioid prescription sales and overdoses, North
 19

 Carolina. Drug Alcohol Depend 2013;132(1–2):81–86.
 20
  Piercefield E, Archer P, Kemp P, Mallonee S. Increase in unintentional medication overdose deaths:
 Oklahoma, 1994-2006. Am J Prev Med 2010;39(4):357-363.
 21
   Paulozzi LJ, Stier DD. Prescription drug laws, drug overdoses, and drug sales in New York and
 Pennsylvania. J Public Health Policy 2010;31(4):422-432.
 22
  Sims SA, Snow LA, Porucznik CA. Surveillance of methadone-related adverse drug events using
 multiple public health data sources. J Biomed Inform 2007;40(4):382-389.
 23
   Grigoras C, Karanika S, Velmahos E, et al. Correlation of opioid mortality with prescriptions and social
 determinants: A cross-sectional study of Medicare enrollees. Drugs 2018;78(1):111-121.

                                                    16
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 Janssen—and colleagues wrote that: “Corresponding to the rise in opioid

 prescribing is the expansion in rates of opioid misuse (i.e., inappropriate use of a

 medication for medical purposes, rather than mind-altering effects), abuse (i.e., use

 of medication for mind-altering effect or in any manner not consistent with the way

 in which the opioid was prescribed by the treating physician), as well as both fatal

 and nonfatal overdoses. … This relationship is more than circumstantial, as

 multiple investigations have been conducted to support the purported causal

 influence of increased opioid prescribing to higher rates of misuse, abuse,

 emergency room visits, and overdose.” 24

         Although a substantial proportion of opioid overdoses are due to non-

 prescription products (e.g., heroin or illicit synthetic opioids), the overwhelming

 majority of these cases involve individuals who initiated illicit opioid use after

 developing addiction to prescription opioid drugs, but are no longer able to obtain

 prescription opioids. Nationally, among all heroin users, nearly 80% report having




 24
   Turk DC, Dansie EJ, Wilson HD, Moskovitz B, Kim M. Physicians’ beliefs and likelihood of
 prescribing opioid tamper-resistant formulations for chronic noncancer pain patients. Pain Medicine
 2014;14:625-636.

                                                    17
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 started with prescription opioids prior to heroin use. 25,26 People who are addicted to

 prescription opioid drugs are 40 times more likely to subsequently use heroin. 27




 25
   Jones CM. Heroin use and heroin use risk behaviors among nonmedical users of prescription opioid
 pain relievers – United States, 2002-2004 and 2008-2010. Drug Alcohol Depend 2013;132(1-2):95-100.
 26
  Muhuri PK, Gfroerer JC, Davies MC; Substance Abuse and Mental Health Services Administration.
 Associations of nonmedical pain reliever use and initiation of heroin use in the United States. CBHSQ
 Data Review. Published August 2013.
 27
   Jones CM, Logan J, Gladden RM, Bohm MK. Vital signs: demographic and substance use trends
 among heroin users—United States, 2002–2013. MMWR Morb Mortal Wkly Rep 2015;64(26):719–25.

                                                    18
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 V.     Due to the Addictive Nature of Opioid Drugs, All Supply Chain
        Defendants Had a Public Health Responsibility to Prevent the
        Oversupply of their Products

        Although public health acknowledges individual responsibility in making

 health-related behavioral decisions, a central feature of public health is the

 recognition that larger social entities—including corporations—share some

 responsibility in protecting the public’s health. 28 Dr. Nicholas Freudenberg,

 Distinguished Professor of Public Health at City University of New York School

 of Public Health, explained this concept as follows: “the way I think about it is that

 health, and especially public health, is a community responsibility. And yes,

 individuals have an obligation to protect their health. But corporations also have a

 responsibility.” 29

        Pharmaceutical distributors have a well-recognized public health

 responsibility to generally and specifically protect the health of the public—to

 protect the public from the severe health consequences associated with oversupply

 of drugs. This responsibility derives, in part, from the fact that pharmaceutical

 distributors are part of the health care industry, whose underlying mission and

 responsibility is the protection and improvement of the public’s health.


 28
  See, for example, Freudenberg N. Lethal but Legal: Corporations, Consumption, and Protecting Public
 Health. Oxford: Oxford University Press; 2014.
 29
   Corporate Crime Reporter. Nick Freudenberg on the Corporation, the Individual, and Public Health,
 July 16, 2019. https://www.corporatecrimereporter.com/news/200/nick-freudenberg-on-the-corporation-
 the-individual-and-public-health/.

                                                  19
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        The public health responsibility of pharmaceutical distributors to protect the

 integrity of the drug supply chain has been articulated by the World Health

 Organization (WHO). The WHO guidelines state: “All parties involved in the

 distribution of pharmaceutical products have a responsibility to ensure that the

 quality of pharmaceutical products and the integrity of the distribution chain is

 maintained throughout the distribution process from the site of the manufacturer to

 the entity responsible for dispensing or providing the product to the patient or his

 or her agent.” 30 It is important to note that the WHO refers to this as a public

 health responsibility, and not merely as a good practice.

        It is also important to note that the responsibility of pharmaceutical

 distributors goes beyond merely preventing the entry of their products into the

 illicit market. They also have a responsibility to ensure that the products they sell

 are being prescribed and used legitimately. The Office of the Inspector General

 (OIG) of the U.S. Department of Health and Human Services defined drug

 diversion simply as “the redirection of prescription drugs for illegitimate

 purposes… .” 31 While those illegitimate purposes may include the resale of drugs



 30
   World Health Organization. WHO good distribution practices for pharmaceutical products (Annex 5).
 WHO Technical Report Series, No. 957, 2010.
 https://www.who.int/medicines/areas/quality safety/quality assurance/GoodDistributionPracticesTRS95
 7Annex5.pdf?ua=1.
 31
   Office of the Inspector General, U.S. Department of Health and Human Services. Spotlight on drug
 diversion. https://oig.hhs.gov/newsroom/spotlight/2013/diversion.asp.

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 on the black market, they may also involve supplying drugs for prescriptions that

 have been inappropriately or illegitimately provided to individuals. As the OIG

 explains, this may take the form of physicians writing “medically unnecessary”

 prescriptions, operating “pill mills,” and fraudulently billing Medicare or Medicaid

 for opioid prescriptions, sometimes without examining the patients. 32 Thus, the

 critical public health responsibility for opioid distributors is to avoid oversupplying

 pharmacies with quantities of drugs that might indicate either diversion of drugs

 into the illicit market or to the distribution of illegitimately prescribed drugs

 through the legal market.

            The pharmaceutical companies have readily acknowledged their public

 health responsibilities and their commitment to carry them out. An article in the

 May 2007 issue of PharmaVOICE states: “The pharmaceutical industry’s

 commitment to public health is at the core of its very existence… .” 33 The same

 article also asserts that: “The pharmaceutical industry plays an important public-

 health role just by creating and developing medicines, but it does not stop there.” 34

 In the article, a senior official at Pfizer states: “We feel our role goes beyond the

 development, distributing, and selling of medicines and the doctor-patient



 32
      Id.
 33
      Villarroel EP. Going Public: Pharma’s Commitment to Health. PharmaVOICE, May 2007, p. 10.
 34
      Id., p. 14.

                                                   21
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 interchange; we really believe that as a company we can focus on larger public-

 health issues. As we introduce our products and programs, we have to introduce

 other elements that lead to better health. … We are beginning to take a larger

 worldview of our mission, which is beyond merely the discovery and distribution

 of medicines and looking at how we fit into the larger health agenda.” 35 A senior

 official at Merck stated: “It is crucial to raise awareness and get the information

 out there so that people have a very comprehensive view of what we stand for as

 an organization. The hope is that if they are aware of Merck’s commitment to

 public health it will help to differentiate Merck and raise awareness of the

 company and lead to all around better feelings about the industry in general.” 36

            The public health responsibility to protect public safety has been readily

 acknowledged by pharmaceutical distributors, individually and through their trade

 organizations, the Healthcare Distribution Alliance (HDA) and its predecessor, the

 Healthcare Distribution Management Association (HDMA); yet the Defendant

 distributors in this case repeatedly and continuously disregarded these obligations,

 as described below. As demonstrated in the deposition of former HDA President

 John Gray, the distributors’ repeated protestations of public health protection were




 35
      Id., p. 18.
 36
      Id., p. 21.

                                               22
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 more accurately viewed as a form of public relations that veiled their continuous

 violation of those responsibilities. 37

             In a 2019 report, the HDA wrote that “Pharmaceutical distributors are at the

 heart of the US health care ecosystem. Distributors handle 92 percent of

 pharmaceutical sales and add efficiency and order to a supply chain that connects

 two highly fragmented markets: 1,300 manufacturers and 180,000+ points of

 dispensation. … Distributors do much more than serve as the intermediary that

 ships products from manufacturers to pharmacies and providers. … Distributors

 play a critical role in supporting patient safety, enabling the right product to reach

 the right patient in a timely and transparent manner, including processing over 200

 recall events per year.” 38 The HDA describes the responsibility of distributors as

 “enabling a secure, transparent, and efficient pharmaceutical supply chain that

 safeguards patient safety… .” 39

             The HDA has acknowledged that the responsibility of distributors to detect

 and prevent diversion of opioids is not merely a statutory or regulatory

 responsibility, but that it is also a public health responsibility: “HDMA’s members



 37
      John Gray Deposition 7/30/2020

 38
   HDA and Deloitte. The Role of Distributors in the US Health Care Industry: 2019 Report, p. 3.
 https://www2.deloitte.com/content/dam/Deloitte/us/Documents/life-sciences-health-care/us-hda-role-of-
 distributors-in-the-us-health-care-industry.pdf.-
 39
      Id., p. 4.

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 have not only statutory and regulatory responsibilities to detect and prevent

 diversion of controlled prescription drugs, but undertake such efforts as

 responsible members of society. The public health dangers associated with the

 diversion and abuse of controlled prescription drugs have been well-recognized

 over the years by Congress, the DEA, and public health authorities” (emphasis is

 mine). 40

         The distributors reiterated their understanding that their responsibilities go

 beyond statutory and regulatory requirements and extend to a responsibility to

 protect the interests and health of the public (i.e., the public health) in another

 amicus brief submitted by the HDMA, which stated: “The public health dangers

 associated with the diversion and abuse of controlled prescription drugs have been

 well-recognized by Congress, DEA, public health authorities, and others –

 including HDMA and NACDS and their members. HDMA and NACDS members

 not only have statutory and regulatory responsibilities to guard against diversion of

 controlled prescription drugs, but undertake such efforts as responsible members of

 society.” 41 This statement also recognizes that the public health responsibility of



 40
   Amicus Curiae Brief of Healthcare Distribution Management Association (draft), February 2, 2012.
 Cardinal Health, Inc. v. Eric H. Holder, Jr., et al. United States District Court for the District of Columbia.
 Pl.6526. ABDCMDL05782532.
 41
   Brief for Healthcare Distribution Management Association and National Association of Chain Drug
 Stores as Amici Curiae in Support of Neither Party. Masters Pharmaceuticals, Inc. v. United States Drug
 Enforcement Agency. United States Court of Appeals, District of Columbia Circuit, April 4, 2016, p. 5.
 Exhibit 38 in Hartle deposition.

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 distributors goes beyond merely preventing diversion into the illicit market but also

 includes preventing the abuse of opioid drugs in its entirety, which includes the

 abuse of drugs obtained through the legal market.

            The Healthcare Distribution Alliance describes the responsibility of

 pharmaceutical distributors as “getting the right medicines to the right patients at

 the right time, safely and efficiently.” 42 The HDA goes on to say that “Every day,

 pharmaceutical distributors sustain a complex supply chain, serving as an

 important link in the healthcare system and delivering medicines safely, securely

 and efficiently. As the healthcare system rapidly changes, distributors are

 constantly envisioning new ways to move and secure the nation’s medicines, all

 while protecting patient safety. … HDA members are not simply distributors. They

 are technology innovators, information management experts, security specialists

 and efficiency professionals, whose expertise streamlines the supply chain to

 reduce costs and save the nation’s healthcare system both time and money.” 43

            The HDA describes its very first mission as follows: “Protect patient safety

 and access to medicines through the safe and efficient distribution of healthcare

 products and services.” 44 It also states that one of the central responsibilities of


 42
   HDA. Pharmaceutical Distributors: Understanding Our Role in the Supply Chain.
 https://www.hda.org/about/role-of-distributors. Last accessed June 17, 2020.
 43
      Id.
 44
      HDA. Mission and Values. https://www.hda.org/about/mission-and-values. Accessed June 18, 2020.

                                                    25
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 distributors is to “continuously monitor, protect and enhance the security of the

 pharmaceutical supply chain to ensure medicines are properly and securely

 handled, stored and delivered.” 45

            The HDMA also described its mission in similar terms, stating that its

 primary responsibility is the protection of public safety: “The primary

 responsibility of the healthcare industry is to ensure patient health and safety.” 46

 The pharmaceutical distributors have also recognized that the public trust is placed

 upon them to conduct due diligence in protecting public safety: “HDMA members

 recognize the public trust placed upon them to ensure that authentic pharmaceutical

 products are handled, stored, and ultimately, dispensed to patients safely and

 efficiently.” 47

            The Healthcare Distribution Management Association explained that

 exercising due diligence is central to distributors fulfilling their public health

 obligations in protecting the safety of the drug supply: “At the center of a

 sophisticated supply chain, distributors are uniquely situated to perform due

 diligence in order to help support the security of the controlled substances they



 45
   HDA. Infographic. https://www.hda.org/~/media/pdfs/communications/2019-01-25-the-vital-link-in-
 the-pharmaceutical-supply-chain.ashx?la=en.
 46
  Gray, JM. Prepared Statement of John M. Gray, president and CEO of the Healthcare Distribution
 Management Association. Drug Importation: The Realities of Safety and Security. Hearing before the
 Committee on Health, Education, Labor, and Pensions, United States Senate, February 16, 2005, p. 25.
 47
      Id.

                                                   26
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 deliver to their customers. Due diligence can provide a greater level of assurance

 that those who purchase CS [controlled substances] from distributors intend to

 dispense them for legally acceptable purposes. Such due diligence can reduce the

 possibility that controlled substances within the supply chain will reach locations

 they are not intended to reach.” 48

           The pharmaceutical distributors have also explicitly accepted their role in

 helping to prevent opioid abuse and their commitment to carrying out this role:

 “HDA and its members are committed to stopping opioid abuse and misuse before

 it occurs through investments in information technology and state-of-the-art

 monitoring tools to prevent diversion, initiatives to provide education and

 awareness to consumers, and practical policy solutions to address opioid abuse and

 misuse.” 49

           One pharmaceutical distributor CEO described the responsibility to make

 sure that the company distributed opioids only for legitimate purposes as an

 “imperative,” on equal footing with its responsibility to make sure these

 medications are available for legitimate purposes: “As a distributor, we had to

 manage the twin imperatives of ensuring that we distributed pharmaceuticals

 appropriately, for legitimate purposes, and ensuring the pharmacies that they had


 48
  Healthcare Distribution Management Association (HDMA). Industry Compliance Guidelines.
 ABDCMDL00000397.
 49
      HDA. Pharmaceutical Distributors: Understanding Our Role in the Supply Chain.

                                                    27
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 the products they needed when the patient arrived with a prescription so as to

 ensure undisrupted patient care.” 50

        Individual distributors have explicitly acknowledged their responsibility to

 help prevent opioid misuse. This clearly extends to a responsibility not to grossly

 oversupply pharmacy customers with opioids, as that is a major cause of opioid

 misuse and addiction. All three of the major distributor Defendants have

 acknowledged this responsibility:

        AmerisourceBergen states as follows: “As an accountable and conscientious

 healthcare organization, AmerisourceBergen feels it has a responsibility to help

 address the national issue of opioid misuse.” 51 Elsewhere, it reiterates this

 responsibility: “Employers committed to safe and healthy workplaces have a

 responsibility to address the opioid epidemic.” 52 The company frames its

 responsibility regarding the opioid crisis within its more general obligations to

 protect the public’s health: “The driving force behind everything we do is our

 Purpose - we are united in our responsibility to create healthier futures. This


 50
   Statement of J. Christopher Smith, former President and CEO, H.D. Smith Wholesale Drug Company,
 before the Subcommittee on Oversight and Investigations, Committee on Energy and Commerce, U.S.
 House of Representatives, May 8, 2018. Combating the Opioid Epidemic: Examining Concerns about
 Distribution and Diversion, p.41. Pl.6480.
 51
   AmerisourceBergen. Fighting the Opioid Epidemic. Frequently Asked Questions.
 https://www.amerisourcebergen.com/fighting-the-opioid-epidemic/frequently-asked-questions.
 52
   AmerisourceBergen. AmerisourceBergen Expands Opioid Assistance Program for Associates, August
 22, 2019. https://www.amerisourcebergen.com/newsroom/press-releases/amerisourcebergen-expands-
 opioid-assistance-program-for-associates. Last accessed June 18, 2020.

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 Purpose drives every facet of our business and is more important today than ever

 as we and the country grapple with the opioid crisis. AmerisourceBergen has a

 longstanding commitment to ensuring a safe and efficient pharmaceutical supply

 chain. We have taken substantial steps to combat the diversion of controlled

 substances and fight opioid misuse and abuse. We believe a multifaceted approach,

 with efforts that stretch across the federal-, local-, and company-level, is

 imperative to create real change.” 53 AmerisourceBergen has expressed its

 “commitment to the safe handling and distribution of opioids and other controlled

 substances” and its “ongoing commitment of being an industry leader in diversion

 control.” 54

            Cardinal Health explicitly acknowledges its responsibility to prevent the

 diversion of opioid medications, stating: “The people of Cardinal Health care

 deeply about the devastation opioid abuse has caused American families and

 communities and are committed to being part of the solution. … Our responsibility

 as a distributor is to provide a safe and secure channel to deliver medications of all

 kinds, from the hundreds of manufacturers who make them to the thousands of

 government-authorized pharmacies that fill doctors’ prescriptions for patients, and


 53
   AmerisourceBergen. Safe and Secure Distribution of Controlled Substances. September, 2019.
 https://www.amerisourcebergen.com/-/media/assets/amerisourcebergen/fighting-the-opioid-
 epidemic/abc opioidreport sept2019.pdf?la=en&hash=2721CF3085BAC3828E639CF6C7FF39B752B9
 B4DA. Last accessed June 18, 2020.
 54
      Id., p. 11.

                                              29
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 in that process – within the channels we control – prevent the diversion of pain

 medications from legitimate and appropriate uses.” 55 Cardinal Health describes the

 prevention of prescription drug diversion and abuse as an “obligation to society”:

 “…our role—and our obligation to society—is to ensure that prescribers,

 pharmacists and patients have safe, secure and efficient access to the medications

 they need, when and where they need them while doing our very best to prevent

 prescription drug diversion and abuse.” 56

            McKesson Corporation also explicitly acknowledges its “responsibility” to

 prevent opioid abuse and stated that it is “fully committed to working with all

 stakeholders to protect the supply chain and help prevent diversion while ensuring

 appropriate treatments are available to patients.” 57 It has stated that it is

 “committed to working closely with our partners and customers to fight the opioid

 abuse epidemic.” 58 McKesson has also stated that it is “committed to continuing to

 make enhancements as needed to ensure our CSMP [Controlled Substances

 Monitoring Program] remains an effective contribution in our country’s battle with




 55
    Cardinal Health. Anti-Diversion and Regulation.
 https://www.cardinalhealth.com/content/dam/corp/web/documents/infographic/cardinal-health-anti-
 diversion-infographic.pdf. Last accessed June 18, 2020.
 56
    Cardinal Health. Dear Colleague letter from George Barrett, 2017. CAH_MDL2804_00112004.
 57
   McKesson. Combating the Opioid Abuse Epidemic: A Shared Responsibility that Requires Innovative
 Solutions. March, 2017.
 58
      Id.

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 opioid diversion and abuse.” 59 In addition, McKesson has made it clear that it has a

 responsibility that goes beyond merely its statutory and regulatory duties; that is,

 that it owes a responsibility to the general public, which is essentially a public

 health responsibility. In his deposition testimony, Nathan Hartle—McKesson’s

 vice president of regulatory affairs and compliance from 2014—acknowledged

 (i.e., answered “yes”) to the question: “So your answer is, yes, aside from the

 statutory and regulatory provisions, McKesson acknowledges that it owes a

 responsibility to the general public to prevent diversion of controlled substances

 and opium pills into the illicit market?” 60 Later in the deposition, he acknowledged

 that “aside from your regulatory responsibilities, you also perform a function that

 serves the public interest at large.” 61

            The public health responsibility of the distributor Defendants to protect the

 integrity of the drug supply system—which they readily acknowledge—aligns with

 both federal and state statutory requirements. 62 However, it is a widely recognized



 59
      Id.
 60
   Deposition of Nathan J. Hartle in RE: National Prescription Opiate Litigation. US. District Court for
 the Northern District of Ohio, Eastern Division, July 31, 2018. Page 85.
 61
      Id., pp. 131-132.
 62
   Both distributors (all supply chain companies) and dispensers (pharmacies) of opioid drugs are required
 under federal law to monitor orders for red flags and report suspicious orders to the Drug Enforcement
 Administration (DEA). Under the federal Controlled Substances Act, distributors and dispensers of
 controlled substances, including opioids, are required to monitor the orders or prescriptions they receive
 in order to guard against inappropriate orders and they must report to the DEA if they discover any
 suspicious orders: “The registrant shall design and operate a system to disclose to the registrant suspicious

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 principle within the public health field that the public health responsibilities of

 pharmaceutical distributors are not limited to statutory requirements alone because

 corporate practices can still potentially harm the public’s health and companies

 have a public health responsibility to avoid harming the public if they are aware

 that their behavior is likely to result in substantial public health harm.

 VI.     The Quantities of Opioids Amerisource Bergen, Cardinal Health, and
         McKesson Corporation Supplied to Pharmacies in and around Cabell
         County were Inconsistent with Public Health, Particularly Considering
         Available Information about Opioid Abuse and Harms

         A.      Methodology

         In public health generally and in epidemiology specifically, a common

 method of assessing whether a local community is facing a particular public health

 risk and the severity of that public health risk is to compare data at the local level




 orders of controlled substances. The registrant shall inform the Field Division Office of the
 Administration in his area of suspicious orders when discovered by the registrant. Suspicious orders
 include orders of unusual size, orders deviating substantially from a normal pattern, and orders of unusual
 frequency.” (21 C.F.R. § 1301.74(b) and 21 C.F.R. § 1301.76(c)) In addition, distributors of opioid drugs
 are required under West Virginia state law to monitor orders for red flags and report suspicious orders to
 the state pharmacy board. Under West Virginia’s pharmacy rules, all drug distributors must monitor
 orders and report any suspicious orders to the West Virginia Board of Pharmacy in addition to the DEA:
 “A wholesale drug distributor shall design and operate a system to disclose to the wholesale drug
 distributor suspicious orders of controlled substances. A wholesale drug distributor shall inform the
 Office of the Board of suspicious orders of controlled substances when discovered by the wholesale drug
 distributor by providing a copy of the information which the wholesale drug distributor provides to the
 U.S. Drug Enforcement Administration regarding such suspicious orders.” (West Virginia Code of State
 Rules § 15-2-5.3).

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 to national averages. 63, 64 This concept of evaluating the volume of opioids being

 supplied to a particular pharmacy in light of the population size for the location of

 the pharmacy is widely accepted as a means of identifying potential oversupply. In

 fact, in a May 2015 controlled substances report, McKesson includes this exact

 analysis as one of the statistics to be examined. 65 The company lists this as a

 statistic that could raise a public health concern for a particular pharmacy: “The

 total volume of controlled scripts or overall controlled dispensing is inconsistent

 with the population size for the location of the customer’s business, especially

 when compared to other pharmacies in the immediate area.” 66

            In a 1996 letter to the DEA, Bergen Brunswig Corporation (later

 AmerisourceBergen) explains that it used precisely the benchmark that I outline

 above in identifying potential oversupply of individual pharmacies: "By way of

 background, as you know BBDC participated in the development of a model



 63
   For example, Nesoff et al. evaluated the extent of pedestrian injury in Baltimore and compared these
 rates to national rates, concluding that there was an over-occurrence of child pedestrian injury because the
 rate in Baltimore was five times higher than the overall rate nationally Nessof ED, Pollack KM, Knowlton
 AR, Bowie JV, Gielen AC. Local vs. national: Epidemiology of pedestrian injury in a mid-Atlantic city.
 Traffic Injury Prevention 2018; 19(4):440-445.
 64
   In another study, researchers compared dialysis rates at the local level with the overall national rates in
 order to identify local hot spots for kidney disease and to assess progress in reducing disease in those hot
 spots Wakasugi M, Kazama JJ, Narita I. Use of Japanese Society for Dialysis therapy dialysis tables to
 compare the local and national incidence of dialysis. Therapeutic Apheresis and Dialysis 2012; 16(1):63-
 67.
 65
      McKesson. McKesson CSMP “Red Flags.” May 2015. Pl.1146. MCKMDL00335740.
 66
      Id., p.7.

                                                      33
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 Excessive Purchase Report now in u.se by many distributor registrants. As used by

 BBDC, the Excessive Purchase Report lists total customer purchases for the

 reported month which exceed pre-determined multiples of the average monthly

 purchases of BBDC's total customers base. The program identifies purchases by

 individual DEA Drug Code and reads BBDC's sales files to calculate averages to

 be used as reporting criteria.” 67

        Accordingly, to evaluate the volume of opioids distributed into Cabell

 County I derived a benchmark using the following methodology: generating a

 national average using ARCOS data compiled by Dr. Craig McCann. 68 The

 McCann report states that from 2006-2014 there were approximately 114 billion

 dosage units of oxycodone and hydrocodone distributed in the United States. Using

 the 2010 Census estimate of 235 million adults in the U.S., this amounts to an

 average of 0.15 dosage units per day for each adult in the nation. This figure can

 then be used as a benchmark to assess the volume of opioids distributed into an

 area of interest – in this instance Cabell County. I use this benchmark to evaluate

 distributions by individual companies to individual pharmacies by dividing the

 number of dosage units supplied to the pharmacy per day by the adult population


 67
   Letter from Bergen Brunswig Corporation to Drug Enforcement Administration, September 30, 1996.
 Exhibit 1, Rafalski. ABDCMDL00315791.
 68
   Expert Report of Craig J. McCann, PhD, CFA. In Re National Prescription Opiate Litigation: Cabell
 County and Huntington City WV Case. United States District Court for the Northern District of West
 Virginia Eastern Division, August 2020

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 of the municipality in which that pharmacy is located. Using this benchmark to

 evaluate shipments to a particular pharmacy based on the total number of adults in

 the municipality in which it is located is extremely conservative because it assumes

 that each pharmacy supplies the entire city or town.

        To validate this benchmark, I looked at a 2011 DEA report that stated

 the average retail pharmacy in the U.S. dispensed a total of 74,316 dosage units of

 oxycodone. 69 During the same year, the population of adults in the U.S. was 238

 million, and the number of pharmacies was 64,356. 70 This translates into an

 average across all U.S. pharmacies of 0.055 dosage units of oxycodone per adult

 per day. Since this only includes oxycodone and not hydrocodone, a benchmark of

 0.15 dosage units per day for oxycodone and hydrocodone is reasonable.

        Since not every adult takes prescription opioids, the number of dosage units

 per actual prescription opioid user is going to be much higher than the overall

 dosage units per adult in the entire population. To account for this, I translated the

 calculated dosage units per adult per day to an estimate of the dosage units per

 adult taking prescription opioids per day. From 2006 through 2012, the percentage




 69
   Declaration of Susan Langston. DEA. In the matter of Cardinal Health. Docket No. 12-32, April 13,
 2012. Pl. 4207. CAH_MDL_PRIORPROD_DEA12_00004166
 70
   Qato DM, Zenk S, Wilder J, Harrington R, Gaskin D, Alexander GC. The availability of pharmacies in
 the United States: 2007-2015. PLoS ONE 2017;12(8):e0183172.
 https://doi.org/10.1571/journal.pone.0183172

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 of adults aged 20 and over who used a prescription opioid analgesic in the past 30

 days was 6.9%. 71 I use this value of 6.9% throughout the report in order to translate

 the dosage units per all adults in the population to estimated dosage units per

 prescription opioid taking adult. This figure is consistent with other who have

 made a similar evaluation. 72, 73

         The estimate of 6.9% of adults taking prescription opioid medication is

 conservative because it is the highest reported usage of any year in the past two

 decades. For example, the National Center for Health Statistics (NCHS) at CDC

 estimated that between 2015 and 2018, 5.7% of adults ages 20 and older in the




 71
   Frenk SM, Porter KS, Paulozzi LJ. Prescription opioid analgesic use among adults: United States,
 1999-2012. NCHS Data Brief (No. 189). National Center for Health Statistics, Centers for Disease
 Control and Prevention; February 2015.
 72
    Beyond CDC’s estimates, there was at least one private effort to estimate the prevalence of adult
 prescription opioid use in the United States. Researchers from Boston University’s Slone Epidemiology
 Center used a random-digit-dial telephone survey to generate an estimate of the national prevalence of
 prescription opioid use over the period 1999-2007 They reported that 2.0% of adults used prescription
 opioids regularly (at least 20 days in the year), while an additional 2.9% used prescription opioids less
 frequently. Thus, their overall estimate of the prevalence of adult prescription opioid use in the U.S. was
 4.9%, which is considerably lower than the 6.9% figure I am using. Kelly JP, Cook SF, Kaufman DW,
 Anderson T, Rosenberg L, Mitchell AA. Prevalence and characteristics of opioid use in the US adult
 population. Pain 2008; 138:507-513.
 73
    Hauser et al. reported that between 2007 and 2009, the average opioid consumption per person in the
 U.S. was 39,487 dosage units per person per day. Converting this to a figure per adult, it amounts to
 approximately 0.05 dosage units per adult per day. Since opioid consumption was at its peak around 2012
 (and was 30% higher in that year than in 2007-2009), the most conservative figure resulting from this data
 is a benchmark of .07 dosage units per person per day. This is half of the benchmark of 0.15 that I am
 using, again showing that my benchmark is quite conservative. Hauser W, et al. The opioid epidemic and
 the long-term opioid therapy for chronic noncancer pain revisited: a transatlantic perspective. Pain
 Management 2016; 6(3):249-63.


                                                      36
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 U.S. had used prescription opioids in the past 30 days. 74 The NCHS also estimated

 that between 2013 and 2016, the proportion of adults ages 20 and over who

 reported using a prescription opioid in the past 30 days was 6.5%. 75

         The estimate of 6.9% is also conservative because it includes all opioids and

 not just oxycodone and hydrocodone and because it includes all adults who

 reported using opioid pain medications in the past month, even if that use were

 simply for acute pain. 76




 74
   Hales CM, Martin, CB, Gu Q. Prevalence of prescription pain medication use among adults: United
 States, 2015-2018. NCHS Data Brief. No. 369. June 2020. Hyattsville, MD: National Center for Health
 Statistics, Centers for Disease Control and Prevention; June 2020.
 https://www.cdc.gov/nchs/data/databriefs/db369-h.pdf
 75
   Frenk SM, Gu Q, Bohm MK. Prevalence of prescription opioid analgesic use among adults: United
 States, 2013-2016. Bethesda, MD: National Center for Health Statistics, Centers for Disease Control and
 Prevention; December 2019.
 https://pdfs.semanticscholar.org/1ecb/131ae0143811eda5407e90711dfb9e876b22.pdf.
 76
    There has been at least one attempt to measure the prevalence of adult use of opioid use for chronic
 treatment of noncancer pain. Campbell et al. studied a population of Kaiser Permanente patients in
 northern California. Among men ages 18-44, the prevalence of opioid use for chronic treatment of
 noncancer pain in 2005 was approximately 1.5%. Among men ages 45-64, it was approximately 4.0%.
 Among men ages 65+, it was 5.4%. Among women ages 18-44, the prevalence of opioid use for chronic
 treatment of noncancer pain in 2005 was approximately 2.0%. Among women ages 45-64, it was
 approximately 5.3%. Among women ages 65+, it was 8.9%. Based on the age-sex population distribution
 in California, the estimate for the overall prevalence of prescription opioid use for noncancer chronic pain
 is approximately 3.3%. This suggests, again, that 6.9% is a conservative figure for the proportion of
 adults who chronically take prescription opioids. The same article provided similar estimates for patients
 of the Group Health Cooperative in Washington State, and all of these estimates were lower than the
 corresponding estimates for Kaiser Permanente. Campbell CI, Weisner C, LeResche L, et al. Age and
 gender trends in long-term opioid analgesic use for noncancer pain. American Journal of Public Health
 2010; 100:2541-2547. https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2978198/pdf/2541.pdf.


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         Based on these estimates, the 0.15 dosage units per adult per day in the

 overall population translates into a benchmark of 2.2 dosage units per prescription

 opioid taking adult. 77

                 To summarize, based on the average amounts of oxycodone and

 hydrocodone being distributed nationally in the U.S. during the period 2006-2014,

 conservative benchmarks to evaluate possible oversupply of particular pharmacies

 are:

              • 0.15 dosage units per adult per day; and

              • 2.2 dosage units per prescription opioid taking adult per day.

         B.      AmerisourceBergen

                 1.      AmerisourceBergen supplied pharmacies in Cabell County with
                          quantities of opioids that were inconsistent with Public Health.

         AmerisourceBergen shipped large quantities of opioids to Cabell County and

 the City of Huntington that were inconsistent with public health at a time when

 information linking excessive supply of opioids to negative public health




 77
   As a check on the benchmark of 2.2 dosage units per adult oxycodone or hydrocodone user per day, I
 divided the total average dosage units of oxycodone and hydrocodone during the period 2006-2014 (from
 the McCann report) by the estimated number of past-month users of prescription opioids during that
 period (from Frenk et al., 2015). The average annual total distribution of oxycodone and hydrocodone in
 the U.S. during the period 2006-2014 was 12.67 billion dosage units. With an estimated average adult
 population of 235 million (U.S. Census, 2010) and an estimated 6.9% being past-month opioid users
 (16.2 million), the average number of dosage units of oxycodone and hydrocodone per adult prescription
 opioid user per day during this time period comes to 2.14. Thus, a benchmark of 2.2 dosage units per
 adult prescription opioid user per day appears to accurately reflect the average distribution over the U.S.
 during this time period.


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 consequences was available. 78 Here, and throughout, I refer to excessive supply of

 opioids in a manner inconsistent with public health as “oversupply.” For example,

 AmerisourceBergen oversupplied opioids to Fruth Pharmacy #5 in Milton, West

 Virginia, a town with a population of just 2,423 people and 1,926 adults (2010

 Census). Between 2005 and 2009, AmerisourceBergen supplied Fruth Pharmacy

 #5 with 2.7 million dosage units of oxycodone and hydrocodone (Table 1). This is

 enough to provide every adult in Milton with 0.78 dosage units of opioids every

 day of the year, which is more than 5 times higher than the benchmark of 0.15.

 This translates into 11.3 dosage units per prescription opioid taking adult per day,

 far exceeding the benchmark of 1.9 and representing a level of opioid distribution

 that is inconsistent with public health. There is no way that every prescription

 opioid taking adult in Milton could be taking 11 pills per day in a way that is

 consistent with public health.




 78
    My conclusions regarding the quantity of opioids supplied to pharmacies in West Virginia are based on
 ARCOS data. While I have chosen to highlight eight specific pharmacies in this discussion, I have
 reviewed the data related to all pharmacies supplied by AmerisourceBergen, Cardinal Health and
 McKesson in Cabell County, West Virginia. In addition to publicly available ARCOS data, plaintiff’s
 attorneys made available ARCOS data that were summarized in the expert report of Dr. Craig McCann
 (Expert Report of Craig J. McCann, PhD, CFA. In Re National Prescription Opiate Litigation: Cabell
 County and Huntington City WV Case. United States District Court for the Northern District of West
 Virginia Eastern Division, August 2020).

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 Table 1. AmerisourceBergen Shipments to Fruth Pharmacy #5 in Milton, West Virginia (dosage units)
  Year     Oxycodone      Hydrocodone         Total     Average       Times      Average dosage
                                                         dosage       higher         units per
                                                       units per       than          estimated
                                                          adult     benchma           number
                                                        per day*        rk         prescription
                                                                                  opioid taking
                                                                                adults, per day**
  2005       88,100          396,700         484,800      0.69          5.2             10.0
  2006      112,500          385,400         497,900      0.71          4.7             10.3
  2007      123,800          440,300         564,100      0.80          5.3             11.6
  2008      158,600          437,800         596,400      0.85          5.7             12.3
  2009      158,300          426,960         585,260      0.83          5.5             12.1
  2005-     641,300         2,087,160       2,728,460     0.78          5.2             11.3
  2009
 *
  Dosage units per all adults in the population.
 **
  Assumes 6.9% of adults in Milton were taking prescribed opioid medication, which is the percentage of
 adults nationally who, in 2006-2012, reported using a prescription opioid in the last 30 days, as
 documented by CDC data. Opioid distribution data from ARCOS and Defendant Transactional data.

         In one month alone (June 2006), AmerisourceBergen supplied Fruth

 Pharmacy #5 with 101,000 dosage units of oxycodone and hydrocodone, which is

 a whopping 25.0 dosage units per prescription opioid taking adult per day (Table

 2). Stated another way, in June 2006, Amerisource Bergen supplied Fruth

 Pharmacy #5 with enough oxycodone and hydrocodone so that every prescription

 opioid taking adult in Milton could take 25 opioid pills per day. This is more than

 11 times higher than the benchmark. While the volumes of oxycodone and

 hydrocodone were lower the following June, the amount was still enough to supply

 every prescription opioid taking adult in Milton with 11 dosage units per day.




                                                      40
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 Table 2. AmerisourceBergen Shipments to Fruth Pharmacy #5 in Milton, West Virginia (dosage
 units)
  Month/Year Oxycodone         Dosage units Times            Dosage units per
                and            per adult       higher than estimated number
                Hydrocodone per day*           benchmark prescription opioid
                Total                          (dosage       taking adults per
                                               units per     day**
                                               adult per
                                               day)

     June 2006        101,000       1.72             11.5            25.0
     June 2007         44,600       0.76             5.1             11.0
 *
  Dosage units per all adults in the population.
 **
   Assumes 6.9% of adults in Milton were taking prescription opioid medication, which is the average
 number of adults who took a prescription opioid in the last 30 days, as documented by CDC data. Opioid
 distribution data from ARCOS and Defendant Transactional data.

          In 2008, AmerisourceBergen oversupplied The Medicine Chest in Lesage,

 West Virginia, a town with a population of just 1,358 people and 1,073 adults

 (2010 Census), with prescription opioids. AmerisourceBergen oversupplied The

 Medicine Chest continuously throughout the period 2006-2008 with an amount of

 oxycodone and hydrocodone which steadily increased from the equivalent of 3.3 to

 4.5 dosage units per prescription opioid taking adult per day (Table 3).




                                                   41
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 Table 3. AmerisourceBergen Shipments to The Medicine Chest in Lesage, West Virginia
 (dosage units)
     Year    Oxycodone     Hydrocodone Total               Dosage     Times           Dosage units
                                                           units      higher          per
                                                           per        than            estimated
                                                           adult      benchmark       number of
                                                           per                        prescription
                                                           day*                       opioid
                                                                                      taking
                                                                                      adults per
                                                                                      day**
     2006     17,800         71,300            89,100      0.23       1.5             3.3
     2007     22,000         83,800           105,800      0.27       1.8             3.9
     2008     20,500         99,800           120,300      0.31       2.1             4.5
 *
  Dosage units per all adults in the population.
 **
   Assumes 6.9% of adults in Lesage were taking prescription opioid medication, which is the average
 number of adults who took a prescription opioid in the last 30 days, as documented by CDC data. Opioid
 distribution data from ARCOS and Defendant Transactional data.

            Beyond consideration of individual pharmacies, the total amount of

 oxycodone and hydrocodone being distributed by AmerisourceBergen into Cabell

 County was also inconsistent with public health. For example, in 2009, the

 monthly distribution of oxycodone by AmerisourceBergen in Cabell County was

 as high as 182,660 dosage units (August), and the monthly distribution of

 hydrocodone was as high as 349,200 dosage units (December) (Table 4). The

 combined oxycodone and hydrocodone distribution was as high as 529,360 dosage

 units in December 2009. With an adult population of 77,344 (2010 Census), this

 translates into 0.23 dosage units per adult per day, or 3.3 dosage units per

 prescription opioid taking adult per day. This volume of opioid supply alone is

 inconsistent with public health.



                                                   42
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        Moreover, AmerisourceBergen was not the only supplier of oxycodone and

 hydrocodone into Cabell County. That other distributors were also supplying

 opioids into Cabell County during this time was information available to

 AmerisourceBergen.

 Table 4. Approximate AmerisourceBergen Shipments to Cabell County, West Virginia (dosage
 units)
   Year     Oxycodone Hydrocodone         Total    Dosage       Times     Dosage units
                                                    units    higher than        per
                                                     per     benchmark      estimated
                                                    adult                   number of
                                                     per                  prescription
                                                    day*                      opioid
                                                                              taking
                                                                            adults per
                                                                               day**
August       182,660       311,500       494,160 0.21        1.4          3.0
2009
December     180,160       349,200       529,360 0.23        1.5          3.3
2009
 *
  Dosage units per all adults in the population.
 **
  Assumes 6.9% of adults in Cabell County were taking prescription opioid medication, which is the
 average number of adults who took a prescription opioid in the last 30 days, as documented by CDC data.
 Opioid distribution data from ARCOS and Defendant Transactional data.

        Overall, the volume of opioids supplied by AmerisourceBergen to Cabell

 County and the City of Huntington during the entire period 2006-2014 was the

 equivalent of 5-7 dosage units per prescription opioid taking adult per day, after

 accounting for the company’s share of the oxycodone and hydrocodone market

 (Table 5).




                                                   43
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Table 5. AmerisourceBergen Shipments to Cabell County and Huntington, West Virginia
 Year     Dosage units   Population Adults Doses/          Doses per     Company                   Adjusted
           (oxycodone                           adult/     estimated       market                     dose/
               and                               day*
                                                           number of      share in                 estimated
          hydrocodone)                                    prescription     Cabell                 number of
                                                         opioid taking     County                prescription
                                                           adults per                                opioid
                                                             day**                                   taking
                                                                                                     adults/
                                                                                                       day
 2006    4,735,720            98,955        79,461   0.16      2.3                 0.43          5.3
 2007    5,201,780            99,054        79,540   0.18      2.6                 0.41          6.3
 2008    5,317,210            99,190        79,650   0.18      2.6                 0.39          6.7
 2009    5,892,900            99,991        80,293   0.20      2.9                 0.43          6.7
 2010    3,748,660           100,270        80,517   0.13      1.9                 0.30          6.3
 2011    3,785,260           100,380        80,605   0.13      1.9                 0.30          6.3
 2012    3,016,080           100,658        80,828   0.10      1.5                 0.26          5.8
 2013    2,584,790           100,717        80,876   0.09      1.4                 0.24          5.8
 2014    3,081,200           100,299        80,540   0.10      1.5                 0.27          5.6
   *
    Dosage units per all adults in the population.
   **
    Assumes 6.9% of adults in Cabell County were taking prescription opioid medication, which is the
   average number of adults who took a prescription opioid in the last 30 days, as documented by CDC data.
   Opioid distribution data from ARCOS and Defendant Transactional data.

          Market share data was available to opioid distributors. This data was

   sufficient to inform an understanding of their individual market share in the area in

   order to ensure their own sales volume and opioid supply was consistent with

   public health. There were databases available from which that information could

   have been obtained. For example, Walker et al. explain that: “The IQVIA

   Longitudinal Prescription (“LRx”) database as used for this study had information

   on 234 million patients and in 2013 covered 86% of all retail dispensing in the US.

   LRx data are assembled and continuously updated to facilitate one of IQVIA’s

   business lines as a clearinghouse for drugs payment information. LRx includes

   prescription fill data from pharmacy chains, food stores, mass merchandisers,

                                                     44
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 independent stores and long-term care facilities across the US. From each of the

 outlets, the database captured all fills, both in person and through the mail, both

 paid by insurance and paid entirely by the consumer.” 79 Similarly, McDonald and

 Carlson used data from IMS Health in 2008 to obtain data on opioid prescriptions

 at the pharmacy level within U.S. counties. 80

           In fact, AmerisourceBergen did contract with IMS Health to access

 prescription data from a wide variety of databases, including those which provide

 localized market share data on controlled substances sales, indicating its own

 market share for hydrocodone and oxycodone in various geographic areas was

 available information. 81 It appears that AmerisourceBergen maintained this data

 agreement between 2012 and 2019, which allowed it to have access to prescription

 sales data for other companies. 82 The contract with IMS Health dates back to at

 least January 1, 2003. 83




 79
   Walker AM, Weatherby LB, Cepeda MS, Bradford DC. Information on doctor and pharmacy shopping
 for opioids adds little to the identification of presumptive opioid abuse disorders in health insurance
 claims data. Substance Abuse and Rehabilitation 2019; 10:47-55.
 80
   McDonald DC, Carlson KE. The ecology of prescription opioid abuse in the USA: geographic variation
 in patients’ use of multiple prescribers (“doctor shopping”). Pharmacoepidemiology and Drug Safety
 2014; 23(12):1258-1267.
 81
   IMS Health. Fourth amendment to data agreements and fourth amendment of information services
 agreement. Pl.6527. ABDCMDL00375381.
 82
      IMS Health. Second amendment to information services agreement. Pl.6528. ABDCMDL00375395.
 83
      IMS Health. Information Services Agreement, January 1, 2003. Pl.6529. ABDCMDL00375401.

                                                   45
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                  2.      AmerisourceBergen oversupplied a pharmacy in a nearby
                           county in West Virginia with opioid drugs.

           In 2010, Oceana, West Virginia—located in Wyoming County—had a

 population of 1,394 and an adult population of 1,101. In 2011, AmerisourceBergen

 began to supply opioids to Westside Pharmacy in Oceana. The records from this

 pharmacy for the prior year show that Westside Pharmacy received 663,200

 dosage units of oxycodone and 439,100 dosage units of hydrocodone, or a total of

 1,102,300 dosage units of the two drugs combined. 84 This supply of opioids

 equates to 2.74 doses per adult per day, which is 18 times higher than the

 benchmark of 0.15. It is the equivalent of nearly 40 doses of hydrocodone and

 oxycodone per prescription opioid taking adult per day, based on an estimate of a

 6.9% prescription opioid taking adults in the town (Table 6). Opioid supply at this

 level indicates a number of opioids being shipped to, and presumably dispensed

 by, that pharmacy that is inconsistent with public health.




 84
      Opioid Shipments to Pharmacies in Wyoming County, WV, 2006-2014. Pl.6384.

                                                  46
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 Table 6. Total Shipments to Westside Pharmacy in Oceana, West Virginia in 2010 (dosage
 units)
  Year Oxycodone Hydrocodone               Total    Dosage      Times        Dosage units
                                                     units   higher than          per
                                                      per    benchmark        estimated
                                                     adult                    number of
                                                      per                    prescription
                                                     day*                       opioid
                                                                                taking
                                                                              adults per
                                                                                 day**
  2010     663,200        439,110       1,102,300 2.74       18.3            39.8
 *
  Dosage units per all adults in the population.
 **
   Assumes 6.9% of adults in Oceana were taking prescription opioid medication, which is the average
 number of adults who took a prescription opioid in the last 30 days, as documented by CDC data. Opioid
 distribution data from ARCOS and Defendant Transactional data.

           As part of application process for Westside Pharmacy in 2011, information

 was available to AmerisourceBergen that a number of “pain doctors” were

 ordering prescriptions at Westside Pharmacy. 85 One of these doctors was located

 one hour away in Daniels, WV (Dr. Michael Kostenko); another was located one

 hour away in Beckley, WV (Dr. John Pellegrini); a third was located one hour 40

 minutes away in Charleston, WV (Dr. Iraj Derakhshan); a fourth was located two

 hours away in Pembroke, VA (Dr. David Morgan); and a fifth had an address in

 Washington, DC, which is five and a half hours away from Oceana (Dr. Alen

 Salerian). Only one of the physicians on the list was located in Oceana. From a

 public health perspective, observing that pharmacies are filling opioid prescriptions




 85
      AmerisourceBergen. Westside Pharmacy Pain Doctors. Pl.6281 ABDCMDL00003803

                                                   47
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 from physicians located hours away is an indication of drug misuse. 86 In fact, all

 five of these doctors were subsequently investigated for, indicted for, or convicted

 of criminal charges regarding their opioid prescribing. 87 Supplying opioids to fill

 prescriptions from geographically remote pain doctors is inconsistent with public

 health.

        Despite the available information regarding the public health implications of

 Westside Pharmacy’s opioid supply, AmerisourceBergen nevertheless began to

 supply opioids to Westside Pharmacy, with large volumes of opioid medication

 being supplied in 2011 and 2012 (Table 7).


 Table 7. AmerisourceBergen Shipments to Westside Pharmacy in Oceana, West Virginia
 (dosage units)
  Year Oxycodone Hydrocodone Total               Dosage Times           Dosage units
                                                 units     higher than per estimated
                                                 per       benchmark number of
                                                 adult                  prescription
                                                 per day *
                                                                        opioid taking
                                                                        adults per
                                                                        day**
  2011     207,100       94,000       301,100 0.75         5.0          10.9
  2012     261,600       63,600       325,200 0.81         5.4          11.7

 86
   House Energy and Commerce Committee. Red Flags and Warning Signs Ignored: Opioid Distribution
 and Enforcement Concerns in West Virginia. Washington, DC: U.S. House of Representatives, Energy
 and Commerce Committee, December 19, 2018.

 87
   OxyContin: Its Use and Abuse. Hearing before the Subcommittee on Oversight and Investigations of
 the House Committee on Energy and Commerce, August 28, 2001, p. 160. Also: (Salerian), Beckley Area
 Physician Sentenced to 20 Years in Federal Prison for Oxycodone Crime, Pl.6143 and WV Allows
 Painkiller Addicts to Sue Prescribing Doctors, Pl.6159 (Kostenko), Former Giles County Doctor, Stripped
 of License, Faces Federal Criminal Probe, Pl.6145 and Before The Board of Medicine David Lee
 Morgan, Pl.6147 (Morgan), Hope Clinic Doctor Pellegrini Pleads Guilty in Drug Case, Pl.6146
 (Pellegrini), and Charleston Doctor Pleads Guilty to Federal Crime Involving Dispensing
 Fentanyl,Pl.6144 (Devakhshan).


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 *
  Dosage units per all adults in the population.
 **
   Assumes 6.9% of adults in Oceana were taking prescription opioid medication, which is the average
 number of adults who took a prescription opioid in the last 30 days, as documented by CDC data. Opioid
 distribution data from ARCOS and Defendant Transactional data.

        In 2011, AmerisourceBergen supplied Westside Pharmacy with 0.75 dosage

 units per adult per day, which is 5 times higher than the benchmark and enough to

 supply every prescription opioid taking adult in Oceana with 11 doses per day

 (Table 7). In 2012, AmerisourceBergen supplied Westside Pharmacy with 0.81

 dosage units per adult per day, which equates to nearly 12 dosage units per

 prescription opioid taking adult per day. These numbers are even more

 troublesome from a public health perspective because Westside Pharmacy was

 only one of three pharmacies in Oceana and because AmerisourceBergen was only

 one of several companies supplying opioid drugs to Westside Pharmacy.

        Although AmerisourceBergen ceased distributing to Westside Pharmacy in

 2012, it approved the same pharmacy with the same pharmacist as a new customer

 again in 2016, despite the fact that in its application, the pharmacy listed three of

 its top five prescribing physicians who were located more than one hour away (Dr.

 David Morgan in Pembroke, VA: two hours away, Dr. Michael Kostenko in

 Daniels, WV: one hour away; and Dr. Sanjay Mehta in Beckley: one hour away). 88

 As noted above, from a public health perspective, observing that pharmacies are



 88
  AmerisourceBergen. Customer due diligence materials: Westside Pharmacy. Pl.6164.
 ABDCMDL00004150.

                                                   49
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 filling opioid prescriptions from physicians located hours away is an indication that

 drug misuse is occurring. 89 Moreover, one of these physicians (the top prescribing

 physician) was Dr. David Morgan, was discussed as being a potential concern in

 AmerisourceBergen’s commissioned compliance report of February 15, 2015,

 which stated that “Dr. David Morgan, DO wrote for 1,852 oxycodone prescriptions

 and 212 Oxycontin prescriptions in 2012” and that “Dr. Morgan currently has a

 case pending with the Virginia Board of Medicine.” 90 In 2014, the Virginia Board

 of Medicine had specifically alleged that Dr. Morgan violated state controlled

 substances regulations by inappropriately prescribing opioid medications to

 multiple patients and issued him a reprimand. 91

          At the time Westside Pharmacy’s submitted its reapplication to

 AmerisourceBergen for opioid supply in 2015, information was available showing

 that this pharmacy—located in a town of population of only 1,100 adults—was

 dispensing or requesting to dispense 35,000 dosage units of oxycodone and 22,000

 dosage units of hydrocodone per month (Table 8). 92 This is the equivalent of 1.4


 89
   House Energy and Commerce Committee. Red Flags and Warning Signs Ignored: Opioid Distribution
 and Enforcement Concerns in West Virginia. Washington, DC: U.S. House of Representatives, Energy
 and Commerce Committee, December 19, 2018.
 90
   Sullivan, EM. Observations and Recommendations Report: Beckley Pharmacy. Milford, MA: The
 Pharma Compliance Group, February 15, 2015. Pl.6162. ABDCMDL00003780.
 91
      Pl.6164. ABDCMDL00004150
 92
  AmerisourceBergen. Customer due diligence materials: Westside Pharmacy, December 2015. Pl. 6457.
 EC_ABDC_00000371.

                                                50
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 doses per adult per day, which amounts to more than 20 dosage units per

 prescription opioid taking adult per day. Supplying that volume of opioids is

 inconsistent with public health.

 Table 8. Reported Monthly Usage of Oxycodone and Hydrocodone by Westside Pharmacy in
 Oceana, West Virginia in its December, 2015 re-application to become a customer of
 Amerisource Bergen (dosage units)
  Oxycodone Hydrocodone Total              Dosage      Times          Dosage units per
                                           units per higher than estimated
                                           adult per benchmark number of
                                           day*                       prescription
                                                                      opioid taking
                                                                      adults per day**
   35,000         22,000          47,000 1.4           9.3            20.3
 *
  Dosage units per all adults in the population.
 **
   Assumes 6.9% of adults in Oceana were taking prescription opioid medication, which is the average
 number of adults who took a prescription opioid in the last 30 days, as documented by CDC data. Opioid
 distribution data from ARCOS and Defendant Transactional data.

        AmerisourceBergen approved the Westside Pharmacy application and, in

 2016, shipped               dosage units of oxycodone and hydrocodone, enough to

 supply every prescription opioid taking adult in the town with 12 dosages per day

 (Table 9). In 2017, AmerisourceBergen was still distributing the equivalent of

 nearly 5 doses per prescription opioid taking adult per day into this small town.




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 Table 9. AmerisourceBergen Shipments to Westside Pharmacy in Oceana, West Virginia
 (dosage units)
  Year Oxycodone Hydrocodone Total               Dosage Times           Dosage units
                                                 units     higher than per estimated
                                                 per       benchmark number of
                                                 adult                  prescription
                                                 per day*               opioid taking
                                                                        adults per
                                                                        day**
  2016                                           0.85      5.7          12.3
  2017                                           0.32      2.1          4.7
 *
  Dosage units per all adults in the population.
 **
   Assumes 6.9% of adults in Oceana were taking prescription opioid medication, which is the average
 number of adults who took a prescription opioid in the last 30 days, as documented by CDC data. Opioid
 distribution data from ARCOS and Defendant Transactional data.

        C.      Cardinal Health

                1.      Cardinal Health supplied pharmacies in Cabell County with
                        quantities of opioids that were inconsistent with Public Health.

        Cardinal Health shipped large quantities of opioids to Cabell County and the

 City of Huntington that were inconsistent with public health at a time when

 information that linking excessive supply of opioids to negative public health

 consequences was available. In particular, Cardinal Health oversupplied Fruth

 Pharmacy #5 in Milton, West Virginia, a town with a population of just 2,423

 people and 1,926 adults (2010 Census). Between 2010 and 2017, Cardinal Health

 supplied Fruth Pharmacy #5 with                                         of oxycodone and

 hydrocodone (Table 10).




                                                   52
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 Table 10. Cardinal Health Shipments to Fruth Pharmacy #5 in Milton, West Virginia (dosage
 units)
  Year     Oxycodone Hydrocodone Total               Dosage Times            Dosage units
                                                     units     higher than per
                                                     per       benchmark estimated
                                                     adult                   number of
                                                     per                     prescription
                                                     day *
                                                                             opioid
                                                                             taking
                                                                             adults per
                                                                             day**
  2010         100,660         362,920      463,580 0.66       4.4           9.6
  2011          84,300         336,450      420,750 0.60       4.0           8.7
  2012          91,600         280,400      372,000 0.53       3.5           7.7
  2013          98,000         265,600      363,600 0.52       3.5           7.5
  2014         112,000         223,100      335,100 0.48       3.2           6.9




 *
  Dosage units per all adults in the population.
 **
   Assumes 6.9% of adults in Milton were taking prescription opioid medication, which is the average
 number of adults who took a prescription opioid in the last 30 days, as documented by CDC data. Opioid
 distribution data from ARCOS and Defendant Transactional data.

        During the period 2010-2017, Cardinal Health supplied Fruth Pharmacy #5

 with enough oxycodone and hydrocodone to supply every prescription opioid

 taking adult with an estimated average of                               per day throughout this

 entire period (Table 10). On average during this period, the volume of opioids

 supplied to this pharmacy was more than 3 times higher than the benchmark of

 0.15 dosage units per adult per day.

        Also, in 2017, Cardinal Health oversupplied CVS Pharmacy #10566 in

 Milton, West Virginia, a town with a population of just 2,423 people and 1,926

 adults (2010 Census). During that year, Cardinal Health supplied CVS Pharmacy

                                                   53
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                                            of oxycodone and hydrocodone, which is the

 equivalent of                        per prescription opioid taking adult per day (Table

 11). Cardinal Health had already oversupplied this same pharmacy with a similar

 amount of oxycodone and hydrocodone in 2016.

 Table 11. Cardinal Health Shipments to CVS Pharmacy #10566 in Milton, West Virginia
 (dosage units)
  Year Oxycodone Hydrocodone Total               Dosage Times           Dosage units
                                                 units    higher than per estimated
                                                 per      benchmark number of
                                                 adult                  prescription
                                                 per                    opioid taking
                                                 day *
                                                                        adults per
                                                                        day**


 *
  Dosage units per all adults in the population.
 **
   Assumes 6.9% of adults in Milton were taking prescription opioid medication, which is the average
 number of adults who took a prescription opioid in the last 30 days, as documented by CDC data. Opioid
 distribution data from ARCOS and Defendant Transactional data.

        Overall, the volume of opioids being supplied by Cardinal Health to Cabell

 County and City of Huntington during the entire period 2006-2014 amounted to

 between 5.2 and 7.6 dosage units per prescription opioid taking adult per day, after

 accounting for the company’s share of the oxycodone and hydrocodone market

 (Table 12).




                                                   54
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Table 12. Cardinal Health Shipments to Cabell County and Huntington, West Virginia
 Year Dosage units        Population Adults Doses/ Doses per              Company                  Adjusted
         (oxycodone                              adult/ estimated         market                   doses per
         and                                     day *
                                                          number of       share in                 prescription
         hydrocodone)                                     prescription    Cabell                   opioid
                                                          opioid taking County                     taking adult
                                                          adults per                               per day*
                                                          day**
 2006 1,119,900            98,955      79,461 0.04        0.6             0.10                     6.0
 2007 1,058,640            99,054      79,540 0.04        0.6             0.08                     7.5
 2008 1,219,320            99,190      79,650 0.04        0.6             0.08                     7.6
 2009 1,283,680            99,991      80,293 0.04        0.6             0.09                     6.7
 2010 3,202,130           100,270      80,517 0.11        1.6             0.25                     6.4
 2011 2,800,840           100,380      80,605 0.10        1.5             0.22                     6.8
 2012 2,821,370           100,658      80,828 0.10        1.5             0.24                     6.2
 2013 2,636,450           100,717      80,876 0.09        1.3             0.25                     5.2
 2014 2,664,490           100,299      80,540 0.09        1.3             0.23                     5.7
  *
   Dosage units per all adults in the population.
  **
   Assumes 6.9% of adults in Cabell County were taking prescription opioid medication, which is the
  average number of adults who took a prescription opioid in the last 30 days, as documented by CDC data.
  Opioid distribution data from ARCOS and Defendant Transactional data.

                 2.      Cardinal Health oversupplied pharmacies in nearby counties in
                         West Virginia with opioid drugs.

         Between 2006 and 2014, Cardinal Health distributed 3,973,530 dosage units

  of hydrocodone and oxycodone to the Hurley Drug Company pharmacy in

  Williamson, West Virginia, 93 which had an adult population in the 2010 Census of

  2,731 (Table 13). This means that during this nine-year period, Cardinal supplied

  the equivalent of 0.44 dosage units of opioids per day to every adult in the town.

  This is the equivalent of 6.4 dosage units per prescription opioid taking adult per



  93
    House Energy and Commerce Committee. Red Flags and Warning Signs Ignored: Opioid Distribution
  and Enforcement Concerns in West Virginia. Washington, DC: U.S. House of Representatives, Energy
  and Commerce Committee, December 19, 2018.

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 day, without even taking into consideration the distribution of opioid drugs by any

 other company. This volume of distribution is inconsistent with public health in the

 areas, especially since there was another pharmacy four blocks away in the same

 town. 94

 Table 13. Cardinal Health Shipments to Hurley Drug Company in Williamson, West Virginia
 (dosage units)
  Year          Oxycodone      Dosage       Times       Dosage units per
                and            units per higher than estimated number
                Hydrocodone adult per benchmark of prescription
                               day*                     opioid taking
                                                        adults per day**
  2006-2014       3,973,530    0.44         2.9         6.4
 *
  Dosage units per all adults in the population.
 **
   Assumes 6.9% of adults in Williamson were taking prescription opioid medication, which is the average
 number of adults who took a prescription opioid in the last 30 days, as documented by CDC data. Opioid
 distribution data from ARCOS and Defendant Transactional data.

            In 2006 alone, Cardinal Health distributed 807,000 dosage units of opioids

 to the Hurley Drug Company pharmacy, 95 which is the equivalent of 0.80 doses per

 day per adult and amounts to an estimated 11.6 doses per day per prescription

 opioid taking adult, more than 5 times higher than the benchmark (Table 14).

 Cardinal was still distributing nearly half a million dosage units to the pharmacy in

 2013,96 the equivalent of 0.5 doses per day per adult and the equivalent of 7 doses

 per prescription opioid taking adult per day (Table 14).




 94
      Id.
 95
      Id.
 96
      Id.

                                                   56
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 Table 14. Cardinal Health Shipments to Hurley Drug Company in Williamson, West Virginia
 (dosage units)
  Year Oxycodone          Dosage units Times          Dosage units per
          and             per adult      higher than estimated number
          Hydrocodone per day*           benchmark of prescription
                                                      opioid taking
                                                      adults per day**
  2006        807,000     0.80           5.3          11.6
  2013        483,840     0.49           3.3          7.0
 *
  Dosage units per all adults in the population.
 **
   Assumes 6.9% of adults in Williamson were taking prescription opioid medication, which is the average
 number of adults who took a prescription opioid in the last 30 days, as documented by CDC data. Opioid
 distribution data from ARCOS and Defendant Transactional data.

            Between 2006 and 2012, Cardinal Health distributed 6,829,680 dosage units

 of hydrocodone and oxycodone to Family Discount Pharmacy in Mount Gay-

 Shamrock, West Virginia. 97 This small, West Virginia town had an adult

 population in the 2010 Census of 1,313 (Table 15). This means that during this

 seven-year period, Cardinal supplied the equivalent of 2.04 dosage units of opioids

 per day to every adult in the town, which is equivalent to 29.5 dosage units per

 prescription opioid taking adult per day. This volume of supply, which is more

 than 13 times higher than the benchmark, was inconsistent with public health.




 97
      Id.

                                                   57
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 Table 15. Cardinal Health Shipments to Family Discount Pharmacy in Mount Gay-Shamrock,
 West Virginia (dosage units)
  Year          Oxycodone      Dosage      Times          Dosage units per estimated
                and            units per higher than number of prescription
                Hydrocodone adult per benchmark opioid taking adults per
                               day*                       day**
  2006-2012       6,829,680    2.04        13.6           29.5
 *
  Dosage units per all adults in the population.
 **
   Assumes 6.9% of adults in Mount Gay-Shamrock were taking prescription opioid medication, which is
 the average number of adults who took a prescription opioid in the last 30 days, as documented by CDC
 data. Opioid distribution data from ARCOS and Defendant Transactional data.

            Although the number of dosage units of hydrocodone and oxycodone sold to

 Family Discount Pharmacy in 2009 was 1.5 million, the equivalent of a startling

 45.4 doses per prescription opioid taking adult per day, Cardinal’s shipments

 continued, as it supplied 1.1 million dosage units in 2012, 98 a level more than 15

 times higher than the benchmark and the equivalent of an estimated 33.3 doses per

 day per prescription opioid taking adult (Table 16).

 Table 16. Cardinal Health Shipments to Family Discount Pharmacy in Mount Gay-Shamrock,
 West Virginia (dosage units)
  Year Oxycodone and Dosage                Times         Dosage units per
          Hydrocodone         units per    higher than estimated number of
                              adult per    benchmark prescription opioid
                              day*                       taking adults per day**
  2009       1,500,000        3.13         20.9          45.4
  2012       1,100,000        2.30         15.3          33.3
 *
  Dosage units per all adults in the population.
 **
   Assumes 6.9% of adults in Mount Gay-Shamrock were taking prescription opioid medication, which is
 the average number of adults who took a prescription opioid in the last 30 days, as documented by CDC
 data. Opioid distribution data from ARCOS and Defendant Transactional data.



            Cardinal Health’s supply of 1.1 million dosage units of oxycodone and

 hydrocodone to Family Discount Pharmacy also exceeds the annual oxycodone


 98
      Id.

                                                   58
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 threshold Cardinal set for a much larger pharmacy that it supplied during this same

 time frame (CVS 219 in Sanford, Florida, a town with more than 54,000 residents),

 which was                                , a level that was set on November 10, 2011. 99

 Cardinal Health testified that CVS 219 in Sanford is “much larger than most retail

 independent pharmacies… .” 100 Distribution of 1.1 million dosage units of

 oxycodone and hydrocodone to Family Discount Pharmacy, a town of population

 1,800 in 2012, a level exceeding a threshold set for a much larger pharmacy and

 town is inconsistent with public health.

            Cardinal Health also set high thresholds for Family Discount Pharmacy and

 increased those thresholds multiple times in a short period of time without

 documentation of valid reason for these increases, at volumes that were

 inconsistent with public health. 101 For example, while the hydrocodone monthly

 threshold at the start of 2008 was 27,000, by June, 2012, the threshold had

 increased to 154,500. 102 This would have translated into nearly 1.9 million dosage

 units of hydrocodone per year, a level that translates into an astronomical 56

 hydrocodone pills per prescription opioid taking adult per day. A threshold this


 99
   Declaration of Michael A. Moné, Vice President for Supply Chain Integrity, Cardinal Health, in
 Cardinal Health, Inc. v. Eric Holder, Jr., et al., United States District Court for the District of Columbia,
 February 3, 2012, p. 25. Pl.4213. CAH_MDL_PRIORPROD_DEA12_00014053.
 100
       Id., p. 28.
 101
       Id., p. 211-213.
 102
       Id., p. 212.

                                                       59
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 high would allow for significant oversupply to occur. There is also evidence that

 Cardinal Health increased the hydrocodone threshold for Family Discount

 Pharmacy on 11 separate occasions within one year, culminating in what amounted

 to more than a 3-fold increase in less than one year. 103

            The CEO of Cardinal Health admitted under oath that the order volumes it

 was distributing to both Hurley Drug Company and Family Discount Pharmacy

 were inappropriate and should have been stopped: “And the answer is yes, I think

 we would do things very differently today. That kind of order volume would have

 been picked up and stopped just statistically by our algorithms.” 104

            D.        McKesson

                      1.   McKesson supplied pharmacies in Cabell County with
                           quantities of opioids that were inconsistent with Public Health.

            McKesson shipped large quantities of opioids to Cabell County and City of

 Huntington that were inconsistent with public health at a time when information

 that linked excessive supply of opioids to negative public health consequences was

 available.

            McKesson’s oversupply is most notable in its distribution of opioids into

 various Rite Aid stores in Cabell County. Rite Aid also distributed opioids to its


 103
       Id., p. 212.
 104
    Statement of George Barrett, former CEO, Cardinal Health, before the Subcommittee on Oversight and
 Investigations, Committee on Energy and Commerce, U.S. House of Representatives, May 8, 2018.
 Combating the Opioid Epidemic: Examining Concerns about Distribution and Diversion, p.59. Pl.6480.

                                                  60
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 own stores, and McKesson did not question Rite Aid about the amount of opioids it

 was distributing to its own stores. 105 The addition of Rite Aid’s own supply to

 these same stores made McKesson’s oversupply more significant.

           For example, McKesson shipped an oversupply of opioids to Rite Aid

 Pharmacy #3311 in Milton, West Virginia, a town with a population of just 2,423

 people and 1,926 adults (2010 Census). In particular, in 2008, McKesson supplied

 Rite Aid Pharmacy #3311 with 56,800 dosage units of oxycodone and 18,240

 dosage units of hydrocodone (Table 17), which by itself would have been the

 equivalent of 1.5 dosage units per prescription opioid taking adult per day.

 Information regarding Rite Aid’s self-distribution would have revealed that Rite

 Aid was also distributing an additional 167,600 dosage units of hydrocodone to the

 pharmacy that year, meaning that the total opioid distribution was actually

 242,640, which is 0.35 dosage units per adult in the town and the equivalent of 5.0

 dosage units per prescription opioid taking adult per day. This large supply of

 opioids is inconsistent with public health.




 105
       Deposition of Michael Oriente. September 6, 2019 at 267-269.

                                                     61
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 Table 17. McKesson Shipments to Rite Aid Pharmacy #3311 in Milton, West Virginia (dosage units)
 plus Rite Aid shipments of hydrocodone
   Year      Oxycodone Hydrocodone                Total      Dosage         Times          Dosage units
                             (McKesson on                    units per      higher than per
                             top; Rite Aid in                adult per      benchmark estimated
                             middle row;                     day*                          number of
                             total on                                                      prescription
                             bottom)                                                       opioid
                                                                                           taking
                                                                                           adults per
                                                                                           day**
   2006      41,100          8,900
                             124,700
                             133,600              174,700    0.24           1.6            3.6
   2007      53,000          5,400
                             159,600
                             165,000              218,000    0.31           2.1            4.5
   2008      56,800          18,240
                             167,600
                             185,840              242,640    0.35           2.3            5.0
   2009      56,000          20,400
                             145,500
                             165,900              221,900    0.32           2.1            4.6
   2010      45,100          15,700
                             144,700
                             160,400              205,500    0.29           1.9            4.2
   2011      46,400          27,160
                             135,630
                             162,790              209,190    0.30           2.0            4.3
   2012      34,000            30,530
                             122,530
                             153,060              187,060    0.27           1.8            3.9
   2013      32,200          18,360
                             131,500
                             149,860              182,060    0.26           1.7            3.8
   2014      40,400          51,260
                             86,930
                             138,190              178,590    0.25           1.7            3.7
 *
   Dosage units per all adults in the population.
 **
    Assumes 6.9% of adults in Milton were taking prescription opioid medication, which is the average
 number of adults who took a prescription opioid in the last 30 days, as documented by CDC data. Opioid
 distribution data from ARCOS and Defendant Transactional data.

        During the entire period from 2006 through 2014, McKesson contributed to

 the supplying of Rite Aid Pharmacy #3311 at a level equivalent to between 3.6 and


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 5.0 dosage units per prescription opioid taking adult for every day during that ten-

 year period (Table 17). During this entire period, the oversupply was exacerbated

 by Rite Aid’s own distribution of hydrocodone to this pharmacy.

       Precisely the same problem occurred with McKesson’s dealings with Rite

 Aid Pharmacy #968 in Barboursville, a town with an adult population of 3,298

 (2010 Census). The combined distribution of hydrocodone from McKesson and

 Rite Aid itself resulted in an excessive supply of opioids into Barboursville.

 Information about Rite Aid’s own supply of that pharmacy was available and could

 have been used to reduce McKesson’s oversupply.

       For example, in 2009, McKesson supplied Rite Aid Pharmacy #968 with

 131,100 dosage units of oxycodone and 28,900 dosage units of hydrocodone

 (Table 18), which by itself would have been the equivalent of a potentially 1.9

 dosage units per prescription opioid taking adult per day. Rite Aid was itself

 distributing an additional 237,200 dosage units of hydrocodone to the pharmacy

 that year, meaning that the total opioid distribution was actually 397,200, which is

 0.33 dosage units per adult in the town and the equivalent of 4.8 dosage units per

 prescription opioid taking adult per day. The combined volume of opioid supply to

 this pharmacy was inconsistent with public health.




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 Table 18. McKesson Shipments to Rite Aid Pharmacy #968 in Barboursville, West Virginia (dosage
 units) plus Rite Aid shipments of hydrocodone
   Year      Oxycodone Hydrocodone Total                  Dosage       Times         Dosage units per
                             (McKesson                    units per higher than estimated
                             on top; Rite                 adult per benchmark number of
                             Aid in middle                day*                       prescription
                             row; total on                                           opioid taking
                             bottom)                                                 adults per day**
   2006      71,300          5,100
                             224,400
                             229,500           300,800    0.25         1.7           3.6
   2007      78,900          4,200
                             262,300
                             266,500           345,400    0.29         1.9           4.2
   2008      105,700         6,920
                             259,300
                             266,220           371,920    0.31         2.1           4.5
   2009      131,100         28,900
                             237,200
                             266,100           397,200    0.33         2.2           4.8
   2010      129,000         16,600
                             240,430
                             257,030           386,030    0.32         2.1           4.6
   2011      104,100         39,270
                             200,070
                             239,340           343,440    0.29         1.9           4.1
   2012      75,700          50,080
                             175,310
                             225,390           301,090    0.25         1.7           3.6
   2013      60,800          30,920
                             171,490
                             202,410           263,210    0.22         1.5           3.2
   2014      59,000          66,810
                             120,990
                             187,800           246,800    0.21         1.4           3.0
 *
   Dosage units per all adults in the population.
 **
    Assumes 6.9% of adults in Barboursville were taking prescription opioid medication, which is the
 average number of adults who took a prescription opioid in the last 30 days, as documented by CDC data.
 Opioid distribution data from ARCOS and Defendant Transactional data.



        During the entire period from 2006 through 2014, McKesson contributed to

 supplying Rite Aid Pharmacy #968 with opioids at a level equivalent to between

 3.0 and 4.8 dosage units per prescription opioid taking adult for every day during

 that ten-year period (Table 18). During this entire period, both McKesson and Rite

                                                   64
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    Aid were supplying the same pharmacy at combined volumes inconsistent with

    public health.

           Overall, the volume of opioids being supplied by McKesson Corporation to

    Cabell County and the City of Huntington during the period of 2006-2014 was the

    equivalent of between 5.3 and 7.0 dosage units per prescription opioid taking adult

    per day, after accounting for the company’s share of the oxycodone and

    hydrocodone market (Table 19).

Table 19. McKesson Corporation Shipments to Cabell County and Huntington, West Virginia
 Year     Dosage units    Population Adults Doses/ Doses per              Company                   Adjusted
          (oxycodone and                        adult/ estimated          market                    doses per
          hydrocodone)                          day*     number of        share in                  prescription
                                                         prescription     Cabell                    opioid taking
                                                         opioid taking County                       adult per day*
                                                         adults per
                                                         day**
 2006     2,625,460         98,955     79,461 0.09       1.3              0.24                      5.4
 2007     3,056,120         99,054     79,540 0.11       1.6              0.24                      6.7
 2008     3,650,050         99,190     79,650 0.13       1.9              0.27                      7.0
 2009     2,404,160         99,991     80,293 0.08       1.2              0.18                      6.7
 2010     2,104,500       100,270      80,517 0.07       1.0              0.17                      5.9
 2011     2,277,220       100,380      80,605 0.08       1.2              0.18                      6.7
 2012     2,206,290       100,658      80,828 0.07       1.0              0.19                      5.3
 2013     2,036,800       100,717      80,876 0.07       1.0              0.19                      5.3
 2014     2,793,110       100,299      80,540 0.10       1.5              0.25                      6.0
    *
     Dosage units per all adults in the population.
    **
     Assumes 6.9% of adults in Cabell County were taking prescription opioid medication, which is the
    average number of adults who took a prescription opioid in the last 30 days, as documented by CDC data.
    Opioid distribution data from ARCOS and Defendant Transactional data.




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                   2.    McKesson oversupplied pharmacies in nearby counties in West
                         Virginia with opioid drugs.

             In 2006, McKesson supplied Family Discount Pharmacy in Mount Gay-

 Shamrock, West Virginia with 1,767,400 dosage units of hydrocodone (Table

 20). 106 Based on the 2010 Census, the adult population of Mount Gay-Shamrock

 was 1,313. This means that McKesson supplied the equivalent of 3.69 doses of

 hydrocodone per day to every adult in the town, a level that is 25 times higher than

 the benchmark of 0.15. This is enough to supply each prescription opioid taking

 adult in the town with an astounding 53.5 dosage units per day. This volume of

 opioid supply was inconsistent with public health.

             McKesson distributed another 1,694,800 dosage units of hydrocodone to this

 same pharmacy in 2007, 107 which is the equivalent of 3.5 doses of hydrocodone per

 day to every adult in the town (Table 20). This amounts to an estimated 51 doses

 per day for each prescription opioid taking adult. This distribution of 1,694,800

 dosage units amounts to 141,000 dosage units per month. This high-volume supply




   House Energy and Commerce Committee. Red Flags and Warning Signs Ignored: Opioid Distribution and
 106

 Enforcement Concerns in West Virginia. Washington, DC: U.S. House of Representatives, Energy and Commerce
 Committee, December 19, 2018.

 107
       Id.

                                                     66
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 occurred despite the fact that McKesson had set a threshold of 8,000 dosage units

 per month 108 to trigger an intense investigation. 109

             Although McKesson stopped supplying the pharmacy for several years in

 response to an investigation, in 2013, it again supplied the Family Discount

 Pharmacy with nearly one million dosages of hydrocodone (986,500) (Table

 20). 110 This means that McKesson supplied the equivalent of 2.1 doses of

 hydrocodone per day to every adult in the town during that year, a level that is 14

 times higher than the benchmark of 0.15. This is enough to supply eight doses of

 hydrocodone per day to 25% of the adults in the town for the entire year. It

 amounts to an estimated 30 doses per day for every prescription opioid taking adult

 in the town. Even after the oversupply in 2006 and 2007 and the resulting

 investigation, McKesson continued to provide an oversupply of opioids to the

 pharmacy in 2013.




 108
       Id.
 109
       McKesson. Lifestyle Drug Program. July 27, 2007. Hilliard Exhibit 15. Pl.1887. MCKMDL00591949.
 110
       House Energy and Commerce Committee, 2018.

                                                    67
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 Table 20. McKesson Shipments to Family Discount Pharmacy #5 in Mount Gay-Shamrock,
 West Virginia (dosage units)
  Year     Hydrocodone        Dosage units Times        Dosage units per
           Total              per adult per higher than estimated number of
                              day*          benchmark prescription opioid
                                                        taking adults per
                                                        day**
  2006        1,767,400       3.69          24.6        53.5
  2007        1,694,800       3.54          23.6        51.3
  2013          986,500       2.06          13.7        29.8
 *
  Dosage units per all adults in the population.
 **
   Assumes 6.9% of adults in Mount Gay-Shamrock were taking prescription opioid medication, which is
 the average number of adults who took a prescription opioid in the last 30 days, as documented by CDC
 data. Opioid distribution data from ARCOS and Defendant Transactional data.



             During the period 2006-2007, this small pharmacy—serving a town of 1,800

 people—was McKesson’s top customer in West Virginia. 111 McKesson’s

 significant oversupply was inconsistent with public health.

             According to McKesson’s own data, the national average amount of

 dispensed hydrocodone to a retail pharmacy is approximately 131,000 dosage units

 per year, and according to its own regional data, the average supply per pharmacy

 in the Appalachian region was 24,000 dosage units per year. 112 Thus, even

 according to McKesson’s own data, the distribution of nearly one million doses to

 the Family Discount Pharmacy in 2013 was grossly unusual. McKesson had set a

 monthly hydrocodone threshold for Family Discount Pharmacy at the



 111
       Id.
 112
       McKesson. Understand ARCOS Data. P1.1354. MCKMDL00407449.

                                                   68
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 unconscionable level of 112,000 dosage units per month, 113 even though the

 average hydrocodone distribution to retail pharmacies was 131,000 dosage units

 per year and that this was a town with an adult population of 1,300 that had

 another retail pharmacy in the town and several national account pharmacies

 within ten miles. 114

        Even after this gross oversupply to Family Discount Pharmacy in 2013, an

 internal memo reveals that on March 14, 2014, the Director of Regulatory Affairs

 for McKesson’s North Central region recommended “that McKesson continue the

 shipment of controlled substances to this account, adjust thresholds accordingly

 and continue to monitor order patterns.” 115 McKesson’s continued oversupply was

 inconsistent with public health.

        In 2012, McKesson approved an application for service from Family

 Discount Pharmacy in Stollings, West Virginia (same owner as the Mt. Gay-

 Shamrock pharmacy of the same name) even though it reported average monthly

 sales of hydrocodone of 40,000 dosage units for a town of 316 people. 116 This is




 113
  McKesson. Hydrocodone thresholds. Family Discount Pharmacy. March 2010-April 2014. Pl.829.
 MCKMDL00332365.

   McKesson Regulatory Investigative Report from Dave Gustin, Director of Regulatory Affairs,
 114

 McKesson Pharma, NC region, March 24, 2014 MCKMDL0032657.
 115
   McKesson Regulatory Investigative Report from Dave Gustin, Director of Regulatory Affairs,
 McKesson Pharma, NC region, March 24, 2014. MCKMDL0032657.


                                                  69
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 the equivalent of 4.2 doses per person per day and would amount to an estimated

 61 doses per prescription opioid taking adult per day, far greater than an amount

 that would be consistent with public health.

        As part of the application, the pharmacy supplied its dispensing records for

 the past six months. During this period, Dr. Robert McCleary had filled 125

 prescriptions for hydrocodone with 74 refills. 117 In a town with approximately 230

 adults, this is enough prescriptions for 54% of the adults in the town to be taking

 hydrocodone. Publicly available records reveal that on February 3, 2007, the West

 Virginia Board of Osteopathy reached with Dr. McCleary “a consent agreement

 including requiring attending AA/NA meeting, random drug screens and

 monitoring” and that on September 13, 2007, his medical license was

 suspended. 118 He was required to undergo counseling or therapy and eventually his

 license was reinstated but was put on five-year probation, meaning that he was still

 on probation or just off probation at the time of Family Discount Pharmacy #2’s

 application.




 116
     McKesson. Pharmacy Questionnaire. Family Discount Pharmacy of Stollings, September 26, 2012.
 Pl.859. MCKMDL00331379.
 117
     Id., p.75 (Pl.859.75)
 118
    West Virginia Board of Osteopathy. 2008 Annual Report. December 3, 2008.
 http://www.wvlegislature.gov/legisdocs/reports/agency/B11 FY 2008 275.pdf (last retrieved April 27,
 2020).

                                                  70
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        Furthermore, an examination of the Family Discount Pharmacy #2 sales

 records reveals that during this six-month period, Dr. James E. Prommersberger—a

 podiatrist (a medical subspecialty that focuses on foot and ankle problems)—

 provided 141 hydrocodone prescriptions with 67 refills. 119 In a town with

 approximately 230 adults, this is enough prescriptions for 61% of the adults in the

 town to be taking hydrocodone prescribed by a foot doctor, which is extremely

 concerning from a public health perspective. Indeed, just a few years later, the

 West Virginia Board of Medicine issued a consent order to Dr. Prommersberger,

 suspending his medical license for three years after an investigation revealed that

 “between December 20, 2014 and December, 2015, over 1,100 prescriptions for

 controlled substances were dispensed in the state of Kentucky pursuant to

 prescriptions written by Dr. Prommersberger, ninety percent of which were written

 for a hydrocodone combination product, with the majority written for quantities of

 60 or greater per month.” 120 As part of the consent order, Dr. Prommersberger was

 not permitted to prescribe more than a 14-day supply of opioid medication.

        McKesson’s supply also provided opioids to fill the prescriptions of Dr.

 Scott Siegel. He asked a small pharmacy in a town of just 230 adults to fill 196



 119
  McKesson. Pharmacy Questionnaire. Family Discount Pharmacy of Stollings, September 26, 2012.
 MCKMDL00331365, p.83.
 120
    West Virginia Board of Medicine. Consent Order. In Re: James Edwin Prommersberger, D.P.M. June
 29, 2017.

                                                 71
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 prescriptions for hydrocodone in a six-month period, single-handedly accounting

 for the disbursement of 11,819 dosage units of hydrocodone, 121 enough to supply

 every adult opiate patient in the entire town with four dosage units per day all by

 himself. The prescribing patterns of these doctors whose prescriptions were filled

 by McKesson’s customer pharmacy indicate opioid use inconsistent with public

 health.

             During the years 2006 and 2007, McKesson supplied Sav-Rite No. 1

 pharmacy in Kermit, West Virginia with approximately 4.96 million dosage units

 of hydrocodone and oxycodone (Table 21). 122 The adult population of Kermit in

 the 2010 Census was 300. This means that McKesson supplied the equivalent of

 22.6 doses of hydrocodone/oxycodone per day to every adult in the town during

 those two years, a level that is 151 times higher than the benchmark of 0.15. Using

 the CDC estimate that 6.9% of adults are taking prescription opioid medication,

 this amounts to an astounding 328 doses per day for each prescription opioid

 taking adult. This pharmacy was the third highest purchaser of hydrocodone and

 oxycodone from McKesson in West Virginia during those two years. 123 McKesson

 did not terminate sales to this pharmacy until mid-November 2007. This



 121
     McKesson. Pharmacy Questionnaire. Family Discount Pharmacy of Stollings, September 26, 2012.
 MCKMDL00331365, p.91.
 122
     House Energy and Commerce Committee, 2018.
 123
       Id.

                                                 72
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 distribution occurred despite the fact that McKesson had set a threshold of 8,000

 dosage units per month to trigger an intense investigation. 124 McKesson’s

 distribution to Sav-Rite No. 1 far exceeded its own threshold for investigating a

 potential public health concern.

 Table 21. McKesson Shipments to Sav-Rite No. 1 pharmacy in Kermit, West Virginia (dosage
 units)
  Year       Hydrocodone      Dosage units       Times        Dosage units per
             and              per adult per      higher than estimated number
             Oxycodone        day*               benchmark of prescription
             Total                                            opioid taking
                                                              adults per day**
  2006/2007     4,955,710     22.6               151          328
 *
  Dosage units per all adults in the population.
 **
   Assumes 6.9% of adults in Milton were taking prescription opioid medication, which is the average
 number of adults who took a prescription opioid in the last 30 days, as documented by CDC data. Opioid
 distribution data from ARCOS and Defendant Transactional data.

            The CEO of McKesson acknowledged under oath before Congress that these

 shipments to Sav-Rite No. 1 pharmacy in Kermit, West Virginia represented an

 oversupply of opioids and that “in hindsight, we wish we would have terminated

 that relationship sooner.” 125 The McKesson Corporation CEO further stated under

 oath: “I believe our relationship with Sav-Rite should have been terminated

 immediately.” 126 The CEO also admitted that its monitoring systems were




 124
    Id.
 125
    Statement of John Hammergren, President and CEO, McKesson Corporation, before the Subcommittee
 on Oversight and Investigations, Committee on Energy and Commerce, U.S. House of Representatives,
 May 8, 2018. Combating the Opioid Epidemic: Examining Concerns about Distribution and Diversion,
 p.48. Pl.6480.
 126
       Id., p. 53.

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 inadequate at the time which led to the acknowledged failure: “Our systems at the

 time were not automated enough, certainly, and we didn’t flag it fast enough and

 get it fast enough. … We did not manage that Sav-Rite relationship and certainly

 didn’t do it soon enough.” 127

            During the period June through August, 2014, McKesson supplied Hurley

 Drug Company in Williamson, West Virginia—a town with an adult population of

 2,731 (2010 Census)—with a monthly average of 37,800 dosage units (Table

 22). 128 This translates into an average of 0.46 dosage units per adult per day, which

 is the equivalent of 6.6 dosage units per prescription opioid taking adult per day.

 Table 22. McKesson Shipments to Hurley Drug Company in Williamson, West Virginia (dosage
 units)
 Year              Hydrocodone Dosage         Times       Dosage units per
                   and            units per higher than estimated number of
                   Oxycodone      adult per benchmark prescription opioid
                   Average per    day*                    taking adults per
                   month                                  day**
 June-August 2014     37,800      0.46        3.1         6.6
 *
  Dosage units per all adults in the population.
 **
   Assumes 6.9% of adults in Williamson were taking prescription opioid medication, which is the average
 number of adults who took a prescription opioid in the last 30 days, as documented by CDC data. Opioid
 distribution data from ARCOS and Defendant Transactional data.

            In 2007, McKesson supplied the Westside Pharmacy in Oceana, West

 Virginia with an oversupply of opioid drugs. Despite the fact that Oceana had a

 population of only 1,100 adults, McKesson supplied this pharmacy with 156,900



 127
       Id., pp. 55-56.
 128
  McKesson. Chart of distributions to Hurley Drug Company, 06/01/14-08/31/14. Pl.887.
 MCKMDL00331678.

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 dosage units of oxycodone and 265,000 dosage units of hydrocodone, for a total of

 421,900 dosage units (Table 23). 129 This equates to 1.05 dosage units per adult per

 day, a level that is 7 times higher than the benchmark of 0.15. Based on an average

 6.9% of the adult population taking prescription opioids during this time, this

 quantity was enough to supply every prescription opioid taking adult with 15

 dosage units every day throughout the entire year.

 Table 23. McKesson Shipments to Westside Pharmacy in Oceana, West Virginia (dosage units)
  Year Hydrocodone Dosage units            Times         Dosage units per
          and            per adult per     higher than estimated number
          Oxycodone      day*              benchmark of prescription
          Total                                          opioid taking
                                                         adults per day**
  2007       421,900     1.05              7.0           15.2
 *
  Dosage units per all adults in the population.
 **
   Assumes 6.9% of adults in Oceana were taking prescription opioid medication, which is the average
 number of adults who took a prescription opioid in the last 30 days, as documented by CDC data. Opioid
 distribution data from ARCOS and Defendant Transactional data.

           My opinions expressed above regarding the distribution of an oversupply of

 opioids into Cabell and nearby counties by AmerisourceBergen, Cardinal Health,

 and McKesson Corporation that was inconsistent with public health are in accord

 with the findings and conclusions of a 2018 Congressional investigation. 130 The

 report of the investigative committee agreed with my opinions that: (1) the

 distributor Defendants oversupplied pharmacies in Cabell and nearby West

 Virginia counties with opioids in a manner inconsistent with public health and (2)

 129
       Pl.6384. Opioid Shipments to Pharmacies in Wyoming County, WV 2006-2014
 130
   House Energy and Commerce Committee. Red Flags and Warning Signs Ignored: Opioid Distribution
 and Enforcement Concerns in West Virginia. Washington, DC: 2018. Pl.2060.

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 the distributor Defendants continued to oversupply these pharmacies for months or

 even years despite available evidence that such distribution was inconsistent with

 public health. The relevant report findings and conclusions are as follows:

       The effects of the opioid epidemic have been most acutely felt in West
       Virginia, which had the highest overdose death rate in the country in
       2016. Reporting by the Charleston Gazette-Mail found that wholesale
       drug distributors dispersed more than 780 million doses of
       hydrocodone and oxycodone to West Virginia between 2007 and 2012,
       with individual distributors, in some cases, sending volumes of
       controlled substances to small-town pharmacies that far exceeded what
       could be considered reasonable to meet the legitimate medical needs of
       area residents. In one instance, distributors sent more than 20.82 million
       doses of hydrocodone and oxycodone to two pharmacies located four
       blocks apart in a town of approximately 3,000 people. In another
       instance, a single pharmacy in a town of 406 people received nearly 13
       million doses of hydrocodone and oxycodone from all distributors
       between 2006 and 2012. The extraordinary volume and pattern of
       opioid shipments, such as those sent to pharmacies in small West
       Virginia towns, were in the DEA’s words “red flags of diversion.”

       In the areas of West Virginia for which the Committee obtained
       ARCOS data, there were more than 131 pharmacies that received
       between two million and five million doses of hydrocodone between
       2006 and 2016. Seventeen pharmacies received more than five million
       doses of hydrocodone and oxycodone. Five of those pharmacies
       received more than 10 million doses. Four of the five pharmacies that
       received more than 10 million doses of hydrocodone and oxycodone
       were located in the same zip-code prefix area: Family Discount
       Pharmacy, Hurley Drug Company, Sav-Rite Pharmacy No. 1, and Tug
       Valley Pharmacy. These four pharmacies, as well as three others
       extensively discussed in this report, are all located within a short
       distance of each other in southern West Virginia. For example, the
       distance between the Sav-Rite No. 1 Pharmacy in Kermit, West
       Virginia, and Westside Pharmacy in Oceana, West Virginia is less than
       65 miles.



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       [T]he extraordinary volume of shipments in West Virginia was a
       harbinger of possible breakdowns in distributors’ oversight of their
       customers, including their suspicious order monitoring systems. … the
       Committee’s investigation revealed several instances where
       distributors supplied West Virginia pharmacies with a volume of
       opioids that should have raised red flags, particularly when viewed in
       the context of what would be considered reasonable to support the
       legitimate medical needs of the local population. Distributors also at
       times shipped millions of opioid pills to small-town pharmacies with
       very little corresponding due diligence. In other instances, distributors
       had in their possession due diligence materials that should have
       prompted them to conduct independent investigations of certain
       pharmacy customers or required them to more frequently report
       suspicious orders to DEA. The Committee’s investigation found,
       however, that distributors continued to ship opioids to these pharmacies
       for months and, in some cases, even years.

       The report also concluded that the Chief Executive Officers of all three

 companies (AmerisourceBergen, Cardinal Health, and McKesson Corporation)

 admitted that the volume of opioids shipped to the above West Virginia

 pharmacies represented a gross oversupply, should have been red flags, and that if

 the same situation occurred today, they would have immediately cut off these

 pharmacies. The CEOs also acknowledged that their vetting of the pharmacies in

 question was inadequate:

       Asked at the hearing whether their companies previously failed to
       maintain effective controls to prevent opioid diversion, distributor
       witnesses acknowledged that in hindsight they could have done more.
       Mr. Barrett of Cardinal Health apologized to West Virginians for
       Cardinal’s actions, testifying that if the company were presented with
       the same red flags today, it would have more carefully vetted some of
       the pharmacies in question: To the people of West Virginia, I want to
       express my personal regret for judgments that we'd make differently
       today with regard to two pharmacies that have been a particular focus

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       of this subcommittee. With the benefit of hindsight, I wish we had
       moved faster and asked a different set of questions. I'm deeply sorry
       that we did not. Mr. Hammergren of McKesson expressed similar
       sentiments, noting that “there clearly were certain pharmacies in West
       Virginia that were bad actors.” While Mr. Hammergren noted that
       McKesson terminated business relations with some West Virginia
       pharmacies, he said “[i]n hindsight, I would have liked to have seen us
       move much more quickly to identify the issues with these pharmacies.”
       Mr. Collis of AmerisourceBergen … conceded the massive volume of
       opioids that flooded small towns in West Virginia could have been a
       symptom of an industry-wide problem. During a transcribed interview
       with Committee staff, Dr. Mastandrea of Miami-Luken expressed
       regret over a news article regarding a federal investigation into the Sav-
       Rite pharmacies in Kermit, West Virginia, both of which were Miami-
       Luken customers, stating: “If I’m not mistaken, this particular
       individual pleaded guilty to drug diversion and served time –that owned
       Sav-Rite Pharmacy. How in God’s name we participated in supplying
       this individual product when, in hindsight, clearly this was drug
       diversion. A picture of this pharmacy would be next to the definition in
       the dictionary. No one was paying attention. It’s an abomination.

       The examples provided herein to demonstrate that Defendants were

 oversupplying pharmacies in Cabell County and in nearby counties in West

 Virginia are just that – examples. They are not intended as an exhaustive list of

 each and every instance that I view to be an oversupply. Looking, through a public

 health lens, at the overall supply of opioids into Cabell County by

 AmerisourceBergen, Cardinal Health, and McKesson, it is my opinion that all

 three of these distributors were shipping excessive amounts of opioids into Cabell

 County as a whole throughout the entire period covered by this report and this

 excessive supply contributed to the public health crisis that occurred in Cabell

 County and the City of Huntington during this time period.

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 VII. Information was Available regarding the Growing Opioid Public Health
      Crisis and the Extent to Which Oversupply Contributed to and Caused
      that Crisis

        A.      All Companies

        In 2002, the General Accounting Office (GAO) published a report entitled

 “Prescription Drugs: State Monitoring Programs Provide Useful Tool to Reduce

 Diversion.” 131 The report described the growing opioid abuse problem in the

 nation:

        The increasing diversion of prescription drugs for illegal use is a
        disturbing trend in the nation’s battle against drug abuse. Prescription
        drug diversion is the channeling of licit pharmaceuticals for illegal
        purposes or abuse. It can involve activities such as “doctor shopping”
        by individuals who visit numerous physicians to obtain multiple
        prescriptions, illegal sales of prescription drugs by physicians or
        pharmacists, and prescription forgery. The most frequently diverted
        prescription drugs are those that are prone to abuse, addiction, and
        dependence, such as hydrocodone (the active ingredient in Lortab and
        many other drugs), diazepam (Valium), methylphenidate (Ritalin), and
        oxycodone (the active ingredient in OxyContin and many other drugs).

        In 2003, the General Accounting Office (GAO) published a report entitled

 “OxyContin Abuse and Diversion and Efforts to Address the Problem.” 132 The

 report noted that: “During a December 2001 congressional hearing, witnesses from




 131
   General Accounting Office. Prescription Drugs: State Monitoring Programs Provide Useful Tool to
 Reduce Diversion. Washington, DC: GAO, May 2002. Pl.1076.

   United States General Accounting Office. OxyContin Abuse and Diversion and Efforts to Address the
 132

 Problem. Washington, DC: GAO, December 2003. Pl.1087.

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 DEA and other law enforcement officials from Kentucky, Virginia, and West

 Virginia described the growing problem of abuse and diversion of OxyContin.”

        In 2006, all distributors received a memorandum from the DEA which stated

 its purpose was to “reiterate the responsibilities of controlled substance distributors

 in view of the prescription drug abuse problem our nation currently faces.” 133 The

 letter emphasized that “Distributors are, of course, one of the key components of

 the distribution chain. If the closed system is to function properly as Congress

 envisioned, distributors must be vigilant in deciding whether a prospective

 customer can be trusted to deliver controlled substances only for lawful purposes.

 This responsibility is critical, as Congress has expressly declared that the illegal

 distribution of controlled substances has a substantial and detrimental effect on the

 health and general welfare of the American people.” (emphasis is mine).

        In 2007, all distributors received a letter from the DEA reminding them that

 they have a responsibility to maintain effective controls against diversion. 134

        By 2011, public health sources commonly reported a substantial increase in

 the opioid overdose death rate from 1999-2008. West Virginia was also reported as

 having the second highest overall drug overdose death rate of any state in the



 133
   Letter from Joseph T. Rannazzisi, Deputy Assistant Administrator, Office of Diversion Control, DEA,
 September 27, 2006. Pl.1464. (Exhibit 4 – Hilliard deposition).
 134
    Letter from Joseph T. Rannazzisi, Deputy Assistant Administrator, Office of Diversion Control, DEA
 to all registrants, December 27, 2007. Exhibit 23 in Hartle deposition. MCKMDL00478910.

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 nation in 2008 (25.8 per 100,000), a rate that was five times higher than that of the

 state with the lowest rate (Nebraska at 4.5 per 100,000) and more than twice as

 high as the national rate (11.9 per 100,000). 135

        B.      AmerisourceBergen

        In 2008, AmerisourceBergen was in possession of a presentation at a joint

 meeting of the Anesthetic and Life Support Drugs Advisory Committee and the

 Drug Safety and Risk Management Advisory Committee of the FDA. 136 The very

 first slide noted that there was a drastic increase in prescription opioid drug

 overdose deaths in the U.S. between 1999 and 2004. The second slide showed that

 the rise in opioid overdose deaths paralleled a similar dramatic increase in total

 sales of prescription opioids.

        Also in 2008, AmerisourceBergen’s documents reflect that Cardinal Health

 was being investigated by DEA for inappropriate distribution of hydrocodone and

 that the investigation resulted in the suspension of three Cardinal Health

 distribution centers’ authorization to dispense controlled substances, as well as in a

 drop in the company’s stock value. 137 AmerisourceBergen scheduled a high-level

 meeting to discuss controlling diversion of opioid prescription drugs.


 135
     Paulozzi LJ, Jones CM, Mack KA, Rudd RA. Vital signs: Overdoses of prescription opioid pain
 relievers—United States, 1999-2008. MMWR 2011; 60(43):1487-1492.
 136
   Van Zee A. FDA: Joint Meeting of the Anesthetic and Life Support Drugs Advisory Committee & the
 Drug Safety & Risk Management Advisory Committee, May 6, 2008. Pl.766.


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           In 2009, AmerisourceBergen was in possession of a newspaper article titled

 “Prescription drug overdoses termed ‘epidemic’ in West Virginia.” 138 According to

 the article: “West Virginia tops the nation in per capita prescription drug

 overdoses, and police believe even more people will become addicted and die – if

 the problem does not stop.”

           In 2010, AmerisourceBergen was in possession of a presentation by the

 regulatory section of DEA regarding the responsibilities of distributors. 139 The

 presentation discussed the importance of knowing your customers in order to be

 able to identify suspicious orders and emphasized that such orders should not be

 shipped unless and until they are investigated and found to be legitimate.

           In 2011, officials in AmerisourceBergen’s controlled substances monitoring

 program and government affairs offices circulated by email of a song parody from

 a Florida newspaper regarding the opioid public health crisis in West Virginia that

 was “to be sung with tune from Jimmy Buffett’s Margaritaville.” 140 The song has

 lines such as: “Headin’ for strip malls, drivin’ till night falls, all of these tourists,



 137
   Email from Burt Rosen to Rita Norton (AmerisourceBergen), January 31, 2008. Pl.6542.
 PPLP004301234.
 138
    Email from Bruce Gundy entitled “Rx drug overdoses termed ‘epidemic’ in W Va,” January 19, 2009.
 Pl.6470. ABDC-STC002214953
 139
       Regulatory Section. DEA Headquarters. ODG (presentation), 2010. Pl.358.
 140
    Email from Julie Eddy to Chris Zimmerman and Steve Mays. AmerisourceBergen, February 25, 2011.
 Pl.6507. ABDCMDL08090633.

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 carrying cash looking’ for pill mills…Wastin’ away in OxyContinville, Searchin’

 for my last doctor to shop.”

        Also in 2011, officials in AmerisourceBergen’s corporate security and

 regulatory affairs offices circulated a another parody song about the opioid

 epidemic in West Virginia, including the existence of pill mills, and featuring a

 West Virginia “hillbilly” driving down to Florida to fill his car with opioids. 141 The

 first verse (sung to the melody of the Beverly Hillbillies) was: “Come and listen to

 a story about a man named Jed, a poor mountaineer, barely kept his habit fed, Then

 one day he was lookin at some tube, And saw that Florida had a lax attitude. About

 pills that is, Hillbilly Heroin, “OC”.

        As late as 2015, a consultant report on AmerisourceBergen’s Corporate

 Security and Regulatory Affairs department’s procedures for preventing drug

 diversion concluded that these procedures were inadequate; among other things,

 the report noted that “ABC does not have a policy to determine which associate(s)

 at the distribution center are responsible for reviewing orders. Although all

 associates who have access to the OMP system are required to be trained in

 reviewing orders, there is no consistency with respect to who is reviewing these




 141
   Email from Julie Eddy to Chris Zimmerman. AmerisourceBergen, April 22, 2011. Pl.6456.
 ABDCMDL00569571.

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 orders. This presents a significant risk area because the company needs to be

 compliant with DEA regulations and able to explain and defend their decisions.” 142

         In 2007, the DEA issued an immediate suspension order to the

 AmerisourceBergen distribution center in Orlando, Florida, alleging that the

 company failed to effectively control against diversion of controlled substances. 143

 According to the company: “The license was suspended in April 2007, because

 DEA alleged that the distribution center had not maintained effective controls

 against diversion of controlled substances by retail internet pharmacies.” 144

 Specifically, the DEA alleged that “this office was selling large quantities of

 controlled substances to rogue Internet pharmacies. The investigation has revealed

 that several of their largest purchasers of hydrocodone were pharmacies engaged in

 schemes to dispense controlled substances based on prescriptions that were written

 for other than legitimate medical purposes. In spite of being warned by DEA about

 the characteristics of rogue internet pharmacies, this office distributed 3.8 million




 142
    FTI Consulting, Inc. Health Solutions Practice. AmerisourceBergen Corporation CSRA Process
 Review, Phase I: Narrative Report. Pl. 6261. ABDCMDL00274105, p. 10-11. Report is undated, but
 Pl.6263 ABDCMDL00250023 makes it clear that report was received and reviewed in September 2015.

 143
    I am not using this evidence to conclude that AmerisourceBergen violated the Controlled Substances
 Act or that it admitted to these violations. I am using this evidence solely to establish that there were
 repeated allegations against the company.
 144
    AmerisourceBergen. DEA resinstates AmeriSourceBergen’s Orlando Distribution Center’s suspended
 license to distribute controlled substances (press release). August 27, 2007.
 https://www.sec.gov/Archives/edgar/data/1140859/000119312507189992/dex991.htm.

                                                     85
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 dosage units of hydrocodone products between January 1, 2006 and January 31,

 2007 to rogue pharmacies.” 145

             The DEA alleged that in 2006, AmerisourceBergen distributed more than 1

 million dosage units of hydrocodone to a single pharmacy (Grand Pharmacy) in

 New Port Richey, Florida, a town of only 17,018 in 2006, “under circumstances

 that clearly indicated that Grand Pharmacy was engaged in the diversion of

 controlled substances.” 146 Moreover, AmerisourceBergen “also supplied generic

 and brand name hydrocodone and hydrocodone combination products under

 similarly suspicious circumstances to Discount Mail Meds, LLC, Medassist RX,

 LLC, and Avee Pharmacy, Inc, among others. Respondent distributed hydrocodone

 under the following circumstances that should have alerted Respondent that the

 pharmacies were diverting hydrocodone: a. Respondent distributed hydrocodone to

 each of the named pharmacies, and others, in amounts that far exceeded what an

 average pharmacy orders to meet the legitimate needs of its customers. Respondent

 knew that orders of an unusual size were "suspicious" as that term is med in 21

 C.F.R. § l 301.74(b).” 147



 145
    DEA. DEA suspends Orlando branch of drug company from distributing controlled substances (press
 release), April 24, 2007. https://www.dea.gov/sites/default/files/divisions/mia/2007/mia042407p.html.
 146
   DEA. Order to Show Cause and Immediate Suspension of Registration, April 19, 2007. Pl.6132.
 ABDCMDL00269383, p. 2.
 147
       Id., p. 2.

                                                   86
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             Furthermore, the DEA alleged “Public information regarding several of

 Respondent's pharmacy customers was readily available to Respondent. Had

 Respondent attempted to learn about these pharmacies prior to filling the

 suspicious orders placed by the pharmacies, Respondent would have known that

 many of the named pharmacies were filling prescriptions that were issued by

 physicians acting outside the usual course of professional practice in violation of

 21 CF.R. § 1306.04. Specifically, the prescriptions filled by the pharmacies were

 issued by physicians who did not conduct a medical examination of the customers,

 but rather wrote prescriptions for controlled substances that were ordered by

 customers over the Internet.” 148

             C.     Cardinal Health

             In 2005, the DEA informed Cardinal that there was a problem with drug

 diversion, especially of hydrocodone, by internet pharmacies. 149 An email from the

 vice president of quality and regulatory affairs noted that any pharmacy purchasing

 more than 5,000 dosage units of hydrocodone per month raised a red flag, and he

 asked to be contacted. A regional manager of quality and regulatory affairs

 responded in a way suggesting that the company did not at the time have an




 148
       Id., p. 2.
 149
   Email from Steve Reardon to Don Bennett, August 30, 2005. Cardinal Health. Pl. 4598.
 CAH_MDL_PRIORPROD_DEA07_02088028.

                                                  87
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 appropriate monitoring program, stating: “Once we develop a due diligence and

 monitoring program, it would become part of the audit checklist.”

        In 2008, a Cardinal Health consultant audit stated that Cardinal’s suspicious

 order monitoring system was insufficient “to meet the regulatory requirements

 without additional real-time monitoring capabilities (though we understand Phase

 II is under development and will address a number of these issues).” 150 In another

 email that same year, Cardinal Health was told again by the consultant auditor that

 “Cardinal does not yet have a system for detecting all suspicious orders.” 151

        A 2008 Cardinal Health presentation on supply chain integrity noted that:

 “the ‘cost’ of noncompliance reaches more than just financial statements,”

 depicting potential coverage of any breaches by major news organizations and the

 possible resulting headlines. 152 The presentation emphasized the importance of

 “historical analysis” and “threshold setting.”

        The DEA repeatedly accused Cardinal of inadequately controlling the

 diversion of opioid drugs.




 150
   Letter from Cegedim Dendrite Compliance Solutions to Jodi Avergun, January 23, 2008.
 CAH_MDL2804_03309960.
 151
   Email from Jodi Avergun to Michael Mone, January 7, 2008.
 CAH_MDL_PRIORPROD_DEA07_00110665.
 152
   Hartman M, Senior Vice President of Supply Chain Integrity and Regulatory Operations at Cardinal
 Health. Supply Chain Integrity (presentation), November 6, 2008. CAH_MDL2804_00225017.

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            Cardinal Health has repeatedly been cited by the DEA for failure to maintain

 effective controls against the diversion of opioids. Even after receiving immediate

 suspension orders for three of its distribution centers in 2007 and 2008 (and an

 order to show cause for a fourth) and after entering into a settlement with the DEA

 regarding these alleged violations, Cardinal Health was again served an immediate

 suspension order in 2012 for one of its facilities and then in 2016, agreed to pay a

 $44 million fine to resolve this action. 153

              The facts regarding this series of allegations were summarized by the D.C.

 District Court 154:

              This is not the first time the DEA has taken enforcement action
              against Cardinal, or even against its Lakeland Facility. Between
              November 28, 2007, and December 7, 2007, DEA Administrator
              Michele Leonhart issued immediate suspension orders to three
              Cardinal facilities, one of which was the Lakeland Facility.
              Administrator Leonhart “concluded that the three facilities posed an
              imminent danger to public health or safety based on a DEA
              investigation revealing that Cardinal Lakeland failed to maintain
              effective controls against diversion.” And on January 30, 2008, the
              DEA issued an order to show cause (but not an ISO) to revoke the
              registration of another Cardinal facility located in Stafford, Texas,
              again “based on the failure to maintain effective controls against
              diversion.” As a result of these allegations, Cardinal agreed to pay a
              civil fine of $34 million. Cardinal also entered into a Memorandum
              of Agreement with the DEA in which it agreed to “maintain a
              compliance program designed to detect and prevent [the] diversion of
              controlled substances as required under the CSA and applicable DEA

 153
    I am not using this evidence to conclude that Cardinal Health violated the Controlled Substances Act
 or that it admitted to these violations. I am using this evidence solely to establish that there were repeated
 allegations against the company.
 154
       Parentheticals and citations have been omitted for ease of reading.

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           regulations.” As the backdrop of the action taken by the DEA that
           precipitated this case, the government asserts that the volume of
           oxycodone (a Schedule II drug) distributed to Cardinal Lakeland’s top
           four retail customers—CVS Store 219, CVS Store 5195, Gulf Coast,
           and CareMed (“the four pharmacies”)—has increased exponentially
           since the parties entered into the MOA in 2008. As a result, the
           government contends that the DEA repeatedly notified Cardinal of its
           need to exercise greater diligence at the Lakeland Facility to detect
           suspicious activity by its customers. Cardinal then terminated
           distribution of controlled substances to Caremed on September 26,
           2011, and Gulf Coast on October 5, 2011, but continued to distribute
           to the two CVS pharmacies. On October 18, 2011, the DEA executed
           Administrative Inspection Warrants at the four pharmacies, after
           which both Gulf Coast and Caremed voluntarily surrendered for cause
           their DEA registrations. A few days later, on October 26, 2011, the
           DEA executed a warrant at Cardinal’s Lakeland Facility to determine
           whether Cardinal “failed to report suspicious orders to the DEA.” On
           November 8, 2011, the DEA issued an administrative subpoena to
           Cardinal for information regarding its sales of oxycodone and other
           drugs as well as its compliance mechanisms. Cardinal thereafter
           lowered its oxycodone distribution thresholds for CVS Store 219 on
           November 10, 2011, and CVS Store 5195 on December 16, 2011. The
           government contends that “[t]he DEA’s investigation of Cardinal and
           its top four retail customers revealed a staggeringly high and
           exponentially increasing rate of oxycodone distribution from the
           Lakeland facility.” Based on these high volumes and information
           gleaned from its investigation of Cardinal and the four pharmacies,
           the DEA determined that “Cardinal failed to conduct meaningful due
           diligence to ensure that the controlled substances were not diverted
           into other than legitimate channels, including Cardinal’s failure to
           conduct due diligence of its retail pharmacy chain customers.”
           Finding that this conduct violated Cardinal’s obligations under the
           CSA and the 2008 MOA, and that Cardinal Lakeland’s continued
           registration posed an “imminent danger to the public health and
           safety,” the DEA issued an order to show cause and immediate
           suspension order to the Lakeland Facility on February 2, 2012. 155

 155
   Cardinal Health, Inc. v. Holder, Civil Action No. 2012-0185 (D.D.C. 2012), District Court, District of
 Columbia (Filed: March 7th, 2012).


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         The suspension order was based on the following conclusions based on a

 DEA investigation: “DEA concluded that over a period of approximately 3 years,

 November 2008 to December 2011, Cardinal’s anti-diversion controls were

 inadequate to meet their due diligence responsibilities. This conclusion was based

 on the totality of several factors. Some of the most important factors were: (i)

 exceedingly large increasing volume of shipments of oxycodone to its largest

 Florida retail customers, which volumes were supported by inadequate

 documentation; (ii) a low number of suspicious orders reported; (iii) a low number

 of on-site visits to these top retailers and no site visits to retail chain pharmacy

 customers; and (iv) evidence that Cardinal’s due diligence practices were

 inconsistent with both the 2008 MOA and Cardinal’s own policies the purpose of

 which was to reduce diversion.” 156

         The alleged volume of opioids supplied to individual pharmacies was

 staggering:

         Between November 1, 2008 and December 31, 2011, Cardinal
         Lakeland sold over 12.9 million dosage units of oxycodone to its top
         four customers. From 2008 to 2009, Cardinal’s oxycodone sales to its
         top four retail pharmacy customers increased approximately 800%. …
         Cardinal’s other Florida retail pharmacies received, on average, 5,364
         dosage units per month from October 1, 2008 through December 31,
         2011 based on 66,286 pharmacies, which equates to 64,368 dosage
         units, annually. 157
 156
   Declaration of Joseph Rannazzisi, Deputy Assistant Administrator for DEA’s Office of Diversion
 Control. In Cardinal Health Inc. v. Eric Holder, Jr., Attorney General, et al. Civil Action No. 1:12-cv-185
 (RBW). United States District Court for the District of Columbia. Filed February 10, 2012. Pl. 585.1.


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             In other words, the allegation is that Cardinal Lakeland sold, on average,

 more than 1 million dosage units of oxycodone per year to its top four customers,

 but an average of only 64,368 to its other customers. This is more than a 15-fold

 difference. According to the results of DEA’s investigation, in 2011 alone,

 Cardinal supplied 3,012,500 dosage units of oxycodone to two CVS stores in

 Sanford, Florida, a 47-fold difference from the average. 158

             The alleged volume of hydrocodone sold to a smaller pharmacy—Horen’s

 Drugstore—is similarly staggering:

             Despite the substantial guidance provided to Respondent by DEA
             regarding identifying rogue pharmacies such as Horen’s Drugstore, and
             despite the public information readily available to Respondent
             regarding Horen’s Drugstore’s association with rogue Internet
             pharmacy websites, Respondent repeatedly supplied Horen’s Drugstore
             with excessive amounts of hydrocodone. Specifically, Respondent
             distributed in excess of 600,000 dosage units of hydrocodone from
             March 2007 through September 2007; including over 116,000 dosage
             units in July; over 129,000 dosage units in August; and over 122,000
             dosage units in September. 159

             The DEA also alleged that Cardinal Health ignored or violated its own

 standards in shipping these high volumes of opioids. 160 One of the allegations was


 157
       Id.
 158
       Id.
 159
   Settlement and Release Agreement and Administrative Memorandum of Agreement between DEA and
 Cardinal Health, Inc., October 2, 2008. Pl. 4230. CAH_MDL_PRIORPROD_DEA12_00001571.

   Declaration of Joseph Rannazzisi, Deputy Assistant Administrator for DEA’s Office of Diversion
 160

 Control, 2012, p. 28-33.

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 that Cardinal regularly exceeded its own distribution thresholds: “Cardinal set

 monthly thresholds for oxycodone distributions to each of its stores. But from

 April 2009 to August 2011, Cardinal disregarded the oxycodone thresholds for its

 top four retailers at least 44 times, sometimes by a few thousand pills and

 sometimes by tens of thousands. This unexplained disregard for its own thresholds

 suggests that Cardinal did not take its own policies seriously.” 161 A DEA exhibit

 documented the numerous violations of oxycodone thresholds by pharmacies

 supplied by the Lakeland facility. 162

            According to the allegations that triggered the immediate suspension orders

 back in 2007 and 2008, the amount of opioids that Cardinal Health was accused of

 supplying to pharmacies exhibiting signs of diversion was enormous. 163 According

 to DEA testimony:

            DEA immediately suspended Cardinal Lakeland based on its
            conclusion that, for approximately 2 years and two months, between
            August 2005 and October 2007, the facility ‘distributed over 8,000,000
            dosage units of hydrocodone combination products to customers that it
            knew or should have known were diverting hydrocodone into other than
            legitimate medical, scientific and industrial channels.’ The ISO noted
            that, although the average retail pharmacy in Florida distributes ‘less
            than 8,400 dosage units of hydrocodone per month,’ the ten retail
            pharmacies that Cardinal Lakeland supplied distributed considerably
            more. Monthly averages at those ten pharmacies ranged from 11,075

 161
       Id., p.29.
 162
   DEA. Cardinal Health – Lakeland: Thresholds Exceeded. DEA, 2011. Government Exhibit 21. Docket
 No. 12-32. CAH_MDL_PRIORPROD_DEA12_00004353.
 163
       Id., p.18.

                                                93
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            dosage units to a high of 287,025 dosage units. The ISO alleged that the
            ‘unusual size’ of some of the orders, among other factors, should have
            prompted Cardinal to conclude that the orders ‘were suspicious as that
            term is used in’ the regulations. 164

            In 2016, Cardinal Health reached a $34 million settlement with the U.S.

 Attorney’s Office in Florida and the DEA, in which “Cardinal Health

 acknowledged that, from January 1, 2009 to May 14, 2012, it failed to comply with

 regulations requiring reports of pharmacies’ suspicious orders of certain narcotic

 medications.” 165

            Also in 2016, Kinray, LLC, a subsidiary of Cardinal Health, reached a $10

 million settlement with the U.S. Attorney for the Southern District of New York

 and the DEA, in which it acknowledged that: “Between January 1, 2011 and May

 14, 2012, Defendant failed to inform DEA that certain orders for controlled

 substances it received from some customers were suspicious, as required by 21

 C.F.R. § 1301.74(b).” 166

            Finally, as early as November 2006, Cardinal Health’s internal documents

 discuss a problem with its threshold system for oxycodone distribution. Speaking



 164
       Id., p.18.
 165
    Department of Justice. United States reaches $34 million settlement with Cardinal Health for civil
 penalties under the Controlled Substances Act (press release), December 23, 2016. Orlando, FL: U.S.
 Attorney’s Office, Middle District of Florida. https://www.justice.gov/usao-mdfl/pr/united-states-reaches-
 34-million-settlement-cardinal-health-civil-penalties-under.
 166
    Consent Order. United States of America v. Kinray, LLC. United States District Court, Southern
 District of New York. 16 Civ. 9767-RA, December 22, 2016. Pl.4222.

                                                    94
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 about the fact that some customers are “getting 5 or 6 times more” than the

 thresholds, one of the compliance staff members wrote in an email: “We’re going

 to run into a potential DEA problem if we don’t get this straightened out.” The

 reply back from another staff member was: “That is what I am afraid of. Ken

 hinted during our last phone call that our system should have kept this from

 happening. I tip-toed around that but it is obvious that something is broken when

 the limiters that were keyed at corporate are not keeping my customers from

 ordering this much, and we have other items that do not have limiters at all.” 167

        D.      McKesson Corporation

        As early as 2000, McKesson had a drug operations manual section on

 controlled substances that made clear the company’s responsibility to “prevent

 diversion of abusable substances into illicit traffic while ensuring their availability

 for legitimate medical purposes.” 168 The manual emphasized that: “It is extremely

 important that McKesson employees comply fully with the regulations and the

 following guidelines.” The manual covers monthly reporting of data to ARCOS as

 well as suspicious order detection and reporting.




 167
   Cardinal Health. E-mails between Rafael Varela and Elaine Troutman, November 7, 2006. Pl.4324.
 CAH_MDL_PRIORPROD_DEA07_00849441.
 168
   McKesson. Drug Operations Manual. Section 55 – Controlled Substances. July, 2000. Exhibit 12 in
 Hartle deposition. MCKMDL00337660.

                                                  95
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        At a 2005 meeting between McKesson and DEA, the DEA discussed a

 problem with internet pharmacies in Florida. 169 There was internal concern within

 DEA about whether McKesson was taking the problem seriously.

        At a 2006 meeting with the DEA, McKesson officials were warned that their

 company had supplied more than two million dosage units of hydrocodone to what

 were allegedly Internet pharmacies in the Tampa area, despite a 2005 meeting in

 which DEA alerted McKesson to this specific problem. 170 The DEA told

 McKesson that it would therefore pursue and Order to Show Cause and an

 Immediate Suspension Order for its Lakeland, Florida distribution center.

        In a 2007 McKesson presentation, the company noted that “abuse of

 prescription drugs has risen 66% since 2000,” that “opioid painkillers kill more

 than cocaine and heroin combined” and that this is a “public health issue.” 171 The

 presentation noted that starting May 1, 2007, McKesson would institute a

 “Lifestyle Drug Monitoring Program” that focused on four drugs (including




 169
    Memorandum from Michael Mapes, Office of Diversion Control, to Joseph Rannazzisi, Office of
 Diversion Control, DEA. Meeting between office of diversion control (OD) and McKesson Corp. on
 January 3, 2006. Dated January 23, 2006. Exhibit 8 in De Gutierrez Mahoney deposition. Pl.1789.
 MCKMDL00496876.
 170
    Memorandum from Michael Mapes, Office of Diversion Control, to Joseph Rannazzisi, Office of
 Diversion Control, DEA. Meeting between office of diversion control (OD) and McKesson Corp. on
 January 3, 2006. Dated January 23, 2006. Exhibit 8 in De Gutierrez Mahoney deposition. Pl.1789.
 MCKMDL00496876.
 171
    Walker D. Lifestyle Drugs & Internet Pharmacies. McKesson, 2007. Exhibit 4 in Snider deposition.
 Pl.1830. MCK-WVAG-003-0001332.

                                                  96
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 oxycodone and hydrocodone), established a threshold of 8,000 dosage units, and

 required “due diligence” of customers exceeding that threshold.

           In 2011, McKesson’s director of regulatory affairs acknowledged that the

 company had a large number of accounts for which the oxycodone and

 hydrocodone thresholds were far greater than the amounts that the pharmacies

 actually needed, stating: “I have thought of an area that needs to be tightened up in

 CSMP and it is the number of accounts we have that have large gaps between the

 amount of Oxy or Hydro they are allowed to buy (their threshold) and the amount

 they really need. (Their current purchases) This increases the ‘opportunity’ for

 diversion by exposing more product for introduction into the pipeline than may be

 being used for legitimate purchases.” 172

           In 2012, McKesson made a presentation entitled “Know Your Customer:

 Recognizing Regulatory and Compliance Risks.” 173 The presentation explained

 that there was an “alarming rate of increase of prescription drug abuse beginning

 approximately five years ago, especially hydrocodone (Vicodin) and opioid pain

 drugs (Oxycontin and Oxycodone).” It noted that “27,000 died from prescription

 drug overdoses in 2007, a fivefold increase since 1990.” It also noted that “During

 the same period tenfold increase in medical use of painkillers such as oxycodone


 172
       Exhibit 256. MCKMDL00507799.
 173
   Walker D. Know Your Customer: Recognizing Regulatory and Compliance Risks. McKesson, May
 2012. Pl.1651. MCKMDL00498169

                                              97
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 and hydrocodone.” It stated that “Today number of overdose deaths involving

 prescription pain medication exceeds deaths from heroin and cocaine combined.”

 The presentation also included this quote from Joseph Rannazzisi of the DEA:

 “The illicit pain clinics, the pharmacies that fill their scripts, and the wholesale

 distributors who supply pharmacies without appropriate due diligence have caused,

 and continue to cause, millions of dosage units of oxycodone and other controlled

 substances to be diverted and pose an imminent threat to the public health and

 safety” (emphasis is mine). Finally, the presentation stressed the importance of

 performing due diligence on prospective customers, including knowing the

 “volume of critical drugs – Oxycodone, Hydrocodone, Alprazalam.”

        Despite publicly stressing the importance of performing due diligence, in a

 2012 email from Bill deGutierrez-Mahoney to senior compliance and regulatory

 affairs staff at McKesson, deGutierrez-Mahoney stated “we may not be following

 ‘our own’ guidelines.” 174 The email intimated the concern that HDMA was

 announcing procedures that McKesson was not actually implementing: “Sounds to

 me like HDMA is signing us up to do everything that anyone thought might be

 relevant or a good idea…”




 174
   Email from Bill deGutierrez-Mahoney to Donald Walker, et al., February 28, 2012. HDMA CSMP
 Guidelines. Exhibit 38 in deGutierrez-Mahoney deposition. Pl.1806. MCKMDL00545132.

                                               98
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        In 2013, McKesson staff gave a presentation on the state of prescription drug

 abuse. 175 It included a slide with a graph showing a dramatic increase in opioid

 sales, opioid addiction treatment, and opioid deaths in the U.S. between 1999 and

 2010. It noted specific examples of pill mills, internet pharmacies, and other causes

 of drug diversion and noted that 4.9 million people in the U.S. were abusing

 prescription pain relievers. It also noted that more than 45 people die every day

 from prescription opioid overdoses. It closed with a Voltaire quote: “With Great

 Power Comes Great Responsibility.”

        In 2014, McKesson was in possession of slides from a presentation showing

 that CDC had declared prescription drug overdose deaths to be an epidemic, with

 one death occurring every 19 minutes. 176 One of the slides noted that “The U.S.

 consumes 83% of the world’s oxycodone and 99% of the world’s hydrocodone,

 two highly prescribed opioid drugs for pain.” It included a slide with a graph

 showing a dramatic increase in opioid sales, opioid addiction treatment, and opioid

 deaths in the U.S. between 1999 and 2010. Another slide showed that West

 Virginia had the highest rate of prescription drug overdose death in the nation.




 175
    Boggs G. McKesson. State of Prescription Drug Abuse, September 13, 2013. Pl.851. Also Exhibit 29
 in Hartle deposition.
 176
   Stern F, Walker D, Boggs G, Peck K. Prescription Drug Abuse: The National Perspective. February 4,
 2014. Pl.2539. MCKMDL02102775

                                                  99
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          The DEA repeatedly accused McKesson of inadequately controlling the

 diversion of opioid drugs.

         In 2017, McKesson made certain admissions of fact under a settlement

 agreement with the DEA in which it acknowledged a failure to maintain effective

 controls against opioid diversion and agreed to pay a settlement amount of $150

 million. Specifically: “McKesson acknowledges that, at various times during the

 Covered Time Period [2009-2017], it did not identify or report to DEA certain

 orders placed by certain pharmacies which should have been detected by

 McKesson as suspicious based on the guidance contained in the DEA Letters about

 the requirements set forth in 21 C.F.R. § 1301.74(b) and 21 U.S.C. § 842(a)(5).” 177

 These admitted failures occurred even after the company entered into a previous

 2008 settlement in which the DEA alleged that the company failed to report

 suspicious orders of controlled substances. 178 As summarized in the 2017

 settlement agreement: “In 2008, McKesson entered into a settlement agreement

 with the DOJ and a Memorandum of Agreement with the DEA (collectively

 referred to herein as the "2008 Agreements") arising out of, among other things,

 McKesson' s failure to report suspicious orders of controlled substances to the


 177
    Settlement Agreement and Release between DEA and McKesson, January 17, 2017.
 https://www.justice.gov/opa/press-release/file/928471/download.
 178
   I am not using this evidence to conclude that McKesson Corporation violated the Controlled
 Substances Act. I am using this evidence to establish that there were repeated allegations against the
 company.

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 DEA when discovered, as required by and in violation of 21 C.F.R. § 1301.74(b)

 and 21 U.S.C. § 842(a)(5). As a result of the 2008 Agreements, McKesson

 developed a Controlled Substance Monitoring Program ("CSMP") in which

 McKesson recognized that it had a responsibility to monitor its sales of all

 controlled substances and report suspicious orders to the DEA. McKesson failed to

 properly monitor its sales of controlled substances and/or report suspicious orders

 to the DEA, in accordance with McKesson's obligations under the 2008

 Agreements, the CSA, and 21 C.F.R. § 1301.74(b).” 179

           In the orders that led to the 2008 settlement (in the amount of $13,250,000),

 the volume of opioids that the DEA alleged McKesson supplied to certain

 pharmacies was startling:

           (1)     In Maryland, from January 2005 through October 2006, 3 million

                   dosage units of hydrocodone were supplied to NewCare Pharmacy in

                   Baltimore - according to McKesson’s own data, the national average

                   amount of dispensed hydrocodone to a retail pharmacy is

                   approximately 131,000 dosage units per year, 180 yet they allegedly

                   sold this pharmacy an average of 1.6 million dosage units per year

                   during this time period, more than a 12-fold difference;


 179
       Settlement Agreement and Release between DEA and McKesson, January 17, 2017.
 180
       McKesson. Understand ARCOS Data. P1.1354. MCKMDL00407449.

                                                  101
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        (2)      In Texas, during an eight-month period in 2007, McKesson suppled

                 the Mercury Drive Pharmacy and Maswoswe’s Alternative Pharmacy

                 with 2.6 million dosage units of hydrocodone, which is nearly 30

                 times higher than the national average; and

        (3)      In Florida, during one month in 2005, McKesson supplied seven

                 pharmacies in the Tampa area with 2.1 million dosage units of

                 hydrocodone, which is a rate 16 times higher than the national

                 average.

        Furthermore, the DEA also alleged that in spite of the 2008 settlement and

 McKesson’s being on notice that it had a “serious and systemic” problem, no fewer

 than four of McKesson’s distribution centers failed to report any suspicious orders

 to DEA for the subsequent five-year period (2008-2013) and one center reported

 only 16 orders as suspicious during this period. 181 The DEA noted that: “This,

 alone, demonstrates that it was not operating with any functional ‘system to

 disclose’ … suspicious orders of controlled substances’ to DEA. … And the fact

 that this occurred after McKesson had entered into a settlement agreement with the

 Department of Justice and DEA in which McKesson committed to report

 suspicious orders makes the ensuing five-year silence particularly egregious.” The



 181
  Letter from DEA to Geoffrey Hobart, November 4, 2014. Exhibit 67 of Snider deposition. Pl.1443.
 MCKMDL00409453.

                                                 102
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 DEA concluded that “it is apparent that McKesson Aurora avoided filing of

 suspicious order reports by giving short shrift to supposed due diligence efforts and

 manipulating the monthly thresholds that were the cornerstone of McKesson’s

 compliance program.”

             Among the DEA’s specific allegations 182 were that:

             (1)   “McKesson Livonia remained silent even as it supplied 26 pharmacies

                   that were utilized in a drug trafficking conspiracy that has since

                   resulted in the criminal conviction of the owner of these pharmacies,

                   Babubbai Patel, and dozens of other participants.” McKesson’s

                   system to identify and disclose suspicious orders “identified none

                   even when one of Patel’s pharmacies, Preferred Care Pharmacy, for

                   example, went from ordering less than 4,000 dosage units of

                   hydrocodone products in March and April of 2010 to regularly

                   ordering 16,000 dosage units a month in August 2010, to regularly

                   ordering more than 20,000 dosage units a month in 2011. The

                   threshold that was supposed to trigger review for suspicious ordering

                   by McKessson Livonia instead prompted efforts by McKesson

                   Livonia to reset this threshold to enable ever increasing hydrocodone

                   sales. Worse, hydrocodone products constituted more than 70% of the


 182
       Id.

                                               103
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                    controlled substances that Preferred Care Pharmacy was ordering – an

                    obvious indicia of diversion that was, unfortunately, quite common

                    among the Patel pharmacies and readily apparent to McKesson

                    Livonia.” 183

             (2)    “McKesson Livonia saw orders of hydrocodone from People’s

                    Pharmacy in Detroit rise from less than 10,000 dosage units a month

                    when it first came online in July 2010 to double and then triple so that

                    it was regularly ordering more than 30,000 dosage units a month by

                    the end of the year. McKesson Livonia’s only action was to regularly

                    raise thresholds to permit this, offering little more than ‘due to

                    increase in business’ as the reason why the thresholds needed to be

                    doubled and tripled. While McKesson Livonia was doing so,

                    Michigan Pharmacy Board inspectors (who subsequently suspended

                    the pharmacist’s license) were able to watch from the parking lot as

                    ‘drivers’ would drop off multiple ‘patients’ to pick up prescriptions—

                    diversion so obvious the pharmacist readily admitted misconduct to

                    investigators when confronted.” 184




 183
       Id., p. 3.
 184
       Id., p. 3.

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            (3)       “McKesson’s inability to instill a culture of compliance—even within

                      its compliance operations—may explain why McKesson WCH

                      [Washington Court House, Ohio] did not report anything suspicious

                      about Community Drug of Manchester, Kentucky—a pharmacy in a

                      town of less than 1,000 residents—ordering 20,000 to almost 50,000

                      dosage units of oxycodone products on a monthly basis in 2011.” 185




 185
       Id., p. 3-4.

                                                 105
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 VIII. Conclusions Regarding Supply Chain Defendants

    1. Information was available to AmerisourceBergen, Cardinal Health, and

       McKesson to make them aware that the volume of opioids they were

       distributing into small communities was inconsistent with public health.

    2. Information was available that oversupply of opioids inconsistent with

       public health was likely to result in serious, long lasting public health harm.

    3. AmerisourceBergen, Cardinal Health, and McKesson oversupplied these

       communities, often despite access to information demonstrating that this

       oversupply was already occurring and was resulting in public health harm.

    4. All three companies continued to oversupply even in the presence of signs of

       potential misuse and abuse of opioids inconsistent with public health, such

       as prescriptions from geographically remote pain doctors.

    5. Information was available to all three companies that abuse of prescription

       opioids was a burgeoning public health problem and that there was a

       dramatic increase in the number of opioid overdose deaths.

    6. All three companies continued to oversupply pharmacies in and near Cabell

       County with opioids, despite available information that oversupply was

       creating an opioid public health crisis.




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    7. Oversupply of opioids in and around Cabell County contributed to and

       created a public health hazard, with severe, long-lasting adverse public

       health consequences.

    8. Through their oversupply of opioids, each of these companies substantially

       contributed to the opioid epidemic in Cabell County, West Virginia and the

       resulting harms to public health.




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 I declare under penalty of perjury that the foregoing is true and correct and that this
 declaration was executed in Boston, MA on August 2, 2020.




 MICHAEL SIEGEL,
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                                  Appendix A

            All references listed in the Report and other related materials
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    City of Huntington v. AmerisourceBergen Drug Corp. et al., No. 3:17-cv-1362
   (S.D.W. Va.); Cabell County Commission v. AmerisourceBergen Drug Corp. et
                          al., No. 3:17-cv-1665 (S.D.W. Va.)
                                    Prepared for:
                          Plaintiffs’ Steering Committee
             In Re: National Prescription Opiate Litigation MDL 2804

 BATES


  ABCDMDL00419859             ABDCMDL00159415              ABDCMDL00367149
  ABDCMDL 00274105            ABDCMDL00160557              ABDCMDL00369321
  ABDCMDL 01037898            ABDCMDL00161681              ABDCMDL00369324
  ABDCMDL00000075             ABDCMDL00168157              ABDCMDL00369460
  ABDCMDL00000101             ABDCMDL00249177              ABDCMDL00375381
  ABDCMDL00000124             ABDCMDL00250023              ABDCMDL00375395
  ABDCMDL00000362             ABDCMDL00250024              ABDCMDL00375401
  ABDCMDL00000397             ABDCMDL00267013              ABDCMDL00375417
  ABDCMDL00002141             ABDCMDL00267230              ABDCMDL00375425
  ABDCMDL00003755             ABDCMDL00269301              ABDCMDL00375438
  ABDCMDL00003780             ABDCMDL00269383              ABDCMDL00375441
  ABDCMDL00003803             ABDCMDL00269683              ABDCMDL00380885
  ABDCMDL00003814             ABDCMDL00275239              ABDCMDL00383775
  ABDCMDL00003874             ABDCMDL00275474              ABDCMDL00392802
  ABDCMDL00003947             ABDCMDL00275491              ABDCMDL00397547
  ABDCMDL00004150             ABDCMDL00278154              ABDCMDL00397664
  ABDCMDL00035385             ABDCMDL00278212              ABDCMDL00398249
  ABDCMDL00037327             ABDCMDL00279037              ABDCMDL00398578
  ABDCMDL00043735             ABDCMDL00279854              ABDCMDL00400381
  ABDCMDL00043808             ABDCMDL00299243              ABDCMDL00401540
  ABDCMDL00045460             ABDCMDL00315783              ABDCMDL00451026
  ABDCMDL00046622             ABDCMDL00315789              ABDCMDL00472847
  ABDCMDL00049590             ABDCMDL00315791              ABDCMDL00474181
  ABDCMDL00145881             ABDCMDL00315887              ABDCMDL00474936
  ABDCMDL00146183             ABDCMDL00319192              ABDCMDL00476271
  ABDCMDL00151814             ABDCMDL00320377              ABDCMDL00477846
  ABDCMDL00157632             ABDCMDL00364844              ABDCMDL00500660
  ABDCMDL00158927             ABDCMDL00367145              ABDCMDL00519204
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  ABDCMDL00519734             ABDCMDL00573146             ABDCMDL04039814
  ABDCMDL00526648             ABDCMDL00573146             ABDCMDL04356316
  ABDCMDL00530976             ABDCMDL00573788             ABDCMDL04456355
  ABDCMDL00532594             ABDCMDL00573788             ABDCMDL04588575
  ABDCMDL00532594             ABDCMDL00577367             ABDCMDL05412350
  ABDCMDL00532982             ABDCMDL00581775             ABDCMDL05477009
  ABDCMDL00534839             ABDCMDL00599055             ABDCMDL05523082
  ABDCMDL00536205             ABDCMDL00599079             ABDCMDL05776505
  ABDCMDL00551506             ABDCMDL00763226             ABDCMDL05777822
  ABDCMDL00551507             ABDCMDL01291718             ABDCMDL05777914
  ABDCMDL00553434             ABDCMDL01795158             ABDCMDL05779064
  ABDCMDL00553451             ABDCMDL01911188             ABDCMDL05779143
  ABDCMDL00553456             ABDCMDL01911189             ABDCMDL05782341
  ABDCMDL00554279             ABDCMDL01911300             ABDCMDL05782532
  ABDCMDL00554556             ABDCMDL01911300             ABDCMDL05783938
  ABDCMDL00559323             ABDCMDL01911302             ABDCMDL05789381
  ABDCMDL00559551             ABDCMDL01911306             ABDCMDL05789382
  ABDCMDL00559592             ABDCMDL01911308             ABDCMDL05792544
  ABDCMDL00559593             ABDCMDL01911310             ABDCMDL05792884
  ABDCMDL00561458             ABDCMDL01911322             ABDCMDL05793300
  ABDCMDL00566061             ABDCMDL01911360             ABDCMDL05793800
  ABDCMDL00566625             ABDCMDL01911363             ABDCMDL05793855
  ABDCMDL00569561             ABDCMDL01911365             ABDCMDL05793857
  ABDCMDL00569571             ABDCMDL01911366             ABDCMDL05793926
  ABDCMDL00569571             ABDCMDL01911371             ABDCMDL05794101
  ABDCMDL00569575             ABDCMDL01911482             ABDCMDL05794524
  ABDCMDL00569615             ABDCMDL01962946             ABDCMDL05794806
  ABDCMDL00569757             ABDCMDL01962946             ABDCMDL05794815
  ABDCMDL00569845             ABDCMDL03829338             ABDCMDL05794825
  ABDCMDL00569893             ABDCMDL03829964             ABDCMDL05794843
  ABDCMDL00570348             ABDCMDL03829966             ABDCMDL05794863
  ABDCMDL00571243             ABDCMDL03830642             ABDCMDL05794865
  ABDCMDL00571243             ABDCMDL03830838             ABDCMDL05795699
  ABDCMDL00571503             ABDCMDL03831367             ABDCMDL05796063
  ABDCMDL00571504             ABDCMDL03831591             ABDCMDL05796072
  ABDCMDL00571505             ABDCMDL03831596             ABDCMDL05796115
  ABDCMDL00571804             ABDCMDL04016435             ABDCMDL05796118
  ABDCMDL00572071             ABDCMDL04021206             ABDCMDL05797229
  ABDCMDL00572178             ABDCMDL04034431             ABDCMDL05803575
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  ABDCMDL05803868             ABDCMDL05835434             ABDCMDL05846233
  ABDCMDL05804876             ABDCMDL05836358             ABDCMDL05846394
  ABDCMDL05805456             ABDCMDL05836420             ABDCMDL05846520
  ABDCMDL05805855             ABDCMDL05836422             ABDCMDL05846812
  ABDCMDL05805862             ABDCMDL05836522             ABDCMDL05846934
  ABDCMDL05814477             ABDCMDL05837842             ABDCMDL05847228
  ABDCMDL05816768             ABDCMDL05837867             ABDCMDL05847238
  ABDCMDL05816771             ABDCMDL05837889             ABDCMDL05847388
  ABDCMDL05816780             ABDCMDL05837919             ABDCMDL05847410
  ABDCMDL05816782             ABDCMDL05838291             ABDCMDL05847828
  ABDCMDL05818624             ABDCMDL05838294             ABDCMDL05847863
  ABDCMDL05818650             ABDCMDL05838298             ABDCMDL05849664
  ABDCMDL05819060             ABDCMDL05838309             ABDCMDL05850625
  ABDCMDL05819285             ABDCMDL05838713             ABDCMDL05850628
  ABDCMDL05820098             ABDCMDL05838768             ABDCMDL05853947
  ABDCMDL05820101             ABDCMDL05839317             ABDCMDL05855043
  ABDCMDL05820929             ABDCMDL05839413             ABDCMDL05855542
  ABDCMDL05820930             ABDCMDL05839577             ABDCMDL05855858
  ABDCMDL05820936             ABDCMDL05840547             ABDCMDL05855904
  ABDCMDL05820949             ABDCMDL05840749             ABDCMDL05857334
  ABDCMDL05820964             ABDCMDL05840779             ABDCMDL05857798
  ABDCMDL05821458             ABDCMDL05841683             ABDCMDL05859242
  ABDCMDL05821898             ABDCMDL05841699             ABDCMDL05859284
  ABDCMDL05822145             ABDCMDL05843143             ABDCMDL05859392
  ABDCMDL05822149             ABDCMDL05843227             ABDCMDL05859625
  ABDCMDL05825054             ABDCMDL05843230             ABDCMDL05859867
  ABDCMDL05828358             ABDCMDL05843266             ABDCMDL05860000
  ABDCMDL05828426             ABDCMDL05843270             ABDCMDL05861380
  ABDCMDL05828799             ABDCMDL05843274             ABDCMDL05861523
  ABDCMDL05829847             ABDCMDL05843279             ABDCMDL05876971
  ABDCMDL05831595             ABDCMDL05843283             ABDCMDL05877089
  ABDCMDL05832128             ABDCMDL05843288             ABDCMDL05877217
  ABDCMDL05832130             ABDCMDL05843292             ABDCMDL05888618
  ABDCMDL05834849             ABDCMDL05843297             ABDCMDL05890452
  ABDCMDL05834856             ABDCMDL05844285             ABDCMDL05893052
  ABDCMDL05834876             ABDCMDL05844389             ABDCMDL05898374
  ABDCMDL05834883             ABDCMDL05845070             ABDCMDL05921460
  ABDCMDL05834890             ABDCMDL05845467             ABDCMDL05926536
  ABDCMDL05834892             ABDCMDL05845517             ABDCMDL05926540
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  ABDCMDL05930549             ABDCMDL06963295             ABDC-STCT000056487
  ABDCMDL05933445             ABDCMDL06963413             ABDC-STCT001627672
  ABDCMDL05936092             ABDCMDL06963449             ABDC-STCT001631399
  ABDCMDL05936398             ABDCMDL06963461             ABDC-STCT001760117
  ABDCMDL06057817             ABDCMDL06963613             ABDC-STCT001967629
  ABDCMDL06083128             ABDCMDL06963739             ABDC-STCT001967772
  ABDCMDL06149436             ABDCMDL06963879             ABDC-STCT001977335
  ABDCMDL06171512             ABDCMDL06963879             ABDC-STCT001992795
  ABDCMDL06171519             ABDCMDL06964189             ABDC-STCT002105905
  ABDCMDL06244956             ABDCMDL06964826             ABDC-STCT002199479
  ABDCMDL06246464             ABDCMDL06964827             ABDC-STCT002201439
  ABDCMDL06246473             ABDCMDL06964829             ABDC-STCT002214953
  ABDCMDL06270981             ABDCMDL06964877             ABDC-STCT002214953
  ABDCMDL06273793             ABDCMDL06964897             ABDC-STCT002253763
  ABDCMDL06282791             ABDCMDL06964900             ABDC-STCT003003180
  ABDCMDL06371417             ABDCMDL06965507             ABDC-WVFED00060868
  ABDCMDL06392350             ABDCMDL06965674             ABDC-WVFED00132069
  ABDCMDL06623240             ABDCMDL06965680             ABDC-WVFED00175902
  ABDCMDL06950016             ABDCMDL06967733             ABDC-WVFED00176062
  ABDCMDL06958810             ABDCMDL06967980             ABDC-WVFED00176063
  ABDCMDL06958969             ABDCMDL06968039             ABDC-WVFED00176320
  ABDCMDL06959186             ABDCMDL06968382             ABDC-WVFED00176320
  ABDCMDL06959188             ABDCMDL06968930             ABDC-WVFED00176339
  ABDCMDL06959202             ABDCMDL06971203             ABDC-WVFED00176364
  ABDCMDL06959209             ABDCMDL06974094             ABDC-WVFED00176440
  ABDCMDL06959230             ABDCMDL07013852             ABDC-WVFED00176440
  ABDCMDL06959397             ABDCMDL07339040             ABDC-WVFED00176515
  ABDCMDL06959583             ABDCMDL07340848             ABDC-WVFED00176719
  ABDCMDL06959806             ABDCMDL07389801             ABDC-WVFED00176833
  ABDCMDL06960015             ABDCMDL07574899             ABDC-WVFED00176838
  ABDCMDL06960423             ABDCMDL08010477             ABDC-WVFED00176840
  ABDCMDL06961404             ABDCMDL08015350             ABDC-WVFED00176844
  ABDCMDL06961411             ABDCMDL08015560             ABDC-WVFED00176846
  ABDCMDL06961717             ABDCMDL08026306             ABDC-WVFED00176847
  ABDCMDL06961743             ABDCMDL08067064             ABDC-WVFED00177109
  ABDCMDL06962687             ABDCMDL08090633             ABDC-WVFED00177189
  ABDCMDL06962752             ABDCMDL08261462             ABDC-WVFED00177303
  ABDCMDL06962755             ABDCMDL08263956             ABDC-WVFED00052833
  ABDCMDL06962757             ABDCMDL08296697
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  Acquired_Actavis_00669723                 CAH_MDL_PRIORPROD_DEA07_00255114
  ACTAVIS0600353                            CAH_MDL_PRIORPROD_DEA07_00264854
  ACTAVIS0622788                            CAH_MDL_PRIORPROD_DEA07_00312047
  ACTAVIS0623837                            CAH_MDL_PRIORPROD_DEA07_00318769
  ACTIVAS0620894                            CAH_MDL_PRIORPROD_DEA07_00318789
  Anda_Opioids_MDL_0000157358               CAH_MDL_PRIORPROD_DEA07_00827879
  CAH_FEDWV_00377826                        CAH_MDL_PRIORPROD_DEA07_00827893
  CAH_FEDWV_00377860                        CAH_MDL_PRIORPROD_DEA07_00827951
  CAH_FEDWV_00377898                        CAH_MDL_PRIORPROD_DEA07_00828024
  CAH_House-002207                          CAH_MDL_PRIORPROD_DEA07_00828033
  CAH_MDL_PRIORPROD_AG_0000001              CAH_MDL_PRIORPROD_DEA07_00828103
  CAH_MDL_PRIORPROD_AG_0000101              CAH_MDL_PRIORPROD_DEA07_00828657
  CAH_MDL_PRIORPROD_AG_0000189              CAH_MDL_PRIORPROD_DEA07_00833777
  CAH_MDL_PRIORPROD_AG_0000310              CAH_MDL_PRIORPROD_DEA07_00836290
  CAH_MDL_PRIORPROD_AG_0000323              CAH_MDL_PRIORPROD_DEA07_00838532
  CAH_MDL_PRIORPROD_AG_00010003             CAH_MDL_PRIORPROD_DEA07_00840346
  CAH_MDL_PRIORPROD_AG_00010007             CAH_MDL_PRIORPROD_DEA07_00842131
  CAH_MDL_PRIORPROD_AG_0011423              CAH_MDL_PRIORPROD_DEA07_00843844
  CAH_MDL_PRIORPROD_DEA07_00000690          CAH_MDL_PRIORPROD_DEA07_00848801
  CAH_MDL_PRIORPROD_DEA07_00027472          CAH_MDL_PRIORPROD_DEA07_00849441
  CAH_MDL_PRIORPROD_DEA07_00029300          CAH_MDL_PRIORPROD_DEA07_00864791
  CAH_MDL_PRIORPROD_DEA07_00029736          CAH_MDL_PRIORPROD_DEA07_00865127
  CAH_MDL_PRIORPROD_DEA07_00030221          CAH_MDL_PRIORPROD_DEA07_00865217
  CAH_MDL_PRIORPROD_DEA07_00036562          CAH_MDL_PRIORPROD_DEA07_00865422
  CAH_MDL_PRIORPROD_DEA07_00045902          CAH_MDL_PRIORPROD_DEA07_00865458
  CAH_MDL_PRIORPROD_DEA07_00048978          CAH_MDL_PRIORPROD_DEA07_00865833
  CAH_MDL_PRIORPROD_DEA07_00073880          CAH_MDL_PRIORPROD_DEA07_00865925
  CAH_MDL_PRIORPROD_DEA07_00073882          CAH_MDL_PRIORPROD_DEA07_00866102
  CAH_MDL_PRIORPROD_DEA07_00078754          CAH_MDL_PRIORPROD_DEA07_00866183
  CAH_MDL_PRIORPROD_DEA07_00093374          CAH_MDL_PRIORPROD_DEA07_00866546
  CAH_MDL_PRIORPROD_DEA07_01045090          CAH_MDL_PRIORPROD_DEA07_00866792
  CAH_MDL_PRIORPROD_DEA07_00108999          CAH_MDL_PRIORPROD_DEA07_00866835
  CAH_MDL_PRIORPROD_DEA07_00109248          CAH_MDL_PRIORPROD_DEA07_00866835
  CAH_MDL_PRIORPROD_DEA07_00110665          CAH_MDL_PRIORPROD_DEA07_00866877
  CAH_MDL_PRIORPROD_DEA07_00135433          CAH_MDL_PRIORPROD_DEA07_00870844
  CAH_MDL_PRIORPROD_DEA07_00139527          CAH_MDL_PRIORPROD_DEA07_00877471
  CAH_MDL_PRIORPROD_DEA07_00229285          CAH_MDL_PRIORPROD_DEA07_00881918
  CAH_MDL_PRIORPROD_DEA07_00237311          CAH_MDL_PRIORPROD_DEA07_00886190
  CAH_MDL_PRIORPROD_DEA07_00255113          CAH_MDL_PRIORPROD_DEA07_00890052
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  CAH_MDL_PRIORPROD_DEA07_00941054          CAH_MDL_PRIORPROD_DEA12_00013747
  CAH_MDL_PRIORPROD_DEA07_00943200          CAH_MDL_PRIORPROD_DEA12_00014053
  CAH_MDL_PRIORPROD_DEA07_00945283          CAH_MDL_PRIORPROD_DEA12_00014133
  CAH_MDL_PRIORPROD_DEA07_00997449          CAH_MDL_PRIORPROD_DEA12_00014154
  CAH_MDL_PRIORPROD_DEA07_01001932          CAH_MDL_PRIORPROD_DEA12_00014224
  CAH_MDL_PRIORPROD_DEA07_01052516          CAH_MDL_PRIORPROD_HOUSE_0003331
  CAH_MDL_PRIORPROD_DEA07_01106580          CAH_MDL_PRIORPROD_HOUSE_0004009
  CAH_MDL_PRIORPROD_DEA07_01181262          CAH_MDL_PRIORPROD_HOUSE_0004057
  CAH_MDL_PRIORPROD_DEA07_01195604          CAH_MDL2804_00003365
  CAH_MDL_PRIORPROD_DEA07_01198345          CAH_MDL2804_00008885
  CAH_MDL_PRIORPROD_DEA07_01198690          CAH_MDL2804_00009295
  CAH_MDL_PRIORPROD_DEA07_01199376          CAH_MDL2804_00009296
  CAH_MDL_PRIORPROD_DEA07_01364699          CAH_MDL2804_00010460
  CAH_MDL_PRIORPROD_DEA07_01614503          CAH_MDL2804_00012244
  CAH_MDL_PRIORPROD_DEA07_02088028          CAH_MDL2804_00012953
  CAH_MDL_PRIORPROD_DEA07_02263715          CAH_MDL2804_00013635
  CAH_MDL_PRIORPROD_DEA07_02454619          CAH_MDL2804_00023921
  CAH_MDL_PRIORPROD_DEA07-00901772          CAH_MDL2804_00023922
  CAH_MDL_PRIORPROD_DEA07-00945906          CAH_MDL2804_00035645
  CAH_MDL_PRIORPROD_DEA12_00000001          CAH_MDL2804_00042159
  CAH_MDL_PRIORPROD_DEA12_00000057          CAH_MDL2804_00054612
  CAH_MDL_PRIORPROD_DEA12_00000405          CAH_MDL2804_00059094
  CAH_MDL_PRIORPROD_DEA12_00000852          CAH_MDL2804_00094605
  CAH_MDL_PRIORPROD_DEA12_00001553          CAH_MDL2804_00095648
  CAH_MDL_PRIORPROD_DEA12_00001571          CAH_MDL2804_00098344
  CAH_MDL_PRIORPROD_DEA12_00001619          CAH_MDL2804_00099414
  CAH_MDL_PRIORPROD_DEA12_00001950          CAH_MDL2804_00112004
  CAH_MDL_PRIORPROD_DEA12_00002240          CAH_MDL2804_00114249
  CAH_MDL_PRIORPROD_DEA12_00002241          CAH_MDL2804_00115607
  CAH_MDL_PRIORPROD_DEA12_00003244          CAH_MDL2804_00119876
  CAH_MDL_PRIORPROD_DEA12_00004122          CAH_MDL2804_00120403
  CAH_MDL_PRIORPROD_DEA12_00004124          CAH_MDL2804_00125167
  CAH_MDL_PRIORPROD_DEA12_00004166          CAH_MDL2804_00125675
  CAH_MDL_PRIORPROD_DEA12_00004353          CAH_MDL2804_00127498
  CAH_MDL_PRIORPROD_DEA12_00004368          CAH_MDL2804_00131617
  CAH_MDL_PRIORPROD_DEA12_00009161          CAH_MDL2804_00225017
  CAH_MDL_PRIORPROD_DEA12_00009192          CAH_MDL2804_00227518
  CAH_MDL_PRIORPROD_DEA12_00011836          CAH_MDL2804_00227613
  CAH_MDL_PRIORPROD_DEA12_00011853          CAH_MDL2804_00228327
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  CAH_MDL2804_00228361                      EC_ABDC_00000371
  CAH_MDL2804_00228364                      EC_ABDC_00000373
  CAH_MDL2804_00228435                      ECAH_002_001195200
  CAH_MDL2804_00350767                      ENDO-CHI_LIT-00088728
  CAH_MDL2804_00035766                      ENDO-CHI_LIT-00091261
  CAH_MDL2804_00586003                      ENDO-CHI_LIT-00470118
  CAH_MDL2804_00607480                      EPI000869986
  CAH_MDL2804_00607510                      HDA_MDL_000081283
  CAH_MDL2804_00612211                      HDA_MDL_000081363
  CAH_MDL2804_00630820                      HDA_MDL_000139905
  CAH_MDL2804_00849824                      HDA_MDL_000143030
  CAH_MDL2804_00864877                      HDA_MDL_000162206
  CAH_MDL2804_00888777                      HDA_MDL_000212579
  CAH_MDL2804_01103874                      HDA_MDL_000213058
  CAH_MDL2804_01110712                      HDA_MDL_000214349
  CAH_MDL2804_01116464                      HDA_MDL_000214864
  CAH_MDL2804_01465723                      HDA_MDL_000214979
  CAH_MDL2804_02350970                      HDA_MDL_000215212
  CAH_MDL2804_02350970                      HDA_MDL_000215234
  CAH_MDL2804_02465982                      HDA_MDL_000215966
  CAH_MDL2804_02489188                      HSI-MDL-00620224
  CAH_MDL2804_02489197                      INSYS-MDL-006972647
  CAH_MDL2804_02489199                      INSYS-MDL-006981639
  CAH_MDL2804_02509732                      INSYS-MDL-007018994
  CAH_MDL2804_03309960                      MCK_LIV_00001367
  CAH_MDL2804_03481712                      MCK_WCH_00004192
  CAH_MDL2804_03481712                      MCK_WCH_00004556
  CAH_MDL-PRIORPROD_DEA07_00044360          MCK220_0000001
  CAH_MDL-PRIORPROD_DEA07_00049834          MCK220_0000177
  CAH_MDL-PRIORPROD_DEA07_00056381          MCK220_0005716
  CAH_MDL-PRIORPROD_DEA07_00084987          MCKMDL00000001
  CAH_MDL-PRIORPROD_DEA07_00087069          MCKMDL00000021
  CAH_MDL-PRIORPROD_DEA07_00090266          MCKMDL00000497
  CAH_MDL-PRIORPROD_DEA07_00090818          MCKMDL00000497
  CAH_MDL-PRIORPROD_DEA07_00254188          MCKMDL00000520
  CAH_MDL-PRIORPROD_DEA07_00908486          MCKMDL00000527
  CAH_MDL-PRIORPROD_DEA07_00919823          MCKMDL00001780
  CAH_MDL-PRIORPROD_DEA07_02738704          MCKMDL00002509
  CAH_NYConsolidated-1061301                MCKMDL00016260
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MCKMDL00017011                 MCKMDL00336768                  MCKMDL00408457
MCKMDL00019458                 MCKMDL00336833                  MCKMDL00408491
MCKMDL00027289                 MCKMDL00336833                  MCKMDL00409048
MCKMDL000694273                MCKMDL00337001                  MCKMDL00409050
MCKMDL00078612                 MCKMDL00340261                  MCKMDL00409113
MCKMDL00086151                 MCKMDL00340265                  MCKMDL00409116
MCKMDL00087743                 MCKMDL00340324                  MCKMDL00409174
MCKMDL00139487                 MCKMDL00340339                  MCKMDL00409180
MCKMDL00165167                 MCKMDL00340933                  MCKMDL00409224
MCKMDL00165825                 MCKMDL00346554                  MCKMDL00409247
MCKMDL00167516                 MCKMDL00347073                  MCKMDL00409453
MCKMDL00167852                 MCKMDL00347189                  MCKMDL00409483
MCKMDL00168136                 MCKMDL00353261                  MCKMDL00410744
MCKMDL00264519                 MCKMDL00353305                  MCKMDL00417992
MCKMDL00265988                 MCKMDL00353368                  MCKMDL00418094
MCKMDL00266005                 MCKMDL00353374                  MCKMDL00425053
MCKMDL00267223                 MCKMDL00354038                  MCKMDL00429024
MCKMDL00267635                 MCKMDL00355350                  MCKMDL00430124
MCKMDL00312560                 MCKMDL00355416                  MCKMDL00430218
MCKMDL00312574                 MCKMDL00355623                  MCKMDL00431473
MCKMDL00314329                 MCKMDL00355679                  MCKMDL00435993
MCKMDL00316518                 MCKMDL00383759                  MCKMDL00441794
MCKMDL00317022                 MCKMDL00395901                  MCKMDL00448596
MCKMDL00317036                 MCKMDL00402184                  MCKMDL00452353
MCKMDL00328655                 MCKMDL00403340                  MCKMDL00462432
MCKMDL00329613                 MCKMDL00403517                  MCKMDL00469862
MCKMDL00330008                 MCKMDL00403610                  MCKMDL00476776
MCKMDL00330174                 MCKMDL00403613                  MCKMDL00476786
MCKMDL00330211                 MCKMDL00406089                  MCKMDL00478906
MCKMDL00330924                 MCKMDL00406726                  MCKMDL00478910
MCKMDL00330965                 MCKMDL00406818                  MCKMDL00496306
MCKMDL00330991                 MCKMDL00406997                  MCKMDL00496859
MCKMDL00331167                 MCKMDL00407036                  MCKMDL00496876
MCKMDL00331365                 MCKMDL00407071                  MCKMDL00498057
MCKMDL00331660                 MCKMDL00407130                  MCKMDL00498169
MCKMDL00331678                 MCKMDL00407138                  MCKMDL00507218
MCKMDL00331721                 MCKMDL00407195                  MCKMDL00507221
MCKMDL00331724                 MCKMDL00407448                  MCKMDL00507799
MCKMDL00331886                 MCKMDL00407449                  MCKMDL00510747
MCKMDL00332365                 MCKMDL00407451                  MCKMDL00513465
MCKMDL00335649                 MCKMDL00407476                  MCKMDL00516748
MCKMDL00335740                 MCKMDL00407771                  MCKMDL00517694
MCKMDL00336532                 MCKMDL00407734                  MCKMDL00522830
MCKMDL00336634                 MCKMDL00408454                  MCKMDL00524095
   Case 3:17-cv-01362 Document 1329-6 Filed 05/08/21 Page 119 of 192 PageID #: 49480

MCKMDL00524136                 MCKMDL00627168                  MCKMDL01509848
MCKMDL00525435                 MCKMDL00627955                  MCKMDL01513753
MCKMDL00525556                 MCKMDL00628110                  MCKMDL01513760
MCKMDL00525585                 MCKMDL00628187                  MCKMDL01940513
MCKMDL00525915                 MCKMDL00631897                  MCKMDL01940693
MCKMDL00531793                 MCKMDL00632098                  MCKMDL01940721
MCKMDL00533747                 MCKMDL00632438                  MCKMDL01940951
MCKMDL00536290                 MCKMDL00632877                  MCKMDL01944751
MCKMDL00543406                 MCKMDL00633443                  MCKMDL02065947
MCKMDL00543457                 MCKMDL00634271                  MCKMDL02065950
MCKMDL00543462                 MCKMDL00634329                  MCKMDL02102775
MCKMDL00543610                 MCKMDL00645396                  MCKMDL02104903
MCKMDL00543764                 MCKMDL00648527                  MCKMDL02105176
MCKMDL00543795                 MCKMDL00651560                  MCKSTCT00059013
MCKMDL00543971                 MCKMDL00661479                  MCMMDK00694271
MCKMDL00545132                 MCKMDL00661483                  MKMDL00265454
MCKMDL00545185                 MCKMDL00694261                  ML00057311
MCKMDL00545341                 MCKMDL00694372                  MNK-T1_0000291432
MCKMDL00549231                 MCKMDL00721359                  MNK-T1_0000311674
MCKMDL00552563                 MCKMDL00721366                  MNK-T1_0000311706
MCKMDL00555966                 MCKMDL00721376                  MNK-T1_0000311707
MCKMDL00557113                 MCKMDL00722722                  MNK-T1_0000491718
MCKMDL00558286                 MCKMDL00730688                  MNK-T1_0000571352
MCKMDL00561303                 MCKMDL00730710                  PPLP003361253
MCKMDL00573318                 MCKMDL00735703                  PPLP003361649
MCKMDL00573502                 MCKMDL00735713                  PPLP003361661
MCKMDL00573535                 MCKMDL00736746                  PPLP003361918
MCKMDL00574061                 MCKMDL00746673                  PPLP003362005
MCKMDL00574192                 MCKMDL00748093                  PPLP003362194
MCKMDL00574202                 MCKMDL00750135                  PPLP004151715
MCKMDL00574488                 MCKMDL00780877                  PPLP004301234
MCKMDL00574906                 MCKMDL00781102                  US-DEA-00007949
MCKMDL00586261                 MCKMDL00827928                  US-DEA-00008847
MCKMDL00591949                 MCKMDL00830338                  US-DEA-00016114
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                                                                  Epidemiology of
               Department of Health and Human                     Pedestrian Injury in a
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  11/1/2012    Wakasugi et al.                                    Use of Japanese Society
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  3/18/2016    Hauser et al.                                      The opioid epidemic and
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               Pain Management                                    therapy for chronic
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  12/2010      Campbell et al.                                    Age and Gender Trends
                                                                  in Long-Term Opioid
               American Journal of Public Health:                 Analgesic Use for
               Research and Practice                              Noncancer Patients

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               Morbidity and Mortality Weekly                     Prescribing Patterns —
               Report                                             Prescription Behavior
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                                                                  Eight States, 2013

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                                                                  characteristics of opioid
               International Association for the                  use in the US adult
               Study of Pain: PAIN                                population
  6/2020       Hales et al.                                       Prevalence of Prescription
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               National Center for Health                         Among Adults: United
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  1/31/2020    Center for Disease Control:                Opioid Prescribing
               Morbidity and Mortality Weekly             Behaviors—Prescription
               Report                                     Behavior Surveillance
                                                          System, 11 States, 2010-
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  5/29/2018    Healthcare Distribution Alliance           HDA Executive
                                                          Committee members of
                                                          the Board of Directors
  3/9/2017     City.cleveland.oh.gov                      Mayor Frank G. Jackson
                                                          Addresses Northeast Ohio
                                                          Opioid Epidemic March
                                                          10 -City trains and equips
                                                          all first responders to
                                                          prevent opioid and heroin
                                                          overdose
  2/13/2017    Krouse                             Peter   Opioid addiction means
                                                          more Ohio kids in
                                                          protective
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  10/22/2016   Bernstein                          Lenny   Investigation: The DEA
                                                          slowed enforcement while
                                                          the opioid epidemic grew
                                                          out of control
  5/23/2018    National Institute on Drug Abuse           NIH Infographic:
                                                          Dramatic Increases in
                                                          Maternal Opioid Use and
                                                          Neonatal Abstinence
                                                          Syndrome
  3/6/2018     U.S. Department of Health and              What is the U.S. Opioid
               Human Services                             Epidemic?

  5/4/2018     U.S. House of Representatives              Tug Valley Pharmacy and
               Committee on Energy and                    Hurley Drug Co. are 0.2
               Commerce                                   miles apart

  6/19/2018    McKesson                                   McKesson Careers; Job
                                                          Description -Director
                                                          Regulatory Affairs
  6/22/2018    www.google.com                             Google map showing
                                                          West Virginia hospitals
  7/5/2018     Medicinenet                                Medical Definition of
                                                          P.R.N.
  11/15/2012   US Department of Justice                   Mingo County Pharmacist
                                                          Sentenced to Prison Time
                                                          for Conspiracy to Acquire
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                                                            Controlled Substances by
                                                            Fraud
  7/10/2018    https://batchgeo.com/map                     McKesson Drug
                                                            Distribution Locations -
                                                            Mainland US
  7/10/2018    www.McKesson.com                             Pharmaceutical
                                                            Distribution Services &
                                                            Solutions, McKesson
                                                            Pharmaceutical
  7/15/2018    Healthcare Distribution Alliance             Healthcare Distribution
                                                            Alliance History
  1/1/2018     www.McKesson.com                             Actiq Opiate Agonist
                                                            Fentanyl Citrate 400 mcg
                                                            Buccal Lozenge HD
                                                            Blister Pack 30 Lozenges
                                                            CII
  5/5/2018     U.S. House of Representatives                Memorandum RE:
               Committee on Energy and                      Hearing on Combating
               Commerce                                     the Opioid Epidemic
                                                            Examining Concerns
                                                            about Distribution and
                                                            Diversion
  7/9/2018     www.McKesson.com                             Relay Health Pharmacy
                                                            Solutions
  3/23/2018    Jacobson                           Louis     Does West Virginia lead
                                                            the nation in overdose
                                                            drug death rate? Yes
  10/15/2017   Higham                             Scott     The Drug Industry's
                                                            Triumph Over the DEA
  3/6/2018     Krebs                              Erin E.   Effect of Opioid vs
                                                            Nonopioid Medications
                                                            on Pain-Related
                                                            Functions in Patients with
                                                            Chronic Back Pain or Hip
                                                            or Knee Osteoarthritis
                                                            Pain
  6/13/2017    Fry                                Erika     Fortune: Following the
                                                            Pills: Inside the
                                                            Government's
                                                            Investigation of
                                                            McKesson
  12/17/2017   Bernstein                          Lenny     We feel like our system
                                                            was hijacked': DEA
                                                            agents say a huge opioid
                                                            case ended in a whimper
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  6/13/2017    Fry                          Erika        Fortune: As America's
                                                         Opioid Crisis Spirals,
                                                         Giant Drug Distributor
                                                         McKesson Is Feeling the
                                                         Pain
  12/17/2016   Eyre                         Eric         Drug firms poured 780M
                                                         painkillers into WV amid
                                                         rise of overdoses
  7/24/2013    Koba                         Mark         Deadly epidemic:
                                                         Prescription drug
                                                         overdoses
  4/1/2014     McKinlay                     John         Effects of Patient
                                                         Medication Requests on
                                                         Physician Prescribing
                                                         Behavior Results of A
                                                         Factorial Experiment
  2/1/2015     Hwang                        Catherine    Prescription Drug Abuse:
                                                         A National Survey of
                                                         Primary Care Physicians
  9/5/2014     Danner                       Patrick      H-E-B, CVS fined over
                                                         prescriptions
  5/3/2015     Knittle                      Andrew       Oklahoma pharmacy
                                                         board stays busy, hands
                                                         out massive fines at times
  1/3/2018     AmerisourceBergen                         AmerisourceBergen
                                                         Completes Acquisition of
                                                         HD Smith
  11/21/2017   AmerisourceBergen                         AmerisourceBergen to
                                                         Acquire HD Smith
  2/6/2018     Eyre                         Eric         Opioid epidemic costs
                                                         WV $8.8 billion annually,
                                                         study says
  12/18/2016   Eyre                         Eric         Suspicious' drug order
                                                         rules never enforced by
                                                         state
  6/13/2017    Fry                          Erika        McKesson Distribution
                                                         Center Photo from
                                                         Fortune 500 article
  6/8/2006     Eriksen                      Jorgen       Critical issues on opioids
                                                         in chronic non-cancer
                                                         pain: An epidemiological
                                                         study
  7/1/2008     Chu                          Larry        Opioid-induced
                                                         Hyperalgesia in Humans,
                                                         Molecular Mechanisms
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                                                         and Clinical
                                                         Considerations
  1/1/2008     Daniell                      Harry        Opioid Endocrinopathy in
                                                         Women Consuming
                                                         Prescribed Sustained-
                                                         Action Opioids for
                                                         Control of Nonmalignant
                                                         Pain
  11/6/2014    Meyer                        Roxanne      Prescription Opioid
                                                         Abuse: A Literature
                                                         Review of the Clinical
                                                         and Economic Burden in
                                                         the United States
  1/26/2011    Kenzevich                    Alison       Prescription drug abuse
                                                         plagues small W.Va. town
  12/10/2008   Hall                         Aron J.      JAMA Patterns of Abuse
                                                         Among Unintentional
                                                         Pharmaceutical Overdose
                                                         Fatalities
  11/28/2017   Deskins                      John         WVU chief economist:
                                                         Opioid crisis has cost
                                                         West Virginia nearly $1
                                                         billion
  10/1/2013    Wall                         Angela       Oklahoma State Board of
                                                         Pharmacy; published to
                                                         promote compliance of
                                                         pharmacy and drug law
  1/1/2008     Manchikanti                  Laxmaiah     Therapeutic Opioids: A
                                                         Ten-Year Perspective on
                                                         the Complexities and
                                                         Complications of the
                                                         Escalating Use, Abuse,
                                                         and Nonmedical Use of
                                                         Opioids
  3/1/2018     Brill                        Alex         The Geographic Variation
                                                         in the Cost of the Opioid
                                                         Crisis
  3/1/2009     Johnson                      Curtis       Big pill network exposed
  1/25/2014    Huffington Post                           Candy Man' Doctor Julio
                                                         Gabriel Diaz Pleads
                                                         Guilty To Drug
                                                         Trafficking In Drug
                                                         Deaths
  4/19/2011    Ruffini                      Christina    America's fastest-growing
                                                         drug problem:
                                                         Prescription drug abuse
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  10/17/2012   Meier                             Barry      A New Painkiller
                                                            Crackdown Targets Drug
                                                            Distributors
  12/10/2013   Reynolds                          Ann        Doctors Group Backs
                                                            Tougher Rules Targeting
                                                            Prescription Drug Abuse
  6/15/2017    Fortune                                      As America's Opioid
                                                            Crisis Spirals, Giant Drug
                                                            Distributor McKesson is
                                                            Feeling the Pain
  9/29/2011    Laasby                            Gitte      Milwaukee Wisconsin
                                                            Journal Sentinel article:
                                                            23 charged in pharmacy
                                                            drug investigation
  5/10/2007    Meier                             Barry      New York Times article:
                                                            In Guilty Plea, OxyContin
                                                            Maker to Pay $600
                                                            Million
  12/18/2016   Ryan                              Harriett   OxyContin goes global -
                                                            "We're only just getting
                                                            started"
  1/29/2018    Eyre                              Eric       Drug firms shipped
                                                            20.8M pain pills to WV
                                                            town with 2,900 people
  10/21/2005   Drug Enforcement Administration              News Release: King
                                                            Soopers Agrees to Pay
                                                            Record Amount for
                                                            Violations of the
                                                            Controlled Substances
                                                            Act (CSA)
  1/31/2017    Eyre                              Eric       Flooded with pain pills, a
                                                            WV town strikes back
                                                            against drug distributors
  4/11/2012    Nieves                            Evelyn     America's pill-popping
                                                            capital, Welcome to
                                                            Kermit, W.Va. - ground
                                                            zero of the prescription
                                                            drug epidemic
  10/20/2017   Wiederspiel                       Alex       Government secures ninth
                                                            and tenth convictions in
                                                            oxycodone ring
  10/20/2017   Dawsom                            Kyle       West Virginia residents
                                                            admit to oxycodone
                                                            distribution
  5/9/2017     Higham                            Scott      House panel probes drug
                                                            distributors and DEA
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                                                         amid national opioid
                                                         crisis
  10/23/2017   Wiederspiel                   Alex        Monongalia County man
                                                         becomes 11th conviction
                                                         in oxycodone operation
  1/8/2016     www.williamsondailynews.com               Press Release: Attorney
                                                         General Morrisey files
                                                         lawsuit
  5/9/2017     Wood                          Pene        It's time we dealt with a
                                                         prescribed killer
  1/7/2016     Axelrod                       Jim         Drug distributors under
                                                         fire in West Virginia
                                                         painkiller epidemic
  10/19/2017   democracynow.org                          Who Profits from the
                                                         Opioid Crisis? Meet the
                                                         Secretive Sackler Family
                                                         Making Billions from
                                                         OxyContin
  10/24/2017   Snell                         Robert      McComb doctor flooded
                                                         streets with pain meds,
                                                         feds say
  1/8/2016     Hill                          James       Inside the pill mill
  10/19/2017   Cawley                        Gayla       Lynn bust yields $300K
                                                         in crack and oxycodone
  10/19/2017   Haas                          Laura       Milwaukee County panel
                                                         backs hiring legal experts
                                                         to file suits against opioid
                                                         drug makers
  12/20/2016   Pharmpro.com/news                         Report: DEA Records
                                                         Show W. Va. Flooded
                                                         with Painkillers
  10/25/2017   Fitzpatrick                   Kyle        Insurers Want to Stop
                                                         Covering OxyContin - but
                                                         Will It Help Stem the
                                                         Opioid Epidemic?
  12/21/2016   Rt.com                                    Drug firms shipped
                                                         780mn addictive pain
                                                         pills to W. Virginia as
                                                         overdose deaths
                                                         skyrocketed - report
  10/23/2017   Telegram.com                              Southbridge man gets 4
                                                         years for selling pills
  10/23/2017   Sun-sentinel.com                          Former South Florida
                                                         "pill mill" operator
                                                         sentenced to 6 years
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  5/9/2017     Marsh                        Sarah        I am so addicted to
                                                         OxyContin'; readers on
                                                         prescription painkillers
  12/21/2016   Park                         Alice        These Are the 10 Most
                                                         Deadly Drugs
  5/8/2017     USNews.com                                Man Sentenced to 14
                                                         Years in Prison in
                                                         Oxycodone Ring
  3/14/2017    Siemaszk                     Corky        Too Many Bodies in Ohio
                                                         Morgue, so Coroner Gets
                                                         Death Trailer
  10/17/2018   Routley                      Nick         The Numbers Behind
                                                         America's Opioid
                                                         Epidemic
  7/6/2015     PRNewswire.com                            Cardinal Health
                                                         Completes Acquisition Of
                                                         The Harvard Drug Group
                                                         For $1.115 Billion
  5/25/2016    McGreal                      Chris        How cracking down on
                                                         America's painkiller
                                                         capital led to a heroin
                                                         crisis
  5/14/2014    Oconnor                      Phillip      New Oklahoma law
                                                         targets prescription drug
                                                         overdose epidemic
  4/30/2015    Lesner                       Marissa      Overdose Deaths Rise
                                                         Among Baby Boomers
  10/16/2014   Vielmetti                    Bruce        50 charged in massive
                                                         oxycodone trafficking
                                                         conspiracy
  3/9/2017     Moore                        John         Opioid distributors sued
                                                         by West Virginia counties
                                                         hit by drug crisis
  11/17/2006   Dunn                         Andrew       Pharmacy Raided by
                                                         DEA Agents
  10/1/2018    PRNewswire.com                            Former
                                                         AmerisourceBergen
                                                         Executive Blows the
                                                         Whistle on Massive Drug
                                                         Overfill Laundering
                                                         Scheme, Leading to $885
                                                         Million Combined Civil
                                                         and Criminal Settlement
  5/5/2018     Sullivan                     Thomas       Drug Wholesalers to Pay
                                                         $36 Million Over West
                                                         Virginia Pill Mill Claims
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  8/21/2016   Holdren                       Wendy        Report Shows Wyoming
                                                         County worst in country
                                                         for prescription drug
                                                         deaths
  3/13/2018   CNN.com                                    Drug deaths rose 8,370%
                                                         in some US counties over
                                                         34 years - CNN
  4/17/2017   Roanoke.com                                Former Giles County
                                                         doctor, stripped of
                                                         license, faces federal
                                                         criminal probe
  4/26/2018   Register-Herald                            HOPE Clinic doctor
                                                         Pellegrini pleads guilty in
                                                         drug case
  4/26/2013   O'Malley                      Sheila       At the Tribeca Film
                                                         Festival: A message to
                                                         you from a West Virginia
                                                         town ruined by
                                                         OxyContin
  5/10/2013   Boucher                       Dave         Oceana officials admit
                                                         drugs pose problem,
                                                         search for solution
  4/19/2013   Arnowitz                      Leora        Oxyana; premieres at
                                                         Tribeca Film Festival,
                                                         gives an up-close look at
                                                         drug use in West Virginia
  5/13/2013   Boucher                       Dave         Small town faces up to
                                                         film's image of Oxyana
  4/22/2013   Thedailybeast.com                          Oxyana Documentary, at
                                                         Tribeca, Exposes the
                                                         OxyContin Epidemic
  5/23/2015   Register-Herald                            State investigative report
                                                         reveals numerous
                                                         violations at HOPE pain
                                                         clinic
  5/25/2015   Washingtontimes.com                        Report: Closed pain
                                                         clinic's practices put
                                                         patients at risk
  3/29/2015   Eyre                          Eric         W.Va. Pain clinics
                                                         scrutinized; 3 facilities
                                                         shut down
  7/2/2015    Quesenberry                   Wayne        Wytheville clinic's
                                                         neighbors complain
  1/6/2016    Axelrod                       Jim          West Virginia allows
                                                         painkiller addicts to sue
                                                         prescribing doctors
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  7/19/2019   Hessler                          Courtney      More than 65 million
                                                             opioids flooded Cabell
                                                             County over 7 years, data
                                                             shows
  5/23/2020   Kornfield                        Meryl         Drug distributor
                                                             employees emailed a
                                                             parody song about
                                                             'pillbillies,' documents
                                                             show
  2/28/2011   Cerabino                         Frank         Herald-Tribune Article: A
                                                             healthy dose of shaming
  10/1/2017   Goff                             Mike          West Virginia Board of
                                                             Pharmacy, Prescription
                                                             Opioid Problematic
                                                             Prescribing Indicators
                                                             County Report - Cabell
                                                             County
  2/10/2020   Center for Disease Control and                 CDC Wonder Multiple
              Prevention                                     Cause of Death Data,
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  7/31/2017   Center for Disease Control and                 CDC. U.S. County
              Prevention                                     Prescribing Rates, 2016

  7/25/2020   Center for Disease Control and                 CDC 2018 Drug
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  9/22/2017   Massey                           Joel          Opioid Overdose
                                                             Outbreak — West
                                                             Virginia, August 2016
                                                             Vol. 66 / No. 37 975
  1/1/2018    Ruhm                             Christopher   Deaths of Despair or
                                                             Drug Problems?
  11/4/2011   Center for Disease Control and                 Vital Signs: Overdoses of
              Prevention                                     Prescription Opioid Pain
                                                             Relievers United States,
                                                             1999--2008
  12/1/2006   Paulozzi                         Leonard       Opioid Analgesics and
                                                             Rates of Fatal Drug
                                                             Poisoning in the United
                                                             States
  2/2/2013    Modarai                          F             Relationship of opioid
                                                             prescription sales and
                                                             overdoses, North Carolina
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  10/1/2010    Piercefield                  Emily         Increase in Unintentional
                                                          Medication Overdose
                                                          Deaths: Oklahoma, 1994-
                                                          2006
  12/1/2010    Paulozzi                     Leonard       Prescription drug laws,
                                                          drug overdoses, and drug
                                                          sales in New York and
                                                          Pennsylvania
  11/1/2006    Sims Laverne                 Shannon A.    Surveillance of
                                                          methadone-related
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                                                          multiple public health
                                                          data sources
  11/20/2017   Grigoras                     Christos A.   Correlation of Opioid
                                                          Mortality with
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                                                          sectional Study of
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  1/21/2014    Turk                         Dennis        Physicians’ Beliefs and
                                                          Likelihood of Prescribing
                                                          Opioid Tamper-Resistant
                                                          Formulations for Chronic
                                                          Noncancer Pain Patients
  2/12/2013    Jones                        Christopher   Heroin use and heroin use
                                                          risk behaviors among
                                                          nonmedical users of
                                                          prescription opioid pain
                                                          relievers – United States,
                                                          2002-2004 and 2008-
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  8/1/2013     Muhuri                       Pradip        Associations of
                                                          Nonmedical Pain Reliever
                                                          Use and Initiation of
                                                          Heroin Use in the United
                                                          States
  7/7/2015     Jones                        Christopher   Vital signs: demographic
                                                          and substance use trends
                                                          among heroin users—
                                                          United States, 2002–2013
  7/16/2019    Freudenberg                  Nicholas      Corporate Crime
                                                          Reporter: Nick
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                                                          Corporation the
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  1/1/2013    Trussell                           Jennifer    Spotlight On… Drug
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  5/1/2007    Villarroel                         Elisabeth   Going Public: Pharma’s
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  8/22/2019   AmerisourceBergen                              AmerisourceBergen
                                                             Expands Opioid
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  9/1/2019    AmerisourceBergen                              AmerisourceBergen: Safe
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                                                             September 2019
  3/1/2018    Cardinal Health                                Cardinal Health: Anti-
                                                             Diversion & Regulation
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                                                         the Opioid Abuse
                                                         Epidemic: A Shared
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                                                         Solutions, March, 2017
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  2/1/2015     Frenk                           Steven    Prescription Opioid
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                                                         Adults: United States,
                                                         1999-2012
  12/1/2019    Frenk                           Steven    Prevalence of Prescription
                                                         Opioid Analgesic Use
                                                         Among Adults: United
                                                         States, 2013-2016
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                                                         pharmacy shopping for
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                                                         identification of
                                                         presumptive opioid abuse
                                                         disorders in health
                                                         insurance claims data
  8/11/2014    McDonald                        DC        The ecology of
                                                         prescription opioid abuse
                                                         in the USA: geographic
                                                         variation in patients’ use
                                                         of multiple prescribers
                                                         (“doctor shopping”).
                                                         Pharmacoepidemiology
                                                         and Drug Safety 2014;
                                                         23(12):1258-1267.
  8/28/2001    Committee on Energy and                   OxyContin: Its Use and
               Commerce                                  Abuse
  12/3/2008    Miller                          Ernest    West Virginia Board of
                                                         Osteopathy. 2008 Annual
                                                         Report, July 1, 2006 to
                                                         June 30, 2008
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  8/27/2007    AmerisourceBergen                       AmerisourceBergen:
                                                       DEA Reinstates
                                                       AmerisourceBergen’s
                                                       Orlando Distribution
                                                       Center’s Suspended
                                                       License to Distribute
                                                       Controlled Substances
  12/23/2016   US Department of Justice                United States Reaches
                                                       $34 Million Settlement
                                                       With Cardinal Health For
                                                       Civil Penalties Under The
                                                       Controlled Substances
                                                       Act
  6/4/2020     Morrisey                     Patrick    DEA’s Failure to Combat
                                                       Diversion Cost Lives:
                                                       Results from the West
                                                       Virginia Attorney
                                                       General’s Investigation
                                                       into the DEA’s
                                                       Catastrophic Failure to
                                                       Manage the National
                                                       Drug Quota System from
                                                       2010-2016
  8/16/2017    Qato                         Dima Mazen The availability of
                                                       pharmacies in the United
                                                       States: 2007 -2015
  8/3/2020     Statisticalatlas.com                    Statistical Atlas Age and
                                                       Sex in California
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 OTHER


               Last Name or                First
  Date                                              Document Description
               Source/Publication          Name
  5/31/2018    Committee on Energy and              Letter to John H. Hammergren,
               Commerce                             McKesson Corporation, from
                                                    Committee on Energy and Commerce
  5/8/2018     McKesson                             Testimony of John Hammergren,
                                                    Chairman, President, and Chief
                                                    Executive Officer, McKesson
                                                    Corporation
  5/8/2018     Committee on Energy and              Letter to John H. Hammergren,
               Commerce                             McKesson Corporation, from
                                                    Committee on Energy and Commerce
  5/8/2018     Committee on Energy and              Letter to George S. Barrett, Cardinal
               Commerce                             Health, from Committee on Energy
                                                    and Commerce
  5/8/2018     Cardinal Health                      Testimony of George S. Barrett,
                                                    Executive Chairman, Cardinal Health

  5/8/2018     Committee on Energy and              AmerisourceBergen Corporation
               Commerce                             Written Statement of Steven Collis,
                                                    Chairman, President, and Chief
                                                    Executive Officer AmerisourceBergen
                                                    Corporation
  5/8/2018     Committee on Energy and              Combating the Opioid Epidemic:
               Commerce                             Examining Concerns About
                                                    Distribution and Diversion, House of
                                                    Representatives Subcommittee on
                                                    Oversight and Investigations
                                                    Committee on Energy and Commerce,
                                                    transcript
  2/16/2005    Gray                        John     Statement of John M. Gray, President
                                                    and CEO of the Healthcare
                                                    Distribution Management Association.
                                                    Drug Importation: The Realities of
                                                    Safety and Security. Hearing before
                                                    the Committee on Health, Education,
                                                    Labor, and Pensions, United States
                                                    Senate, February 16, 2005
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  12/19/2018   Committee on Energy and                    Red Flags and Warning Signs Ignored:
               Commerce                                   Opioid Distribution and Enforcement
                                                          Concerns in West Virginia
  1/21/2014    Freudenberg                     Nicholas   Freudenberg N. Lethal but Legal:
                                                          Corporations, Consumption, and
                                                          Protecting Public Health. Oxford:
                                                          Oxford University Press; 2014.
  2/15/2018    Walden                          Greg       U.S. House of Representatives
                                                          Committee on Energy and Commerce
                                                          Letter to George Barrett and Michael
                                                          Kaufmann Investigation into West
                                                          Virginia
  2/15/2018    Walden                          Greg       U.S. House of Representatives
                                                          Committee on Energy and Commerce
                                                          Letter to John Hammergren;
                                                          Investigation into West Virginia
  5/5/2018     Barrett                         George     Memorandum Re: Hearing on
                                                          'Combating the Opioid Epidemic:
                                                          Examining Concerns about
                                                          Distribution and Diversion"
  5/9/2018     Department of Justice                      Legal code: Part 1301
  10/2/2008    US Attorney's Office Colorado              Cardinal Health Inc. Agrees to Pay
                                                          $34 Million
  5/2/2008     Department of Justice                      McKesson Corporation agrees to pay
                                                          more than $13 million
  1/17/2017    Department of Justice                      McKesson agrees to pay record $150
                                                          million settlement
  1/1/2016     Center for Disease Control                 Morbidity and Mortality Weekly
                                                          Report; Increases in Drug and Opioid
                                                          overdose deaths - United States 2000 -
                                                          2014
  12/16/2016   Center for Disease Control                 CDC Morbidity and Mortality Weekly
                                                          Report; Increases in Drug and Opioid
                                                          overdose deaths - United States 2010 -
                                                          2015
  2/13/2018    Altarum.org                                Economic Toll of Opioid Crisis in US
                                                          Exceeded $1 Trillion Since 2001

  4/20/2018    McKesson                                   McKesson Corporation Board of
                                                          Directors' Response to International
                                                          Brotherhood of Teamsters
  3/7/2012     Healthcare Distribution                    Healthcare Distribution Management
               Management Association                     Association HDMA Industry
                                                          Compliance Guidelines: reporting
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                                                     suspicious orders and preventing
                                                     diversion of controlled substances

  1/1/2015     National Institute                    National Overdose Deaths -Number of
               on Drug Abuse                         deaths involving all drugs 2002-2015
  8/30/2017    Center for Disease Control            Understanding the Epidemic -3 Waves
                                                     of the rise in opioid overdose deaths
  8/1/2017     Center for Disease Control            Prescription Opioid Overdose Data,
                                                     Key Data, Prescription Opioid Map,
                                                     Prescription Opioid Graph
  5/23/2018    Murthy                       Vivek    Letter from the Surgeon General
  5/3/2017     US Congress                           Letter to the World Health
                                                     Organization warning of deceptive
                                                     and dangerous practices of
                                                     Mundipharma International -an arm of
                                                     Purdue Pharmaceuticals
  4/6/2011     Bohnert                      Amy      AMA JAMA April 6, 2011 Vol 305,
                                                     No.13
  10/1/2020    Daniell                      Harry    Hypogonadism in Men Consuming
                                                     Sustained-Action Oral Opioids
  3/7/2012     Seal                         Karen    Association of Mental Health
                                                     Disorders With Prescription Opioids
                                                     and High-Risk Opioid Use in US
                                                     Veterans of Iraq and Afghanistan

  4/4/1995     Johnson                      Lydia    Memorandum from Lydia Johnson,
                                                     marketing executive at Purdue, to
                                                     members of OxyContin launch team
  2/19/2017    Center for Disease Control            CDC Opioid Data Analysis
  11/4/2011    Center for Disease Control            Vital Reports Overdoses of
                                                     Prescription Opioid Pain Relievers
  5/4/2018     Committee Majority                    U.S. House of Representatives
               Staff                                 Committee on Energy and Commerce
                                                     memo re: Hearing entitled
                                                     "Combating the Opioid Epidemic:
                                                     Examining Concerns About
                                                     Distribution and Diversion
  9/27/2006    Rannazzisi                   Joseph   U.S. Department of Justice Drug
                                            T.       Enforcement Administration In
                                                     reference to registration
  12/27/2007   Rannazzisi                   Joseph   U.S. Department of Justice Drug
                                            T.       Enforcement Administration In
                                                     reference to registration
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  5/1/2014     Department of Justice                The Drug Enforcement
                                                    Administration’s Adjudication
                                                    of Registrant Actions May 2014
  7/11/2017    Department of Justice                CVS Pharmacy Inc. Pays $5M to
                                                    Settle Alleged Violations of the
                                                    Controlled Substance Act
  2/12/2016    Department of Justice                United States Reaches $8 Million
                                                    Settlement Agreement with CVS for
                                                    Unlawful Distribution of Controlled
                                                    Substances
  10/20/2016   Department of Justice                CVS Pharmacy Pays $600,000 to
                                                    Settle Controlled Substances Act
                                                    Allegations

  6/30/2016    Department of Justice                CVS to Pay $3.5 Million to Resolve
                                                    Allegations that Pharmacists Filled
                                                    Fake Prescriptions
  8/10/2015    Department of Justice                Drug Diversion Claims Against CVS
                                                    Health Corp. Resolved With $450,000
                                                    Civil Settlement
  5/13/2015    Department of Justice                United States Reaches $22 Million
                                                    Settlement Agreement With CVS For
                                                    Unlawful Distribution Of Controlled
                                                    Substances
  4/3/2013     Department of Justice                CVS To Pay $11 Million To Settle
                                                    Civil Penalty Claims Involving
                                                    Violations Of Controlled Substances
                                                    Act
  5/28/2018    Ohio Department                      2016 Ohio Drug Overdose Data:
               of Health                            General Findings Fentanyl and
                                                    Related Drugs Like Carfentanil as
                                                    well as Cocaine Drove Increase in
                                                    Overdose Deaths
  10/1/2010    Ohio Department                      Ohio Prescription Drug Abuse Task;
               of Health                            Final Report Task Force
                                                    Recommendations
  5/30/2018    Center for Disease Control           Drug Poisoning mortality, United
                                                    States 1999-2016
  1/1/2010     Department of Justice                Regulatory Section DEA Headquarters
                                                    ODG
  4/7/2014     Gray                         John    Statement of John M. Gray President
                                                    of HDMA to congress
  5/8/2018     Committee on                         Transcript Congressional
               Energy and Commerce                  Subcommittee Hearing Combating
                                                    Opioid Epidemic: Examining
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                                                    Concerns about Distributers and
                                                    Diversion


  8/1/2011     Government Accountability            Prescription Drug Control DEA Has
               Office                               Enhanced Efforts to Combat
                                                    Diversion, but Could Better Assess
                                                    and Report Program Results
  7/22/2016    Department of Justice                DOJ: Title 21 United States Code
                                                    Controlled Substances Act Subchapter
                                                    I - Control and Enforcement - 823
                                                    registration requirements
  7/11/2017    Department of Justice                DOJ press release: Mallinckrodt
                                                    agrees to pay record $35 million
                                                    settlement for failure to report
                                                    suspicious orders of pharmaceutical
                                                    drug and for recordkeeping violations
  12/23/2016   Maryland State                       Cardinal Health Agrees to $44 million
               Attorney's Office                    settlement for alleged violations of
                                                    controlled substances act
  5/29/2016    Center for Disease Control           NCHS Data Brief 294. Drug Overdose
                                                    Deaths in the United States, 1999-
                                                    2016
  5/8/2017     Energy and Commerce                  Letter to Steven H. Collis,
               Committee                            AmerisourceBergen Corporation, from
                                                    Committee on Energy and Commerce
  5/8/2017     Energy and Commerce                  Letter to George S. Barrett, Cardinal
               Committee                            Health, from Committee on Energy
                                                    and Commerce
  5/8/2017     Energy and Commerce                  Letter to John H. Hammergren,
               Committee                            McKesson Corporation, from
                                                    Committee on Energy and Commerce
  2/15/2018    Energy and Commerce                  Letter to Steven H. Collis,
               Committee                            AmerisourceBergen Corporation, from
                                                    Committee on Energy and Commerce
  2/15/2018    Energy and Commerce                  Energy & Commerce's Bipartisan
               Committee                            Letters (2/15/18) to McKesson,
                                                    Cardinal Health, and
                                                    AmerisourceBergen
  3/20/2018    Energy and Commerce                  Preliminary, unedited transcript of The
               Committee                            Drug Enforcement Administration's
                                                    Role in Combating the Opioid
                                                    Epidemic
  11/27/2013   Cornell Law School                   Legal code: 21 US code 360eee -
                                                    Definitions
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  5/11/2016    Department of Justice                 DEA Distributor Conference, May 11,
                                                     2016 - Indianapolis, Indiana,
                                                     Presentation
  5/10/2016    Department of Justice                 DEA Trends & Update: Distributor
                                                     Conference, Indianapolis, IN May 10
                                                     & 11, 2016, Presentation
  5/10/2016    Department of Justice                 DOJ Diversion Control Division,
                                                     Distributor Conference, Indianapolis,
                                                     Indiana, via DOJ Website
  9/1/2017     Center for Disease Control            International Overdose Awareness
                                                     Day - August 31, 2017
  1/10/2018    Center for Disease Control            Drug Overdose Mortality by State
                                                     with age adjusted death rates
  6/30/2017    D.C. Cir 2017                         Masters Pharmaceutical v. DEA
                                                     No. 15-1335
  9/10/1970    United State Code                     1970 U.S.C.C.A.N. 4566
               Congressional and
               Administrative News
  5/5/2008     Rappaport                    Bob A.   FDA Center for Drug Evaluation and
                                                     Research, Joint Meeting of the
                                                     Anesthetic and Life Support Drugs
                                                     Advisory Committee & Drug Safety
                                                     and Risk Management Advisory
                                                     Committee, Overview of the May 5,
                                                     2008 ALSDAM Meeting to Discuss
                                                     NDA 21-272 for a New, Abuse-
                                                     Resistant Formulation of OxyContin
  5/6/2008     Van Zee                      Art      FDA Joint Meeting of the Anesthetic
                                                     and Life Support Drugs Advisory
                                                     Committee and the Drug Safety and
                                                     Risk Management Advisory
                                                     Committees, May 6, 2008, SNDA 21-
                                                     947/2-005 Fentora
  6/15/2018    US Census Bureau                      US Census Bureau, Stollings CDP,
                                                     West Virginia
  6/15/2018    US Census Bureau                      US Census Bureau, Mount Gay-
                                                     Shamrock CDP, West Virginia
  1/17/2003    Abrams                       Thomas   WARNING LETTER to Purdue
                                            W.       Pharma L.P. Re: NDA 20-553,
                                                     OxyContin (oxycodone HCI
                                                     controlled-release) Tablets, MACMIS
                                                     ID# 11400
  6/18/2018    Center for Disease Control            Multiple Cause of Death, 1999-2016
                                                     Results for Ohio by County
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  1/13/2012    Center for Disease Control           JD62 - CDC grand rounds:
                                                    prescription drug overdoses - A U.S.
                                                    Epidemic
  8/28/2001    Energy and Commerce                  Hearing Before the Subcommittee on
               Committee                            Oversight and Investigations of the
                                                    Committee on Energy and Commerce
                                                    House of Representatives OxyContin:
                                                    Its Use and Abuse
  5/1/2002     Government Accountability            GAO-02-634 Prescription Drugs State
               Office                               Monitoring Programs Provide Useful
                                                    Tool to Reduce Diversion
  8/12/2009    Ohio Department                      Doctor Shopping and Diversion: 16%
               of Health                            of 2008 unintentional poisoning
                                                    decedents had a history of doctor
                                                    shopping

  1/1/2012     Department of Health                 Drug Diversion in the Medicaid
               and Human Services                   Program State Strategies for Reducing
                                                    Prescription Drug Diversion in
                                                    Medicaid
  3/30/2016    Drug Safety and Risk                 Briefing Book for The Extended-
               Management Advisory                  Release and Long-Acting (ER/LA)
               Committee                            Opioid Analgesic Risk Evaluation and
                                                    Mitigation Strategy
  1/1/2002     Drug Enforcement Agency              Review of the Drug Enforcement
                                                    Administration’s
                                                    Investigations of the Diversion of
                                                    Controlled
                                                    Pharmaceuticals, Report Number I-
                                                    2002-010
  12/1/2003    Government Accountability            PRESCRIPTION DRUGS OxyContin
               Office                               Abuse and Diversion and Efforts to
                                                    Address the
                                                    Problem GAO-04-110
  7/1/2006     Department of Justice                Follow-Up Review of the
                                                    Drug Enforcement Administration’s
                                                    Efforts to Control the Diversion of
                                                    Controlled Pharmaceuticals -I-2006-
                                                    004
  8/1/2011     Government Accountability            Prescription drug control -DEA Has
               Office                               Enhanced Efforts to Combat
                                                    Diversion, But could better assess and
                                                    report program results- GAO-11-744
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  2/1/2015     Government Accountability            GAO-15-202, GAO report to
               Office                               congressional requesters - Drug
                                                    Shortages, Better management of the
                                                    quota process for controlled
                                                    substances Needed; coordination
                                                    between DEA and FDA should be
                                                    improved
  5/5/2015     Government Accountability            GAO-15-494T -testimony before the
               Office                               senate caucus on international
                                                    narcotics control US Senate.
                                                    Controlled substances DEA needs to
                                                    better manage its quota process and
                                                    improve coordination with FDA
  6/1/2015     Government Accountability            GAO-15-471, report to congressional
               Office                               requesters, Prescription Drugs-more
                                                    DEA information about registrants
                                                    controlled substances roles could
                                                    improve their understanding and help
                                                    ensure access
  5/1/2016     Government Accountability            GAO-16-310-report to congressional
               Office                               requests -Controlled Substances, DEA
                                                    should take additional actions to
                                                    reduce risks in monitoring the
                                                    continued eligibility of its registrants
  6/22/2016    Government Accountability            GAO-16-737T -Testimony before the
               Office                               committee on the judiciary US Senate,
                                                    DEA additional Actions Needed to
                                                    address prior GAO recommendations
  12/1/2003    Material Handling & Logistics        HDMA Voluntary Guidelines
                                                    Released MH & L Staff
  1/1/2013     Department of Justice                Drug Enforcement Administration
                                                    Office of Diversion Control ODG/
                                                    Regulatory Section - Effective
                                                    Controls Against Diversion
  9/1/2016     Attorney General of                  CVS Pharmacy to Strengthen policies
               Massachusetts                        around dispending opioids and require
                                                    use of prescription monitoring
                                                    program in groundbreaking settlement
  10/14/2010   US Attorney's Office Central         CVS admits illegally selling
               District of California               pseudoephedrine to criminals who
                                                    made methamphetamine, agrees to pay
                                                    $77.6 million to resolve government
                                                    investigation
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  1/17/2017    Department of Justice                Department of Justice, U.S. Attorney's
                                                    Office, Middle District of Florida,
                                                    McKesson Agrees to Pay Record $150
                                                    Million Settlement for Failure to
                                                    Report Suspicious Orders of
                                                    Pharmaceutical Drugs
  1/17/2017    Department of Justice                Department of Justice, U.S. Attorney's
                                                    Office, District of Massachusetts,
                                                    McKesson Agrees to Pay Record $150
                                                    Million Settlement for Failure to
                                                    Report Suspicious Orders of
                                                    Pharmaceutical Drugs
  1/17/2017    Department of Justice                Department of Justice, Office of
                                                    Public Affairs, McKesson Agrees to
                                                    Pay Record $150 Million Settlement
                                                    for Failure to Report Suspicious
                                                    Orders of Pharmaceutical Drugs
  1/17/2017    Department of Justice                Department of Justice, U.S. Attorney's
                                                    Office, Central District of California,
                                                    McKesson Agrees to Pay Record $150
                                                    Million Settlement for Failure to
                                                    Report Suspicious Orders of
                                                    Pharmaceutical Drugs
  1/17/2017    US Attorney's Office Central         Department of Justice, U.S. Attorney's
               District of California               Office, Eastern District of California,
                                                    McKesson Agrees to Pay Record $150
                                                    Million Settlement for Failure to
                                                    Report Suspicious Orders of
                                                    Pharmaceutical Drugs
  1/17/2017    US Attorney's Office District of     Department of Justice, U.S. Attorney's
               Colorado                             Office, District of Colorado,
                                                    McKesson Agrees to Pay Record $150
                                                    Million Settlement for Failure to
                                                    Report Suspicious Orders of
                                                    Pharmaceutical Drugs
  1/17/2017    US Attorney's Office District of     Department of Justice, U.S. Attorney's
               New Jersey                           Office, District of New Jersey,
                                                    McKesson Agrees to Pay Record $150
                                                    Million Settlement for Failure to
                                                    Report Suspicious Orders of
                                                    Pharmaceutical Drugs
  1/17/2017    US Attorney's Office Northern        Department of Justice, U.S. Attorney's
               District of West Virginia            Office, Northern District of West
                                                    Virginia, McKesson Agrees to Pay
                                                    Record $150 Million Settlement for
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                                                      Failure to Report Suspicious Orders of
                                                      Pharmaceutical Drugs



  1/17/2017    US Attorney's Office Western           Department of Justice, U.S. Attorney's
               District of Wisconsin                  Office, Western District of Wisconsin,
                                                      McKesson Agrees to Pay Record $150
                                                      Million Settlement for Failure to
                                                      Report Suspicious Orders of
                                                      Pharmaceutical Drugs
  7/9/2018     Purdue Pharma                          BUTRANS -buprenorphine patch,
                                                      extended release Purdue Pharma
  11/16/2013   Department of Justice                  Prescription drug trafficking and
                                                      abuse trends, Pharmacy diversion
                                                      Awareness conference Louisville, KY
  12/1/2011    Center for Disease Control             CDC National centers for health
                                                      statistics data brief number 81
  9/24/2013    Department of Justice                  Doctor sentenced for running pill mill
                                                      and contributing to death
  9/20/2013    Department of Justice                  New York Methodist Hospital agrees
                                                      to implement compliance program to
                                                      settle civil claims under the controlled
                                                      substances act
  9/1/2017     Wexler                         Chuck   The Unprecedented Opioid Epidemic:
                                                      As Overdoses Become a Leading
                                                      Cause of Death, Police, Sheriffs, and
                                                      Health Agencies Must Step Up Their
                                                      Response
  6/3/2014     U.S. Attorney's Office                 Pharmacist Charged with Illegal
               Northern District of West              Distribution of Painkillers
               Virginia
  10/27/1970   US Law                                 Controlled Substances Act, Title 21 -
                                                      Food and Drugs, Chapter 13 - Drug
                                                      Abuse Prevention and Control,
                                                      Subchapter I - Control and
                                                      Enforcement
  7/2/2018     US Census Bureau                       United States Census Bureau,
                                                      Community Facts - Find popular facts
                                                      (population, income, etc.) and
                                                      frequently requested data about your
                                                      community, Williamson City, West
                                                      Virginia, Veterans
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  7/2/2018     US Census Bureau                     United States Census Bureau,
                                                    Community Facts - Find popular facts
                                                    (population, income, etc.) and
                                                    frequently requested data about your
                                                    community, Williamson City, West
                                                    Virginia, Population
  2013         McKesson                             Photograph of pill mill
  12/14/1910   Hathitrust.org                       Importation and use of opium.
                                                    Hearings before the Committee on
                                                    Ways and Means of the House of
                                                    Representatives, 61st Congress, 3d
                                                    session on H.R. 25240, H.R. 25241,
                                                    H.R. 25242, and H.R. 28791,
                                                    December 14, 1910 and January 11,
                                                    1911
  7/10/2018    Center for Disease Control           Multiple Cause of Death, 1999-2016
                                                    Charts, Rx Opioid deaths, Deaths by
                                                    Year
  7/10/2018    Center for Disease Control           Multiple Cause of Death, 1999-2016
                                                    Results, Rx Opioid Deaths
  7/26/2017    McKesson                             McKesson 2017 Annual Meeting of
                                                    Stockholders and Proxy Statement
  1/1/2017     Mallinckrodt.com                     Exalgo (gydromorphone HCI)
                                                    extended-release tablets, CII 8 mg
  9/24/2013    Department of Justice                Pasco County Pharmacist sentenced
                                                    for illegally distributing pain
                                                    medications
  7/19/2018    Deposition Exhibit                   Photograph of Michael Oriente
  7/19/2018    Deposition Exhibit                   Photo of Dales Pharmacy Exterior
  10/6/2012    Deposition Exhibit                   Photo of Dales Pharmacy
  7/19/2018    Deposition Exhibit                   Photo of Dales Pharmacist Huy Duong
  3/20/2018    Energycommerce.house.gov             Press release: Suboversight Presses
                                                    DEA for answers to bipartisan E&C
                                                    investigation into alleged pill dumping
                                                    in West Virginia
  7/13/2018    Drug Enforcement                     DEA Current Online, FAQ's -Fentanyl
               Administration                       and Fentanyl -Related Substances
  6/1/2016     Drug Enforcement                     DEA targets Fentanyl - a real threat to
               Administration                       law enforcement
  12/22/2016   Department of Justice                TEVA Pharmaceutical industries
                                                    agrees to pay more than $283 million
                                                    to resolve foreign corrupt practice
                                                    charges
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  7/18/2013    Department of Justice                DOJ Pharmaceutical Company Agrees
                                                    to Pay $3.5 Million to Settle False
                                                    Claims Act Allegations
  9/29/2008    Department of Justice                DOJ Biopharmaceutical Company,
                                                    Cephalon, to Pay $425 Million &
                                                    Enter Plea to Resolve Allegations of
                                                    Off-Label Marketing
  7/16/2018    Deposition Exhibit                   Photograph of Heroin vs. Fentanyl
  12/19/2018   Energy and Commerce                  Energy & Commerce Report
               Committee                            Red Flags and Warning Signs Ignored:
                                                    Opioid Distribution and Enforcement
                                                    Concerns in West Virginia
  4/24/2007    Drug Enforcement                     DEA Suspends Orlando Branch of
               Administration                       Drug Company from Distributing
                                                    Controlled Substances
  7/18/2017    Drug Enforcement                     Press Release
               Administration                       Safeway Pharmacies Pay $3 Million to
                                                    Resolve Allegations Chain Failed to
                                                    Timely Report Drug Diversion
  6/11/2013    Drug Enforcement                     Walgreens Agrees to Pay A Record
               Administration                       Settlement of $80 Million for Civil
                                                    Penalties Under the Controlled
                                                    Substances Act
  12/11/2007   Drug Enforcement                     DEA Suspends Lakeland Branch of
               Administration                       Drug Company From Distributing
                                                    Controlled Substances
  5/15/2012    Drug Enforcement                     DEA Suspends for Two Years
               Administration                       Pharmaceutical Wholesale
                                                    Distributor's Ability to Sell Controlled
                                                    Substances from Lakeland, Florida
                                                    Facility
  9/10/2018    US Census Bureau                     Census Data Quick Facts Sanford
                                                    City, Florida
  4/20/2015    Federal Trade Commission             Cardinal Health Agrees to Pay $26.8
                                                    Million to Settle Charges It
                                                    Monopolized 25 Markets for the Sale
                                                    of Radiopharmaceuticals to Hospitals
                                                    and Clinics
  12/23/2016   Department of Justice                United States Reaches $34 Million
                                                    Settlement with Cardinal Health for
                                                    Civil Penalties Under the Controlled
                                                    Substances Act
  4/21/2011    Department of Justice                Ohio-Based Cardinal Health Inc. to
                                                    Pay $8 Million to Resolve False
                                                    Claims Act Allegations
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  7/26/2007    Securities and Exchange              SEC Sues Cardinal Health, Inc. for
               Commission                           Fraudulent Earnings and Revenue
                                                    Management Scheme, Pharmaceutical
                                                    Distribution Company to Pay $35
                                                    Million Penalty
  6/7/2015     Healthcare Distribution              2015 Business and Leadership
               Management Association               Conference Attendee List by
                                                    Individual
  12/23/2016   Department of Justice                DOJ Manhattan U.S. Attorney
                                                    Announces $10 Million Civil Penalty
                                                    Recovery Against New York
                                                    Pharmaceutical Distributor Kinray,
                                                    LLC
  2/6/2012     Department of Justice                DEA Suspends Pharmaceutical
                                                    Wholesale Distributor and Retailers'
                                                    Ability to Sell Controlled Substances,
                                                    Recent Efforts Go Beyond "Mom and
                                                    Pop" Businesses



  11/18/2010   Cardinal Health                      Cardinal Health to Acquire Kinray for
                                                    $1.3 Billion, Increases Cardinal
                                                    Health's Retail Independent Pharmacy
                                                    Customer Base by 40 Percent
  12/26/2006   ag.ny.gov                            Article with attachments: State
                                                    Reaches Agreement with Cardinal on
                                                    Drug Trading Issues
  5/8/2018     Cardinal Health                      Testimony of George S. Barrett,
                                                    Executive Chairman, Cardinal Health;
                                                    Hearing before the United States
                                                    House of Representatives Committee
                                                    on Energy and Commerce,
                                                    Subcommittee on Oversight and
                                                    Investigations
  7/1/2011     Florida Department of Health         State Surgeon General Declares Public
                                                    Health Emergency Regarding
                                                    Prescription Drug Abuse Epidemic,
                                                    Declaration requires practitioners to
                                                    dispose of controlled substance
                                                    inventory
  4/24/1971    US Law                               21 C.F.R. Section 1301.74
                                                    Registration of Manufacturers,
                                                    Distributors, and Dispensers of
                                                    Controlled Substances Security
                                                    Requirements
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  5/10/2007    Department of Justice                 The Purdue Frederick Company, Inc.
                                                     and Top Executives Plead Guilty to
                                                     Misbranding OxyContin; Will Pay
                                                     Over $600 Million
  1/30/2018    macrotrends.net                       AmerisourceBergen Revenue 2006-
                                                     2018 ABC
  1/16/2018    New Mexico Region HIDTA               Opioids: The Face of the Demon in
                                                     New Mexico


  9/28/2018    AmerisourceBergen                     Corporate integrity agreement
                                                     between the office of inspector general
                                                     of the department of health and human
                                                     services and AmerisourceBergen
                                                     corporation
  10/1/2018    Food and Drug Administration          October 1, 2018: AmerisourceBergen
                                                     Corp. to Pay $625 Million to Settle
                                                     Civil Fraud Allegations Resulting
                                                     from Its Repackaging and Sale of
                                                     Adulterated Drugs and Unapproved
                                                     New Drugs, Double Billing and
                                                     Providing Kickbacks
  6/24/2008    Drug Enforcement                      Remarks by Joseph T. Rannazzisi,
               Administration                        Deputy Assistant Administrator,
                                                     Office of Diversion Control, before
                                                     the House Judiciary Committee
                                                     Subcommittee on Crime, Terrorism, &
                                                     Homeland Security
  4/7/2014     Department of Justice                 Department of Justice, Statement of
                                                     Joseph T. Rannazzisi before the
                                                     Subcommittee on Health Committee
                                                     on Energy and Commerce U.S. House
                                                     of Representative for a hearing
                                                     entitled "Improving Predictability and
                                                     Transparency in DEA and FDA
                                                     Regulation" presented on April 7,
                                                     2014
  12/20/2017   West Virginia Department of           2016 West Virginia Overdose Fatality
               Health & Human Resources              Analysis, Healthcare Systems
                                                     Utilization, Risk Factors, and
                                                     Opportunities for Intervention
  1/1/2018     Fein                           Adam   2016 MDM Market Leaders / Top
                                                     Pharmaceuticals Distributors
  1/1/2018     fortune.com                           Fortune 500 2017 Top 20
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  11/1/2018    Hedegaard                     Holly   NCHS Data Brief, No. 329, November
                                                     2018, Drug Overdose Deaths in the
                                                     United States, 1999-2017
  1/10/2019    United States Census Bureau           United Status Census Bureau, Oceana
                                                     Town, West Virginia
  4/25/2013    FBI.gov                               FBI Press Release: Washington, D.C.
                                                     Doctor Indicted on Prescription Drug
                                                     Distribution Charges
  8/23/2017    Department of Justice                 Beckley area physician sentenced to
                                                     20 years in federal prison for
                                                     oxycodone crime
  4/21/2016    Department of Justice                 Charleston Doctor pleads guilty to
                                                     Federal crime involving dispensing
                                                     fentanyl
  2/20/2018    Department of Justice                 U.S. Attorney announces 69-count
                                                     indictment charging owners, managers
                                                     and physicians associated with Hope
                                                     Clinic
  10/27/2010   Department of Justice                 Department of Justice -DEA
                                                     East Main Street Pharmacy
                                                     Affirmance of Suspension Order
  4/16/1996    Drug Enforcement Agency               Diversion Investigators Manual
                                                     04/16/1996
  11/1/2019    ARCOS                                 AmerisourceBergen Drug 12 Opioid
                                                     Distribution into Cabell County, WV
                                                     by Drug
  2006-2014    ARCOS                                 Opioid Shipments to Pharmacies in
                                                     Cabell County, WV 2006-2014
  2006-2014    ARCOS                                 Opioid Shipments to Pharmacies in
                                                     Wyoming County, WV 2006-2014
  2006-2014    ARCOS                                 12 Opioid Drug Total Dosage Units
                                                     by Company in Cabell County, WV
  5/8/2018     Energy and Commerce                   Collis Quote 3: Congressional
               Committee                             Testimony
  5/8/2018     Energy and Commerce                   Collis Quote 2: Congressional
               Committee                             Testimony
  5/8/2018     Energy and Commerce                   Collis Quote 1: Congressional
               Committee                             Testimony
  5/8/2018     Energy and Commerce                   Combating the Opioid Epidemic
               Committee                             Examining Concerns About
                                                     Distribution and Diversion; House of
                                                     Representatives Subcommittee on
                                                     Oversight and Investigations
                                                     Committee on Energy and Commerce
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  5/29/2020     Deposition Exhibit                     Photo of Safescript Pharmacy # 6
  10/27/1970    US Law                                 Title 21 United States Code
                                                       Controlled Substances Act
                                                       Subchapter 1 Control and
                                                       Enforcement
                                                       Part A - Introductory Provisions
                                                       (2) the illegal importation,
                                                       manufacture, distribution, and
                                                       possession and improper use of
                                                       controlled substances have a
                                                       substantial and detrimental effect on
                                                       the health and general welfare of the
                                                       American people
  6/14/1943     United States Supreme Court            Supreme Court of the United States v.
                                                       Direct Sales Co
  2006-2014     ARCOS                                  Oxycodone and Hydrocodone
                                                       Shipments to Drug Emporium in
                                                       Cabell County and Huntington City,
                                                       WV
  2006-2014     ARCOS                                  Oxycodone and Hydrocodone
                                                       Shipments to McCloud Family
                                                       Pharmacy in Cabell County and
                                                       Huntington City, WV
  7/1/2013      Film                                   Oxyana.mp4
  2006-2014     ARCOS                                  Opioid Shipments to                by
                                                       Distributor 2006-2012, Safescript
                                                       Pharmacy #6
  7/19/2018     Deposition Exhibit                     Pill Mountain
  7/8/2008      Ohio State BOP                         Minutes of the July 7-8, 2008 Meeting
                                                       of the Ohio State Board of Pharmacy
  8/26/2015     The General Assembly or PA             The General Assembly of
                                                       Pennsylvania House Bill No. 1511
                                                       Session of 2015


 DEPOSITIONS


  Michael Oriente 07/19/2018 Deposition and Exhibits
  Nathan Hartle 07/31/2018 Deposition and Exhibits
  Nathan Hartle 08/01/2018 Deposition and Exhibits
  Steve Reardon 11/30/2018 Deposition and Exhibits
  Eric Brantley 11/27/2018 Deposition and Exhibits
  David Gustin 08/17/2018 Deposition and Exhibits
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  Eugene Cavacini 01/25/2018 Deposition and Exhibits
  Bill de Gutierrez-Mahoney 11/28/2018 Deposition and Exhibits
  Gary Hilliard 01/10/2019 Deposition and Exhibits
  Blaine Snider 11/08/2018 Deposition and Exhibits
  Donald Walker 01/10/2019 Deposition and Exhibits
  John Gray 07/30/2020 Deposition and Exhibits
  Lisa Mash 07/28/2020 Deposition and Exhibits
  Patrick Kelly 05/10/2019 Deposition and Exhibits


 EXPERTS


  David Kessler 03/26/2019 Expert Report and Supporting Documentation
  James E. Rafalski 04/15/2019 Expert Report and Supporting Documentation
  James E. Rafalski 08/03/2020 Expert Report and Supporting Documentation
  David T. Courtright 03/21/2019 Expert Report and Supporting Documentation
  Thomas McGuire 03/25/2019 Expert Report and Supporting Documentation
  Matthew Perri III 03/25/2019 Expert Report and Supporting Documentation
  Seth B. Whitelaw 04/15/2018 Expert Report and Supporting Documentation
  Jane C. Ballantyne 03/25/2019 Expert Report and Supporting Documentation
  Jane C. Ballantyne 03/25/2019 Exhibit B - Ballantyne Materials Considered
  Catherine Rahilly-Tierney, M.D., M.P.H. 05/10/2019 Expert Report and Supporting
  Documentation
  Catherine Rahilly-Tierney, M.D., M.P.H. 02/03/2020 Expert Report and Supporting
  Documentation
  Craig J. McCann 03/25/2019 Expert Report and Supporting Documentation
  Craig J. McCann 08/03/2020 Expert Report and Supporting Documentation
  CT2 Additional Expert Report Figures and Charts - Appendix 12


 PLEADINGS


  1/5/2017     Settlement Agreement and Release between DOJ, DEA and McKesson
  4/30/2008    Settlement Agreement between USDOJ and McKesson
  3/18/2011    Administrative Memorandum of Agreement between DOJ, DEA and Walgreen
               Co.
  4/5/2013     Settlement and Memorandum of Agreement between DOJ, DEA and Walgreen
               Co.
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  9/27/2017   Settlement Agreement, DOJ, OIG-HHS, HHS, DHA, OMP, FEHBP, VA,
              ABSG, ABDC, OSC, MII, ABC Defendants
  6/29/2017   West Virginia Board of Medicine. Consent Order. In Re: James Edwin
              Prommersberger, D.P.M. June 29, 2017.
  3/7/2012    Cardinal Health, Inc. v. Eric H. Holder, Civil Action No. 2012-0185 (D.D.C.
              2012), District Court, District of Columbia (Filed: March 7th, 2012)
  5/14/2012   Administrative Memorandum of Agreement between the United States
              Department of Justice, Drug Enforcement Administration ("DEA") and Cardinal
              Health, Inc.
  12/7/2017   Steinberg Verified Shareholder Derivative Complaint
  8/1/2017    Miami-Luken, Inc. vs. US Department of Justice, Drug Enforcement
              Administration, Report and Recommendation
  2/10/2012   Declaration of Joseph Rannazzisi - Cardinal Health v, Holder
  5/29/2018   Defendant McKesson Corporation's Objections and Responses to Plaintiffs' First
              Set of Interrogatories (Nos. 1-26)
  8/18/2009   United States v. $65,806.86, More or Less, In United States Currency, Civil
              Action No. 2:09-cv-0944, USDC Southern District of West Virginia, Charleston
  1/21/2016   Amended Complaint - State of West Virginia ex rel. Patrick Morrisey et al v.
              McKesson Corporation
  2/18/2014   In the Circuit court of Mingo County West Virginia Civil action No.:10-C-251 v.
              Tug Valley Pharmacy
  6/2/2014    NO. 14-0144 In the Supreme Court of Appeals of West Virginia Tug Valley
              Pharmacy v. All Plaintiffs Below in Mingo County Civil actions
  6/2/2014    Tug Valley Pharmacy, et al v. Plaintiffs in Mingo County Civil Actions,
              Respondents' Brief
  5/9/2012    Amicus Curiae Brief of Healthcare Distribution Management Association in
              Support of Appellant Cardinal Health, Inc.
  2/10/2012   Declaration of Joseph Rannazzisi
  2/10/2012   Cardinal Health, Inc. v. Holder, Attachment 6 to Defendants' Opposition to
              Plaintiff's Motion for Preliminary Injunction; Top 25 Distributors Located in
              Florida selling Oxycodone products to all retail level registrants in the State of
              Florida, January - December 2010
  2/10/2012   Cardinal Health, Inc. v. Holder, Attachment 7 to Defendants' Opposition to
              Plaintiff's Motion for Preliminary Injunction; Top 25 Distributors Located in
              Florida selling Oxycodone products to all retail level registrants in the State of
              Florida, January - December 2011
  2/10/2012   Cardinal Health, Inc. v. Holder, Attachment 8 to Defendants' Opposition to
              Plaintiff's Motion for Preliminary Injunction; DEA Order to Show Cause and
              Immediate Suspension of Registration in the matter of Cardinal Health dated
              November 28, 2007
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  2/10/2012    Cardinal Health, Inc. v. Holder, Attachment 9 to Defendants' Opposition to
               Plaintiff's Motion for Preliminary Injunction; DEA Order to Show Cause and
               Immediate Suspension of Registration in the matter of Cardinal Health dated
               December 5, 2007
  2/10/2012    Cardinal Health, Inc. v. Holder, Attachment 10 to Defendants' Opposition to
               Plaintiff's Motion for Preliminary Injunction, DEA Order to Show Cause and
               Immediate Suspension of Registration in the matter of Cardinal Health dated
               December 7, 2007
  2/10/2012    Cardinal Health, Inc. v. Holder, Attachment 11 to Defendants' Opposition to
               Plaintiff's Motion for Preliminary Injunction, DEA Order to Show Cause in the
               matter of Cardinal Health dated January 30, 2008
  10/2/2008    Cardinal Health, Inc. v. Holder, Attachment 12 to Defendants' Opposition to
               Plaintiff's Motion for Preliminary Injunction, Settlement and Release Agreement
               and Administrative Memorandum of Agreement between US DOJ, DEA and
               Cardinal Health, Inc., dated October 2, 2008
  2/10/2012    Cardinal Health, Inc. v. Holder, Attachment 15 to Defendants' Opposition to
               Plaintiff's Motion for Preliminary Injunction, DEA Order to Show Cause and
               Immediate Suspension of Registration in the matter of Cardinal Health, dated
               February 2, 2012
  2/10/2012    Cardinal Health, Inc. v. Holder, Attachment 17 to Defendants' Opposition to
               Plaintiff's Motion for Preliminary Injunction, Chart of Sales to Pharmacies in
               Sanford, Florida
  2/10/2012  Cardinal Health, Inc. v. Holder, Attachment 48 to Defendants' Opposition to
             Plaintiff's Motion for Preliminary Injunction, DEA Letter to Cardinal Health in
             reference to registration
  7/27/2018 Cardinal Health Letter re. document production sent to Liaison Counsel for
             Plaintiffs, Manufacturer Defendants, Distributor Defendants, Chain Pharmacy
             Defendants, and Physician Defendants re: National Prescription Opiate
             Litigation, MDL No. 2804
  12/22/2016 United States of America v. Kinray, LLC, Consent Order
  10/1/2017 Letter re: please vote for the independent chair proposal at cardinal health
             November 8, 2017
  9/27/2017  United States of America against AmerisourceBergen Specialty Group, LLC,
             Information
  9/27/2017 United States of America against AmerisourceBergen Specialty Group, LLC,
             Plea Agreement
  2/1/2018   Letter to AmerisourceBergen Shareholders re: vote three resolutions at annual
             meeting on March 1, 2018
  1/28/2014 United States of America v. Alen Johannes Salerian, Opinion and Order, Case
             No. 1:13CR00017
  10/14/2008 Before the Board of Medicine, In Re: David Lee Morgan, D.O., License No.:
                          , Consent Order
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  4/19/2017   United States of America v. City Pharmacy, LLC, et al, Order on Defendant
              David M. Wasanyi's Motion to Dismiss and Motion to Strike Expert Testimony
              and Granting in part and denying in part Government's Motion for Summary
              Judgment
  2/15/2018   United States of America v. James H. Blume, Jr., D.O, et al., Indictment Count
              One (Conspiracy to Distribute and Dispense Oxycodone)
  7/31/2019   The State of Oklahoma's Response to Defendants' Renewed Motion for
              Judgment (Oklahoma Findings of Facts and Conclusions of Law)
  6/13/2019   Joint and Third Amended Complaint filed by Cabell County and City of
              Huntington, WV
  9/27/2006   Letter from CAH Counsel to NYAG
  6/28/2019   Plaintiff's Memorandum of Law in Support of Motion for Partial Summary
              Adjudication that Defendants Did Not Comply with Their Duties Under the
              Federal Controlled Substances Act to Report Suspicious Opioid Orders and Not
              Ship Them (Corrected) June 28, 2018
  5/7/2001    Howard Engle v Philip Morris et al. Circuit Court of the 11th Judicial Circuit,
              Dade County FL, General Jurisdiction Division (Case No. 94-08273 CA).
  6/23/2020   Discovery Ruling 9: Order denying defendants’ motion to compel discovery
              responses on opioid-related expenditures. United States District Court for the
              Southern District of West Virginia, June 23, 2020.
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                                 Appendix B
                             CURRICULUM VITAE

                          Michael B. Siegel, MD, MPH




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                              CURRICULUM VITAE

                           Michael B. Siegel, MD, MPH

                                   Professor
                    Boston University School of Public Health
                   Department of Community Health Sciences
              801 Massachusetts Avenue, 4th Floor, Boston, MA 02118
                        mbsiegel@bu.edu (617) 358-1347



Education

     1.     University of California at Berkeley/UCSF
            General Preventive Medicine Residency Program
            August, 1991 to June, 1993
            M.P.H. completed: May, 1992 (Epidemiology)

     2.     Berkshire Medical Center, Pittsfield, MA
            PGY-1 Year in Internal Medicine
            July, 1990 to June, 1991

     3.     Yale University School of Medicine
            M.D. completed: May, 1990

     4.     Brown University
            B.A., Environmental Studies: May, 1986
            Magna cum laude, Phi Beta Kappa, Sigma Xi



Employment Experience

     February 2005 to present:
     Boston University School of Public Health
     Department of Community Health Sciences (formerly Social and Behavioral Sciences
     Department)
     Professor

     September 1999 to February 2005:
     Boston University School of Public Health
     Social and Behavioral Sciences Department
     Associate Professor



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       August, 1995 to September, 1999:
       Boston University School of Public Health
       Social and Behavioral Sciences Department
       Assistant Professor

       July, 1993 to July, 1995:
       Office on Smoking and Health
       Centers for Disease Control and Prevention, Atlanta, GA
       Epidemiology fellowship (EIS program)

       July, 1991 to May, 1993:
       Santa Clara County Health Department
       Bureau of Alcohol and Drug Programs
       San Jose, CA
       Part-time physician for methadone maintenance program

       Summers, 1983-1986:
       Danbury Health Department, Danbury, CT
       Section of Environmental and Occupational Health
       Intern

Awards and Honors

  •    Boston University School of Public Health Excellence in Teaching Award, Fall, 1996
       (SB733: Mass Communication and Public Health)

  •    Boston University School of Public Health Excellence in Teaching Award, Spring, 1998
       (SB815: Program Evaluation Research)

  •    Boston University School of Public Health Excellence in Teaching Award, Summer, 1999
       (SB815: Program Evaluation Research)

  •    Boston University School of Public Health Excellence in Teaching Award, Fall, 1999
       (SB733: Mass Communication and Public Health)

  •    Norman A. Scotch Award for Excellence in Teaching, 2001
       (presented to the outstanding teacher of the year at Boston University School of Public Health)
       Presented at Commencement exercises, May 20, 2001

  •    Co-author of paper selected by American Marketing Association Advertising Special Interest
       Group as best advertising article written in 1996 (Pollay RW, Siddarth S, Siegel M, Haddix A,
       Merritt RK, Giovino GA, Eriksen MP: The last straw? Cigarette advertising and realized
       market shares among youths and adults, 1979-1993. Journal of Marketing 1996; 60:1-16)

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•    Boston University School of Public Health Excellence in Teaching Award, Fall, 2001
     (SB733: Mass Communication and Public Health)

•    Recipient of a Flight Attendant Medical Research Institute (FAMRI) Distinguished Professor
     Award, July 1, 2002 – June 30, 2005

•    Boston University School of Public Health Excellence in Teaching Award, Fall, 2003
     (SB733: Mass Communication and Public Health)

•    Boston University School of Public Health Excellence in Teaching Award, Spring, 2005
     (SB860: Strategies for Public Health Advocacy)

•    Boston University School of Public Health Excellence in Teaching Award, Summer, 2005
     (SB822: Quantitative Methods for Program Evaluation)

•    Boston University School of Public Health Excellence in Teaching Award, Spring, 2007
     (SB860: Strategies for Public Health Advocacy)

•    Boston University School of Public Health Excellence in Teaching Award, Fall, 2007
     (SB733: Mass Communication and Public Health)

•    Boston University School of Public Health Excellence in Teaching Award, Spring, 2009
     (SB860: Strategies for Public Health Advocacy)

•    Boston University School of Public Health Excellence in Teaching Award, Fall, 2009
     (SB733: Mass Communication and Public Health)

•    Boston University School of Public Health Educational Innovation Award, 2010
     Presented at the 5th Annual John McCahan Medical Campus Education Day, June 11, 2010

•    Boston University School of Public Health Excellence in Teaching Award, Fall, 2010
     (SB721: Social and Behavioral Sciences for Public Health)

•    Boston University School of Public Health Excellence in Teaching Award, Spring, 2011
     (SB721: Social and Behavioral Sciences for Public Health)

•    Boston University School of Public Health Excellence in Teaching Award, Spring, 2011
     (SB860: Strategies for Public Health Advocacy)

•    Boston University School of Public Health Excellence in Teaching Award, Spring 2015 (SB721:
     Social and Behavioral Sciences for Public Health)



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   •    2019 Lifetime Achievement Award, American Public Health Association, Section on Alcohol,
        Tobacco, and Other Drugs



Books

Siegel M, Doner L. Marketing public health: Strategies to promote social change. Gaithersburg, MD: Aspen
Publishers, Inc.; 1998.

Doner L, Siegel M. Marketing public health: Strategies to promote social change (2nd edition). Sudbury, MA:
Jones & Bartlett Publishers, Inc.; 2007.

Resnick E, Siegel M. Marketing public health: Strategies to promote social change (3nd edition). Sudbury,
MA: Jones & Bartlett Learning; 2012.



Publications

1. Nakabayashi K, Aronson SC, Siegel M, Stunner WQ, Aronson SM: Traffic fatalities in Rhode
   Island: Part I -- Descriptive epidemiology. Rhode Island Medical Journal 1984; 67:25-30.

2. Nakabayashi K, Aronson SC, Siegel M, Sturner WQ, Aronson SM: Traffic fatalities in Rhode
   Island: Part II -- The timing of accidents and the role of marital status, alcohol, and psychoactive
   drugs. Rhode Island Medical Journal 1984; 67:171-178.

3. Nakabayashi K, Aronson SC, Siegel M, Sturner WQ, Aronson SM: Traffic fatalities in Rhode
   Island: Part III -- The role of the motorcycle. Rhode Island Medical Journal 1984; 67:453-459.

4. Aronson SC, Nakabayashi K, Siegel M, Sturner WQ, Aronson SM: Traffic fatalities in Rhode
   Island: Part IV -- The pedestrian victim. Rhode Island Medical Journal 1984;67:485-489.

5. Siegel M, Forsyth B, Siegel L, Cullen MR: The effect of lead on thyroid function in children.
   Environ Res 1989; 49:190-196.

6. Yakovlevitch M, Siegel M, Hoch D, Rutlen D: Pulmonary hypertension in a patient with
   tryptophan-induced eosinophilia-myalgia syndrome. Am J Med 1991; 90:272-3.

7. Siegel M: Smoking and leukemia: Evaluation of a causal hypothesis. Am J Epidemiol 1993; 138:1-9.

8. Siegel M: Involuntary smoking in the restaurant workplace: A review of employee exposure and
   health effects. JAMA 1993; 270:490-493




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9. Siegel M: Re: Smoking and leukemia: evaluation of a causal hypothesis (reply to letter to editor).
   Am J Epidemiol 1994; 139:852.

10. Siegel M: The hazards of involuntary smoking in the restaurant workplace (reply to letter to
   editor). JAMA 1994; 271:584-585.

11. Siegel M, Arday DR, Merritt RK, Giovino GA: Re: "Risk attribution and tobacco-related deaths"
   (letter to editor). Am J Epidemiol 1994; 140:1051.

12. Changes in the cigarette brand preferences of adolescent smokers -- United States, 1989-1993.
   MMWR 1994; 43:577-581.

13. Conlisk E, Siegel M, Lengerich E, MacKenzie W, Malek S, Eriksen M: The status of local smoking
   regulations in North Carolina following a state preemption bill. JAMA 1995; 273:805-807.

14. Siegel M, Husten C, Merritt R, Giovino G, Eriksen M: The health effects of separately ventilated
   smoking lounges on smokers: Is this an appropriate public health policy? Tobacco Control 1995;
   4:22-29.

15. Assessment of the impact of a 100% smoke-free ordinance on restaurant sales -- West Lake Hills,
   Texas, 1992-1994. MMWR 1995; 44:370-372.

16. Trends in smoking initiation among adolescents and young adults -- United States, 1980-1989.
   MMWR 1995; 44:521-525.

17. Siegel M, Peddicord J, Merritt R, Nelson D, Giovino G, Eriksen M: The extent of cigarette brand
   switching among current smokers: Data from the 1986 Adult Use of Tobacco Survey. American
   Journal of Preventive Medicine 1996; 12:14-16.

18. Mannino D, Siegel M, Husten C, Rose D, Etzel R: Environmental tobacco smoke exposure and
   health effects in children: Results from the 1991 National Health Interview Survey. Tobacco
   Control 1996; 5:13-18.

19. Pollay RW, Siddarth S, Siegel M, Haddix A, Merritt RK, Giovino GA, Eriksen MP: The last straw?
   Cigarette advertising and realized market shares among youths and adults, 1979-1993. Journal of
   Marketing 1996; 60:1-16.

20. Novotny TE, Siegel M: California’s tobacco control saga. Health Affairs 1996; 15:56-72.

21. Siegel M, Biener L. Evaluating the impact of statewide anti-tobacco campaigns: The Massachusetts
   and California tobacco control programs. Journal of Social Issues 1997; 53:147-168.



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22. Biener L, Siegel M. Behavior intentions of the public after bans on smoking in restaurants and
   bars. American Journal of Public Health 1997; 87: 2042-2044.

23. Siegel M. Media advocacy and public health: power for prevention (book review). International
   Quarterly of Community Health Education 1997; 16:286-288.

24. Siegel M, Carol J, Jordan J, Hobart R, Schoenmarklin S, DuMelle F, Fisher P. Preemption in
   tobacco control: review of an emerging public health problem. Journal of the American Medical
   Association 1997; 278:858-863.

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Presentations at Scientific/Professional Meetings

1. Involuntary smoking in the restaurant workplace: evaluation of exposure and health effects
   (poster). Prevention '93 Conference, St. Louis, MO, April, 1993.

2. Panel member and presenter on the effectiveness of tobacco control policies and the role of local
   tobacco control policies. National Cancer Institute ASSIST training course, Washington, DC,
   December 2, 1993.

3. Panel member and presenter on the role of government in tobacco control and the effects of
   preemption on protection of the public from environmental tobacco smoke exposure. California
   Preemption Education Conference, The Wellness Foundation, San Diego, CA, October 2-3, 1994.

4. Mannino D, Siegel M, Husten C, Rose D, Etzel R. Environmental tobacco smoke exposure and
   respiratory diseases in children (abstract). Scientific Highlights: Abstracts of Original
   Investigations. The 60th Annual International Scientific Assembly of the American College of
   Chest Physicians. Chest 1994; 106:115S.

5. The effects of separately ventilated smoking lounges on the health of smokers: Is this an

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   appropriate public health policy? Epidemiology Grand Rounds, CDC, November 8, 1994.

6. Panel member and presenter on evaluation of public health programs. Chronic Disease
   Conference, National Center for Health Promotion and Disease Prevention, CDC, Washington,
   DC, December 7-9, 1994.

7. The impact of cigarette advertising on brand market share among adults and adolescents (poster).
   EIS Conference, CDC, Atlanta, GA, March, 1995.

8. Giovino GA, Siegel M, Tomar SL. Cigarette advertising and brand preference among adolescents
   and adults: data from U.S. national studies. Paper presented at the 1995 Society for Consumer
   Psychology Conference: The Role of Advertising in Social Marketing, Atlanta, GA, May 18, 1995.

9. Panel member and presenter on preemption and its effect on public health. National Tobacco
   Control Conference, Boston, MA, June 2-4, 1995.

10. Faculty member. Tobacco Control Summer Institute, University of North Carolina, July 16-21,
   1995. Co-coordinator of course on clean indoor air policy.

11. Speaker. Protecting Youth from Tobacco Conference. Andover, MA, September 21, 1995.

12. Speaker and panelist. Tobacco and the Latino Community seminar, Latino Health Institute.
   Boston University School of Public Health, October 10, 1995.

13. Workshop leader and presenter. Tobacco Prevention: Connecting for the Future (ASSIST
   Information Exchange Training). Washington, DC, October 17, 1995.

14. Organizer/guest speaker. Symposium on the Public Health Problem of Environmental Tobacco
    Smoke Exposure in Restaurants. Boston University School of Public Health, November 13, 1995.
15. The Power of Mass Communication to Promote Health. Boston University School of Public
    Health, Public Health Forum, January 30, 1996.

16. Pollay RW, Siddarth S, Siegel M. Realized market shares among old and new smokers and
   advertising share of voice. Conference of the American Academy of Advertising, Vancouver,
   British Columbia, March 29-April 1, 1996.

17. Speaker. Boston University School of Medicine Cancer Prevention and Control Grand Rounds,
   May 17, 1996.

18. Pollay RW, Siddarth S, Siegel M. Cigarette advertising and realized market shares among mature
   and immature smokers. Marketing and Public Policy Conference, Washington, DC, May 17-18,
   1996.



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19. Workshop leader and presenter. National Tobacco Control Conference, Chicago, IL, May 29-30,
   1996.

20. Keynote speaker. Massachusetts Tobacco Control Conference. Marlboro, MA, June 3, 1996.

21. Course coordinator, “Clean Indoor Air Policies,” Tobacco Control Summer Institute, St. Louis,
   MO, July 8-12, 1996.

22. Workshop leader and presenter. The 1st Annual Conference on Local Control, Chicago, IL,
   November 15-16, 1996.

23. Siegel M, Connolly G, Celebucki C, Skandera M. Does cigarette advertising in magazines target
   youths? Presented at the 124th Annual Meeting of the American Public Health Association, New
   York, NY, November 17-21, 1996.

24. Siegel M, Barnes E, Kot V, Osthimer B. The societal costs of welfare “reform”: Homelessness and
   its public health consequences. Presented at the 124th Annual Meeting of the American Public
   Health Association, New York, NY, November 17-21, 1996.

25. Pucci L, Siegel M. Does tobacco advertising target adolescents? The nature of stationary outdoor
   tobacco advertising in six Boston neighborhoods. Presented at Prevention 97, March 19-20, 1997,
   Atlanta, GA.

26. Siegel M. Global tobacco settlement: Public health victory or resounding defeat? Preventive
   Medicine Grand Rounds, Carney Hospital, Dorchester, MA, September 23, 1997.

27. The Tobacco Settlement: The Thrill of Victory or the Agony of Defeat? Boston University School of
   Public Health, Public Health Forum, October 14, 1997.

28. The Societal Costs of Welfare “Reform.” Boston University School of Public Health, Public Health
   Forum, April 7, 1998.

29. Health effects of secondhand smoke and economic impact of smoke-free bar and restaurant
   ordinances. Marlborough Community Forum. Marlborough, MA, May 13, 1998.

30. Course coordinator, “Clean Indoor Air Policies,” Tobacco Control Summer Institute,
   Albuquerque, NM, July 27-31, 1998.

31. Health effects of secondhand smoke and economic impact of smoke-free bar and restaurant
   ordinances. Holyoke Board of Health, Holyoke, MA, July 7, 1998.

32. Siegel M. Ethical implications of a global tobacco settlement. American Public Health Association
   annual meeting. Washington, DC, November 16, 1998.

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33. Siegel M, Carfano E. Teaching public health students how to produce television commercials:
   Development of an innovative course in health communication. American Public Health
   Association annual meeting. Washington, DC, November 17, 1998.

34. The impact of tobacco promotions on adolescent smoking: results of a longitudinal study in
   Massachusetts. Presented at Robert Wood Johnson Foundation Substance Abuse Policy Research
   Program Annual Meeting. Charleston, SC, December 10, 1998.

35. Biener L, Siegel M. Tobacco product promotions and adolescent smoking: more evidence of a
   causal relationship (poster). Annual conference of the Society for Research on Nicotine and
   Tobacco (SRNT). San Diego, CA, March 5-7, 1999.

36. Rigotti NA, Siegel M, Biener L. The effect of local tobacco sales laws on adolescent smoking
   initiation (poster). Annual conference of the Society for Research on Nicotine and Tobacco
   (SRNT). San Diego, CA, March 5-7, 1999.

37. Marketing public health: Strategies to promote social change. Workshop leader and presenter.
   Annual conference of the Massachusetts Prevention Centers. Marlboro, MA, March 24, 1999.

38. The effects of the Massachusetts anti-tobacco media campaign on youth tobacco use. Cancer
   Prevention and Control Grand Rounds. Boston University School of Medicine. May 4, 1999.

39. King C, Siegel M. Adolescent exposure to cigarette advertising in magazines: An evaluation of
   brand-specific advertising in relation to youth readership. INFORMS (Institute for Operations
   Research and the Management Sciences) Marketing Science Conference. Syracuse, NY, May 22,
   1999.




40. Marketing public health: Strategies to promote social change. Plenary session address. Annual
   conference of the New York State Public Health Association / New York State Association of
   County Health Officials. Cooperstown, NY, May 25, 1999.

41. Siegel M. The health effects of secondhand smoke (guest lecture). Tobacco Use Prevention
   Summer Institute. Atlanta, GA, July 26, 1999.

42. Siegel M, Heaphy D. Bringing television cameras and the internet into the public health
   classroom: Teaching students to develop a mass media campaign. American Public Health
   Association Annual Meeting. Chicago, IL, November 9, 1999.

43. Siegel M. Exposure to cigarette advertising in magazines and its impact on youth smoking
   (poster). American Public Health Association Annual Meeting. Chicago, IL, November 9, 1999.

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44. Siegel M. The impact of anti-smoking media campaigns on smoking initiation. American Public
   Health Association Annual Meeting. Chicago, IL, November 9, 1999.

45. Smoking and fast cars: the use of motor sports sponsorship as a promotional tool. Cancer
   Prevention and Control Grand Rounds. Boston University School of Medicine. November 7, 2000.

46. Circumventing the cigarette television advertising ban: a review of tobacco industry sponsorship
   of motor sports events. Harvard University Tobacco Control Working Group. February 6, 2001.

47. Siegel M, King C. Adolescents and cigarette advertising in popular magazines: The fifteen percent
   rule and beyond (panel presentation and discussion). Marketing and Public Policy Conference.
   June 1, 2001, Washington, DC.

48. Siegel M. The descriptive epidemiology of local restaurant smoking regulations in Massachusetts:
   Implications for studying the effectiveness of clean indoor air policies. National Cancer Institute
   State and Community Tobacco Control Interventions Research Grantees Meeting. January 29,
   2002, San Diego, CA.

49. Siegel M. Policies to protect restaurant workers from secondhand smoke (guest lecture). Tobacco
   Use Prevention Summer Institute. Kansas City, MO, July 11, 2002.

50. King C, Siegel M. Measuring youth exposure to cigarette advertising in magazines post-Master
   Settlement Agreement. American Public Health Association Annual Meeting. Philadelphia, PA,
   November 11, 2002.

51. Albers AB, Siegel M. Development and validation of a coding system to assess the strength of
    local clean indoor air policies. National Tobacco Control Conference. San Francisco, CA,
    November 19, 2002.
52. Siegel M. Banning smoking in bars and restaurants: Protecting the public's health or infringing on
    civil liberties? Food for Thought Lecture Series, Boston University. December 3, 2002.

53. Siegel M. Smoking in bars: the last frontier? Cancer Prevention and Control Grand Rounds.
   Boston University School of Medicine. May 13, 2003.

54. Skeer M, Siegel M. Boston’s smoking ban: chaos or compliance? Research Lunch Series. Boston
   University School of Public Health. September 17, 2003.

55. Siegel M, Albers AB, Skeer M. Effect of local restaurant smoking regulations on secondhand
   smoke exposure and social norms regarding smoking among youths. American Public Health
   Association Annual Meeting. San Francisco, CA, November 18, 2003.

56. Siegel M, Albers AB, Skeer M. Impact of local restaurant and bar regulations on adult exposure to

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   secondhand smoke and social norms related to smoking. American Public Health Association
   Annual Meeting. San Francisco, CA, November 18, 2003.

57. Siegel M, Skeer M. Boston’s smoking ban: chaos or compliance? Harvard University Tobacco
   Control Working Group. December 3, 2003.

58. Siegel M, Godshall WT, Cummings KM, Blum A. FDA regulation of tobacco: Opportunity or
   diversion for the next decade? (panel presentation). National Conference on Tobacco or Health,
   Chicago, IL, May 4, 2005.

59. Siegel M. News for a Change (media advocacy training). American Cancer Society, Massachusetts
   Chapter. Framingham, MA, August 24, 2005.

60. Siegel M. Media advocacy training. Massachusetts Department of Public Health. Boylston, MA,
   April 21, 2006.

61. Siegel M. Media advocacy training. Massachusetts Department of Public Health. Boston, MA,
   June 20, 2006.

62. Siegel M. Media advocacy training. Massachusetts Department of Public Health. Boston, MA,
   August 1, 2006.

63. Fortunato EK, Siegel M. Framing public health as an institution: a case study (poster
   presentation). American Public Health Association Annual Meeting. Boston, MA, November 7,
   2006.

64. Siegel M. Taking it to the House: How the Tobacco Companies Play You for Profit. Reduce the
   Use Night. Natick High School, Natick, MA, November 15, 2006.

65. Siegel M. Science, Communication and Scientific Integrity: The Example of Secondhand Smoke,
   and Balancing Health and Autonomy in Public Health Policy: The Example of Car Smoking Bans.
   Freedom, Tolerance, and Civil Society Conference (sponsored by Institute for Humane Studies,
   George Mason University). Simmons College, Boston, MA, June 20, 2007.

66. Siegel M. Tobacco Advertising and Health Disparities. STOMP (Stomp Tobacco Out Mass People)
   Symposium. Zoo New England, Boston, MA, May 15, 2007.

67. Siegel M. Science, Communication and Scientific Integrity: The Example of Secondhand Smoke,
   and Balancing Health and Autonomy in Public Health Policy: The Example of Car Smoking Bans.
   Freedom, Tolerance, and Civil Society Conference (sponsored by Institute for Humane Studies,
   George Mason University). Simmons College, Boston, MA, June 17, 2008.

68. Siegel M, King C, Ross C, Ostroff J, Jernigan DH. Alcohol Advertising in Magazines: Are Youths

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   Disproportionately Exposed? American Public Health Association Annual Meeting. San Diego,
   CA, October 27, 2008.

69. Siegel M. Top 10 Myths About Health Care Reform. Lifetime Learning – The Dr. George Altman
    World Affairs and Politics Lecture Series. Newton, MA, April 7, 2010.

70. Siegel M. Evidence-Based Science and Regulation of Tobacco Products. Tobacco Merchants
    Association Annual Meeting and Conference. Williamsburg, VA: May 25, 2010.

71. Siegel M, DeJong W, Fortunato EK, Johnson A, DiLoreto J, Ross C, Heeren T, Naimi TS.
    Descriptive epidemiology of brand-specific alcohol use among underage youths. American Public
    Health Association Annual Meeting. Denver, CO, November 9, 2010.

72. Siegel M. Underage drinking and the media. Norfolk District Attorney Underage Drinking
    Prevention Conference, Wrentham, MA, September 20, 2011.

73. Siegel M. Can modified risk tobacco products serve the public’s health? Two barriers stand in the
    way. Tobacco Regulation and Litigation Conference. Food and Drug Law Institute. Washington,
    DC, December 5, 2011.

74. Siegel M. Top ten myths regarding harmful and potentially harmful tobacco constituents. Tobacco
    Merchants Association National Meeting and Conference, Williamsburg, VA: May 22, 2012.

75. Siegel M. Top two myths regarding the modified risk tobacco products provisions of the Tobacco
    Act. Tobacco Merchants Association National Meeting, Williamsburg, VA: May 22, 2012.

76. Siegel M, Ayers AJ, DeJong W, Naimi T, Jernigan DH. Differences in brand-specific alcohol
    consumption among youth by age, gender, race, and socioeconomic status – United States, 2011.
    Annual meeting of the American Public Health Association, San Francisco, CA: October 31, 2012.

77. Siegel M. Keynote address: The nexus of science and law in tobacco control policy. The Future of
    Global Tobacco Control: Current Constitutional and Treaty-Based Challenges. The American
    Journal of Law & Medicine 2013 Symposium. Boston University School of Law, January 25, 2013.

78. Siegel M. Alcohol, tobacco, and firearms: from science to policy. Department of Pediatrics Grand
    Rounds. Boston University Medical Center. January 31, 2013.

79. Siegel M, Naimi TS. From tobacco to alcohol: the need for a brand-specific research agenda.
    Alcohol Policy 16. Washington, DC, April 3, 2013.

80. Siegel M. Consumption of alcohol by brand among underage youth and adults in the United
    States. Alcohol Policy 16. Washington, DC, April 4, 2013.



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81. Siegel M, Naimi TS. Brand-specific alcohol prices: a new surveillance method and policy
    implications. Alcohol Policy 16. Washington, DC, April 5, 2013.

82. Siegel M. Interrogation research by Yale medical school faculty members: ethical and human
    subjects protection concerns. Presented at: Knowledge and Power: A conversation about the
    Military and National Security in Academia. Yale University, New Haven, CT, April 15, 2013.

83. Siegel M. Do guns kill people or do people kill people? Medicine and Public Health Association at
    Boston University panel on gun control. Boston University Medical Center, April 25, 2013.

84. Siegel M. Success rates for nicotine replacement therapy. Tobacco Merchants Association National
    Meeting and Conference, Williamsburg, VA: May 16, 2013.

85. Siegel M. Medicinal and lifestyle nicotine products: what works? Tobacco Merchants Association
    National Meeting and Conference, Williamsburg, VA: May 17, 2013.

86. Siegel M. Rebel with a cause: harnessing the core values of adolescence to prevent substance
    abuse. Department of Public Health School Health Conference, Boston, MA: October 1, 2013.

87. Siegel M. Electronic cigarettes: youth use. Tobacco Merchants Association Meeting: FDA
    Regulation of Electronic Cigarettes, Leesburg, VA: October 30, 2013.

88. Siegel M. What’s in a brand? How an understanding of what brands youth are drinking can help
    identify effective interventions. 9th Annual New England School Safety Conference, Norwood,
    MA: April 8, 2014.

89. Siegel M. The safety of electronic cigarettes: What do we know in 2014? Tobacco Merchants
    Association National Meeting and Conference, Williamsburg, VA: May 22, 2014.

90. Siegel M. Should physicians recommend electronic cigarettes for their smoking patients (plenary
    debate)? Annual conference of the Association for Medical Education and Research in Substance
    Abuse (AMERSA), San Francisco, CA: November 7, 2014.

91. Siegel M. Behavioral Study of Cigarette and Tobacco Substitution. E-Vapor Research
    Collaborative Funding Conference, Leesburg, VA: December 9, 2014.

92. Siegel M. Should medical providers recommend e-cigarettes to their patients as a smoking
    cessation tool? Pearls for Practice: The Fourth Annual MASAM (Massachusetts chapter of the
    American Society of Addiction Medicine) Addiction Medicine Risk Management Course for All
    Providers, Waltham, MA: June 26, 2015.

93. Siegel M. Electronic cigarettes and harm reduction (invited panel). Annual Drug Policy Reform
    Conference, Washington, DC: November 21, 2015.

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94. Siegel M. Electronic cigarettes: Why we can’t handle the truth. Responsible Retailing Forum
    Annual Meeting, Boston, MA: April 20, 2016.

95. Siegel M. Electronic cigarettes: Why we can’t handle the truth. National Tobacco Harm Reduction
    Conference, New York, NY: April 21, 2016 (via Skype).

96. Siegel M. Forced to lie: The marketing implications of the FDA’s deeming regulations for
    electronic cigarettes. Regulations for E-Cigarettes national conference, Alexandria, VA: December
    7, 2016.

97. Siegel M. Impact of state concealed carry permitting legislation on homicide rates. American State
    Legislators for Gun Violence Prevention Fourth Annual Policy Summit, Boston, MA: August 7,
    2017.

98. Siegel M. Breaking the gridlock in the firearm debate: Is there common ground? Rhett Talks
    program. Boston University, September 19, 2017.

99. Siegel M. Industry Expert Theater: A Robert Wood Johnson Foundation Evidence for Action
    Program grantee viewpoint. Annual Meeting of the American Public Health Association, Atlanta,
    GA, November 7, 2017.

100. Siegel M, Pahn M. Development of a comprehensive state firearm law database. Annual Meeting
     of the American Public Health Association, Atlanta, GA, November 7, 2017.

101. Siegel M. State laws to reduce firearm-related intimate partner violence: Do they work, and does
     enforcement matter? Annual Meeting of the American Public Health Association, Atlanta, GA,
     November 8, 2017.

102. Siegel M. Exposure to brand-specific alcohol advertising among underage youth: Is the alcohol
     industry’s self-regulatory code effective? Annual Meeting of the American Public Health
     Association, Atlanta, GA, November 8, 2017.

103. Siegel M, Knopov A. The impact of state-level firearm laws on homicide rates by race/ethnicity.
     American Society of Criminology Annual Conference, Philadelphia, PA, November 17, 2017.

104. Siegel M. Precision dissemination: 10 critical steps in 10 minutes. Chandler, AZ: Robert Wood
     Johnson Foundation Sharing Knowledge Conference, March 9, 2018.

105. Siegel M. Reducing firearm violence: How research can play a role. Boston University
     Management Town Meeting, Boston, MA, March 12, 2018.

106. Siegel M, Knopov A. Differential impact of state firearm laws on Black and White populations.

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    Public Health Law Conference, October 5, 2018.

107. Siegel M. Do alcohol companies target youth with their magazine advertisements? Public Health
     Law Conference, October 6, 2018.

108. Siegel M, Knopov A. Impact of state firearm laws on homicide rates among the Black and White
     populations in the United States, 1991-2016. American Public Health Association Annual
     Meeting, San Diego, CA, November 12, 2018.

109. Mesic A, Knopov A, Siegel M. Relationship between structural racism and Black-White
     disparities in fatal police shootings at the state level and the city level. American Public Health
     Association Annual Meeting, San Diego, CA, November 12, 2018.

110. Knopov A, Mesic A, Siegel M. Role of racial residential segregation in Black-White disparities in
     firearm homicide at the state level in the United States, 1991-2016. American Public Health
    Association Annual Meeting, San Diego, CA, November 12, 2018.

111. Boine C, Knopov A, Siegel M. Relation between homicides and firearm culture indicators.
     American Public Health Association Annual Meeting, San Diego, CA, November 12, 2018.

112. Cronin SW, Siegel M, Solomon B, Knopov A, Rothman, EF, Xuan Z, Hemenway D. The impact of
     state firearm laws on homicide rates in large urban cities and areas outside of large cities in the
     United States, 1991-2016. American Society of Criminology Annual Meeting, Atlanta, GA,
     November 15, 2018.

113. Siegel M. What does it mean to say that firearm violence is a public health issue? Robert Wood
     Johnson Foundation Sharing Knowledge Conference, Houston, TX, March 8, 2019.



114. Neufeld M, Siegel M, Sanchez S. Physician organizations’ role in Political Action Committee
     funds, 2018. American Public Health Association Annual Meeting, November 4, 2019,
     Philadelphia, PA.

115. Siegel M. The relationship between racial segregation and Black-White disparities in fatal police
     shootings at the city level. American Society of Criminology Annual Meeting, November 15,
     2019, San Francisco, CA.



Testimony Given in Litigation

Trial Testimony

• Norma R. Broin, et al v. Philip Morris Companies, Inc., et al, Case No. 91-49738 CA (22)

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    (Circuit Court of the 11th Judicial Circuit, Dade County, Florida)
    Attorney: Stanley Rosenblatt
•   Howard A. Engle, et al v. Philip Morris Companies, Inc. et al, Case No. 94-08273 CA (22)
    (Circuit Court of the 11th Judicial Circuit, Dade County, Florida): Phases I, II, and III and Punitive
    Damages phase
    Attorney: Stanley Rosenblatt
•   Dawn Apostolou v. The American Tobacco Company et al., Index No. 34734/00
    (Supreme Court of the State of New York, County of Kings): Phases I and II
    Attorney: Michael London
•   People of the State of California, ex rel. Bill Lockyer, Attorney General of the State of California v.
    R.J. Reynolds Tobacco Company
    (Superior Court of California, County of San Diego)
    Attorney: Alan Lieberman
•   Julien Longden and Sheila Longden v. Philip Morris, Inc., et al., Docket No. 00-C-462
    (Superior Court of New Hampshire, Hillsborough)
    Attorney: Chuck Douglas
•   Koenig vs. Wyeth, Inc., et al., Case No. 02-18165 CA 32
    (Circuit Court of the 11th Judicial Circuit, Dade County, Florida)
    Attorney: Stanley Rosenblatt
•   Re: E.I. DuPont De Nemours and Company C8 Personal Injury Litigation, Case No. 2:13-MD-2433
    (United States District Court, Southern District of Ohio, Columbus, Ohio)
    Attorney: Mike Papantonio [BARTLETT] - 2015
•   Re: E.I. DuPont De Nemours and Company C8 Personal Injury Litigation, Case No. 2:13-MD-2433
    (United States District Court, Southern District of Ohio, Columbus, Ohio)
    Attorney: Mike Papantonio [FREEMAN] - 2016
•   Re: E.I. DuPont De Nemours and Company C8 Personal Injury Litigation, Case No. 2:13-MD-2433
    (United States District Court, Southern District of Ohio, Columbus, Ohio)
    Attorney: Gary Douglas [VIGNERON] – 2016
•   Re: E.I. DuPont De Nemours and Company C8 Personal Injury Litigation, Case No. 2:13-MD-2433
    (United States District Court, Southern District of Ohio, Columbus, Ohio)
    Attorney: Gary Douglas [MOODY] - 2017

Hearing Testimony

           •   Vapor Technology Association, Ian Devine, and Devine Enterprise Inc., vs. Charlie
               Baker (Massachusetts Superior Court, Suffolk County)
               Attorney: Joe Terry - 2019

Depositions Taken

• Norma R. Broin, et al v. Philip Morris Companies, Inc., et al, Case No. 91-49738 CA (22)
    (Circuit Court of the 11th Judicial Circuit, Dade County, Florida)

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    Attorney: Stanley Rosenblatt
•   Howard A. Engle, et al v. Philip Morris Companies, Inc. et al, Case No. 94-08273 CA (22)
    (Circuit Court of the 11th Judicial Circuit, Dade County, Florida): Phases I, II, and III and punitive
    damages phase
    Attorney: Stanley Rosenblatt
•   Antonio Badillo, et al, v. The American Tobacco Company, Inc., et al, CV-N-97-00573-ECR(RAM)
    (United States District Court, District of Nevada )
    and
    Joseph Avallone, et al, v. The American Tobacco Company, Inc., et al, Docket No. L-4883-98, Case
    Code 241
    (Superior Court of New Jersey, Middlesex County)
    Attorney: Perry Nicosia
•   Robert Murphy v. The American Tobacco Company, Inc., et al, CV-S-98-00021-HDM(RJR)
    (United States District Court, District of Nevada)
    Attorney: Perry Nicosia
•   People of the State of California, ex rel. Bill Lockyer, Attorney General of the State of California v.
    R.J. Reynolds Tobacco Company
    (Superior Court of California, County of San Diego)
    Attorney: Alan Lieberman
•   Julien Longden and Sheila Longden v. Philip Morris, Inc., et al., Docket No. 00-C-462
    (Superior Court of New Hampshire, Hillsborough)
    Attorney: Chuck Douglas
•   Koenig vs. Wyeth, Inc., et al., Case No. 02-18165 CA 32
    (Circuit Court of the 11th Judicial Circuit, Dade County, Florida)
    Attorney: Stanley Rosenblatt
•   Re: E.I. DuPont De Nemours and Company C8 Personal Injury Litigation, Case No. 2:13-MD-2433
    (United States District Court, Southern District of Ohio, Columbus, Ohio)
    Attorneys: Robert Billott, Mike Papantonio, Gary Douglas

•   Neal v. Monsanto. Co., No. 1722-CC10773. (Mo. Cir. Ct. St. Louis. City)
    Attorney: Robin Greenwald

•   Winston v. Monsanto. Co., (Mo. Cir. Ct. St. Louis. City)
    Attorney: Robin Greenwald



Amicus Briefs Submitted

Smoking Everywhere, Inc., and Sottera, Inc., D/B/A NJOY v. Food and Drug Administration, et al.
United States Court of Appeals for the District of Columbia Circuit. Submitted on July 8, 2010.




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Nicopure Labs, LLC, et al., v. U.S. Food and Drug Administration, et al. United States District Court
for the District of Columbia. Submitted on August 8, 2016.

Nicopure Labs, LLC, Right to Be Smoke Free Coalition, et al., v. Food and Drug Administration, et al.
Submitted on February 20, 2018.

George K. Young, Jr. v. State of Hawaii, et al. United States Court of Appeals for the Ninth Circuit.
Submitted on June 4, 2020.



Congressional Testimony

Hearing on Legislation to Reverse the Youth Tobacco Epidemic. Subcommittee on Health of the
House Committee on Energy and Commerce, Washington, DC, October 16, 2019.




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Extramural Grant Funding

Title and Years of Grant Funding       Granting Agency           Amount/Duration           Role

Cigarette Advertising in Magazines     Massachusetts             $64,000                   PI
and Youth Smoking Behavior             Department of             (1 year)
(1997-1998)                            Public Health (DPH)

Influence of Tobacco Marketing         Robert Wood Johnson       $200,000                  PI
and Counter-advertising on             Foundation (RWJF)         (2 years)
Smoking Initiation among Youth
(1997-1999)

The Tobacco Industry Sponsorship       American Cancer           $251,000                  PI
Research Project (1998-2001)           Society (ACS)             (3 years)

Denormalizing Smoking via              NIH/NCI                   $4,139,027                Co-PI
Policy and Media Interventions                                   (4 years)
(2000-2004)

Protecting Workers and the Public      Flight Attendant          $651,000                  PI
From Secondhand Smoke: The Impact      Medical Research          (3 years)
Of Clean Indoor Air Policies on        Institute (FAMRI)
Secondhand Smoke Exposure and
Smoking Behavior (2002-2005)

Tobacco Use Trajectories Amid          NIH/NCI                   $1,771,053                Co-PI
Fluctuating State Program Budgets                                (3 years)
(2004-2007)

*Note: from 2008-2010, I served as concentration director for the Social and Behavioral Sciences
Department and taught two classes per semester which replaced my research funding for that period

Alcohol Brand Research among           NIH/NIAAA                 $1,570,267                PI
Underage Drinkers (2011-2015)                                    (4 years)

Building a Culture of Health around    Robert Wood Johnson       $486,426                  PI
Firearms: The Relationship between     Foundation (RWJF)         (1.5 years)
Social Gun Culture, Gun Ownership,
Firearm Policy, and Firearm Violence
(2016-2017)




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The Impact of State-Level Firearms   National Institute of   $610,000              PI
Laws on Homicide Rates by            Justice (NIJ)           (3 years)
Race/Ethnicity (2017-2019)

Identifying Shared Values to Support Robert Wood Johnson     $599,413              PI
An Inclusive Culture of Health around Foundation (RWJF)      (3 years)
Firearms: What Communication
Messages Work? (2018-2021)




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